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                                                  No. 24-5566


                           IN THE UNITED STATES COURT OF APPEALS
                                   FOR THE NINTH CIRCUIT


                                            GARY SANCHEZ,
                                                    Plaint and Appellant,

                                                     v.
                               ROB BONTA, IN HIS OFFICIAL CAPACITY As
                            ATTORNEY GENERAL OF THE STATE OF CALIFORNIA,
                                                          Defendant and Appellate.


                            On Appeal from the United States District Court
                                for the Southern District of California
                                       No. 24-cv-767-RSH-MSB
                                  Hon. Robert S. Huie, District Judge


                               CIRCUIT RULE 28-2.7 ADDENDUM TO
                                 APPELLEE'S ANSWERING BRIEF


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                    1 For the Court's convenience, this addendum includes select historical
             statutes that are cited in the accompanying answering brief. Those historical laws
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          §33410. Possession; fines and penalties, CA PENAL §33410




            West's Annotated California Codes
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                Part 6. Control of Deadly Weapons (Refs & Annos)
                   Title 4. Firearms (Refs & Annos)
                     Division 10. Special Rules Relating to Particular Types of Firearms or Firearm Equipment (Refs & Annos)
                        Chapter 9. Silencers (Refs & Annos)

                                                       West's Ann.Ca1.Pena1 Code § 33410

                                                     § 33410. Possession, fines and penalties

                                                            Effective: January 1, 2012
                                                                   Currentness


          Any person, firm, or corporation who within this state possesses a silencer is guilty of a felony and upon conviction thereof
          shall be punished by imprisonment pursuant to subdivision (h) of Section 1170 or by a fine not to exceed ten thousand dollars
          ($10,000), or by both that fine and imprisonment.


          Credits
          (Added by Stats.2010, C. 711 (S.B.1080), § 6, operative Jan. 1, 2012. Amended by Stats.2011, c. 15 (A.B.109), § 554, eff; April
          4, 2011, operative Jan. 1, 2012.)


          Editors' Notes

                                               LAW REVISION COMMISSION COMMENTS

          2010 Addition

          Section 33410 continues former Section 12520 without substantive change.

          See Section 17210 ("silencer"). [38 Ca1.L.Rev.Comm. Reports 217 (2009)].




          Notes of Decisions (6)

          West's Ann. Cal. Penal Code § 33410, CA PENAL § 33410
          Current with urgency legislation through Ch. 1002 of 2024 Reg.Sess. Some statute sections may be more current, see credits
          for details.

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          § 17210. Silencer defined, CA PENAL § 17210




            West's Annotated California Codes
             Penal Code (Refs & Annos)
                Part 6. Control of Deadly Weapons (Refs & Annos)
                   Title l. Preliminary Provisions (Refs & Annos)
                     Division 2. Definitions (Refs & Annos)

                                                       West's Ann.Ca1.Pena1 Code § 17210

                                                            § 17210. Silencer defined

                                                            Effective: January 1, 2012
                                                                   Currentness


          As used in Chapter 9 (commencing with Section 33410) of Division 10 of Title 4, "silencer" means any device or attachment of
          any kind designed, used, or intended for use in silencing, diminishing, or muffling the report of a firearm. The term "silencer"
          also includes any combination of parts, designed or redesigned, and intended for use in assembling a silencer or fabricating a
          silencer and any part intended only for use in assembly or fabrication of a silencer.


          Credits
          (Added by Stats.20l0, C. 711 (S.B.1080), § 6, operative Jan. 1, 2012.)



          Editors' Notes

                                               LAW REVISION COMMISSION COMMENTS

          2010 Addition

          Section 17210 continues former Section 12500 without substantive change. [38 Ca1.L.Rev.Comm. Reports 217 (2009)].


          West's Ann. Cal. Penal Code § 17210, CA PENAL § 17210
          Current with urgency legislation through Ch. 1002 of 2024 Reg.Sess. Some statute sections may be more current, see credits
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                    A.D.1383.                                              7° Ric. II. c. 12-16.                                                                       35

                                   one 8: 9:u¢ ox aoutz pdntz; et out re coo at audnz              Force and Elle& in all Points; and moreover it is wbvlhrlhlw
                                  anenmz q at ascun dim it purchacez ou desore pur-                assamted, The! if any Alien have purchased, or from b¢u.\>1¢ to
                                                                                                                                                            the Penalties
                                                                                                   hencdorth shall purchase any Benefice of Holy Church, of a; Ed. lll.
                                  chace new benefice de Some Esglise Dignity: on                   Dignity, or other Thing, and in his proper Person take st. s. c. as.
                                  autre 8: ax ppre prone Pig re posswion dicelle on                Possession of the same, or occupy in himself within the
                                  loccupic de fait, deinz mama je Roialme, noir it a son           Realm, whether it be to his own proper Use, or to the
                                  ups ppre, on al oepa dzutn' nnz especizle colic du               Use of another, without pedal Licence of the King,
                                                                                                   he shall be comprised within the lame Statute; and
                                  Roi, noir it compris en` :name lesmtuc, 8: out re ceo            moreover shall incur dl Pains and Forfdtures in all
                                  encourage en toutz point tie lx pdncs 8: forfeiture              Points as is before ordained by another Statute made
                                  come sort ordeigncz p un auue atztut fait en an uv'              the Five and twentieth Year of the noble King Edward
                                  del rene luy noble Roi E. ail me l' je Roi qore at,              the Third, Grandfahher to our Lord the       that now
                                                                                                   is, against them that purchase Provisions o Abbeys or
                                  centre ceux qi purclxacent pvisions dabbles on Priorin s         Prioria; and to the Intuit that such Licences shall T h e Ki n g ' l
                                  et axoutre au fyn 21 tick licaxcea ne se facaxt daorc            not be from haxcefonh nude, the King willeth and Licence: IO
                                  enavant, je Roi voet 8: comande a tout see liege 8:              commandeth to all his Subjeéls and other that they ':1f°"'"b'Z
                                  autres oils lou: abstiegnent de cy enavant de luy prier          shall abstain them from henceforth to pray him
                                                                                                                                               9  for any ;.k¢4llf!,,
                                                                                                   such Licence to be given; and also the Kin hirose f
                                  dascuns Niels licmces donor; et Si voes and je Roi luy           will refrain to give any such Licence during Se Wars,
                                  mesmet absdegnet de done: ascune tile licmce, durances           except to the Cardinal of Naples, or to some other
                                  lex Guerra horspris au Cardinal de Naples ou a autre             special Person to whom the King is beholden for a
                                  espedale psone a qi je Roi so! p upeciale muse Cruz.             special Cause.
                          xiii.     Item est orddgnez & assentuz 8: je Roi defmde q                   ITEM, II is ordained and assented, and also the King    XIII.
                                                                                                                                                           No Man shall
                                  desotema null h6me chivache dénz je Roialme armez,               doth prohibit, That from henceforth no Man shall ride ride  armed
                                  encontre la forme de lwatut de Norhamptoi sur ce                 in Hamas within the Realm, contrary to the Form of contrlry ,o
                                                                                                   the Statute of Northampton thereupon made, neither the statute
                                  fair, Ne ovmq, lancegay deiuz mama je Roizlme, les               with Launcegay within the Realm, the which Launce- I ha  Edw.lll.
                                  queux lancegayes soient de tout oustez ddnz je di:               gays be clearly put o u t within the said R e a l m , as a c pm:-
                                  Roialme come chose defendue p n?e I' je Roi sur pane             Thing prohibited by our Lord the King, upon Pain of
                                  de forfeiture dicelx lancegaia armuru 6 ii). herneys             Forfeiture of the said Launce ys, Arr ours, and other
                                  quelconqa u mayos 6 possaaion de cellu.y qi les por?a            Harness, in whose Hands possession they be found
                                                                                                   that bear them within the Realm, contrary to the Sta-
                                  desore ddnz mine je Roizlme centre cestz estate                  tutes and Ordinances aforesaid, without the King's
                                  8: ordinance franz mpeciale conge de Roi me l'.                  special Licence.
                                    Item es briefs de Pmunire fat' est assentuz 8: ac-               ITEM, In Writs of Pracmunire facias, lt is assented              XIV.
                                  cordez q ceux 9a.qucux tie lx briefs sort portez, 6 qi           and agreed, That they a inst whom such Writs be sued,         For enabling
                                                                                                                                                                 Panieo out of
                                  sort de Quot hors de Roialme 8: som de bone fame                 and who at this Time it out of the Realm, and be of to»¢ R¢llm
                                  & aiaxt fritz lo' g¢Qalx atto'nes deviant Io' deptir, q je       good Fame, and have made their general Attumia be- to appoint
                                  Chaunceller [Dongle?re'] pur je temps meant, p                    ore their departing, that the Chancellor of England for Attorniu
                                                                                                   the Time being, y the Advice of the Justices, may an Wntu of
                                  ladvis do Iusdca purrs g*ntier q mama la psona                   § " " " that the same Persons may gpgggf lo answer, to Premunve.
                                  purron! apparoir 8: rmpondre 8: faire 6 raceivre ce ii             o, and to receive that Thin which t e Law demandeth,
                                  la ley demands, p lo' gellux atto'nes avamdiz savant             by their general Attumies aforesaid, as well as in other
                                  come a autres cas 8: quereles ; et ceux psona qi decy            Causes and Quarrels; and those Persons which from
                                                                                                   henceforth shall pass by the King's Licence, and be of
                                  mavanr passeront p licence ne I' je Roi 8: soient
                                                                                                   good Fame, that at their Request the Chancellor, by
                                  auxin de bone fame, q a lo' requeste je dh Chaunceller           the Advice of the Justices, may grant to them to make
                                  p ladvis des Justices lour purrs g'nder defaire Io' 843.         their general Atturnies in the Chancery by the King's
                                  alx atto'nes en la Chancellenle p patent du Roi dear             Patent, before their Passage, to answer as well in the
                                  lo' passer, [a reondre'] sibn es ditz briefs de Pmunire          said Writs of Przmunire facias, as in other Writs and
                                  faE, come en au s quereles en que! cas touxes void sort
                                                                                                   Plaints; in which Case expras Mention shall be made
                                                                                                   at all Times of the Writs and Plaints of Pracmunire
                                  exQsae mmcion [fai:e'] do briefs 6 querela de Pmu.               faciaa; and this Patent so made, the said Atturnies
                                  nine fair; et Celle palme end Fate, purront des lon les          from henceforth, in Absence of their Masters. may an-
                                  ditz atto'nm en absence de lo' Meistres, rmpondre p              swer [for them, and make'] other Atturnies under
                                  eux & au's auo'nes daouz ex, devant quelconq, jure               them, before any Judge of the Realm, [to '] do and
                                  du Roialme & faire 8: rsceivre el dit cas, savant come           receive in the said Case as much as in any other Case
                                                                                                   or Matter, notwithstanding any Statute made to the
                                  m null autre cas niemconuesteam ascun slatut fail a              contrary heretofore.
                                  cont'rie Avant ces hera.
                                     hem sur la grevouse pleinte qest Faire des meyn-               ITEM, For the grievous Complaint that is made of         xv.
                                  teno's des quereles 6 chaumpto's; at ordeignez 84                Maintainers of Quarrels, and Champertors ; lx is or- Statutes
                                                                                                                                                          \Edw.lII.
                                                                                                   dained and assented, That the Statutes thereof made in lm. a. c. 14 a
                                  assentuz q Iwtatutz end fizz en les ans du regne je
                                                                                                   the First and Fourth Years of King Edward, Grandfather 4ERlll c.l I:
                                  Roi Edward ail ne dit I" je Roi primer 8: guan, et               to our Lord the King that n o w is, and also 'm the First . ic.ll.c 4;
                                  auxins ax an de ne I' je Roi qore as primer, soient              Year of our Lord the King that now is, shall be holden lenanctl
                                                                                                                                                           "'"'" Mam-
                                                                                                                                                                   Gmc.
                                  Cruz & gardez 6 due rent executz en toutz pointz.                and kept, and duly executed in all Points.             confirmed.
                                     Item at assentuz 6 je Roi defende muoitexnent q                 ITEM, It is assented, and the King straitly defendth,  XVI.
                                  decy umm: rule prone aliene on daxszdn de quel-                  That from henceforth no Person, Alien nor Denizen, of NOvAe Dur
                                  conq\ estat ou condicion oil wit amine ou awoie on                                                                              r   I u
                                                                                                   whatsoever Estate or Condition that he be, shall carry
                                  face amener on envoier p Pre on p meer hors du                   nor lend, nor do to be carried nor sem. by Land nor .Hun §*:,,,l'"d
                                  Roialme Dongle?re as ascunes poles Decoce ax prive               by Sea, out of the Realm of England, to an Pans of without
                                                                                                   Scotland, privily nor openly, any M a n n e r 0ljArm0ul», Licence of
                                  ne en appt ascune mage darmure de blee de breesne                Com, Mah, or other Viéluals, or an other refreshing, onlbe     King s
                                                                                                                                                                P1in of
                                  dautre vitaille on dautre refresshchernen! queconq, sur          u p o n Pain of Forfeiture of the same iftuals, Arr ours, Forfciture
                                  pane de forfaizure de res ma lea vimilla umuru 8:                m d o t h e r Things aforesaid, to ether with the Ships, thereof.
                                  do aura chosen avamdila ensemble avec lea uiefr                  Vessels, Cam, and Hones which shall bring or carry
                                                                                                   the same, or of the very Value of the same, except so it be
                                  vesseulx chzretta 8z chivak qi la portent on ammmt,
                                  OU de la 9roie value dicella, ax` m y be aoit q je                     ' Ly tiuunlwa and                 'url
                                                ' ° a lnterlind on the Roll.




                                                                                               3
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                      882                                                        33° HEn.VIII. c. 5, 6.                                        A. D. 1541-2;

                            VI.               AND be it gvyded and aiacted by au8'tie aforesaid, that if the Wif of any pson of psons were any velvet 'm the
                    Proviso an w
                    Penonn whose           lynyng or other part of her gowne other then in the cuifa or purfels of suche gowns, or elf' were any velvet in her
                    Wives wear             kyrtell or W8l'€ any peticote of silke, that then the husbande of 891 suche Wi&` shall fynde one stoned horse of the
                    Velvets, 8¢c.
                    [See 8 1-1
                                           stature above in thisacte resyted, or shall incurre the abovesaide penalty and forfeiture of tame pound's to be levyed
                                           and reco9ed.as is afore declared : Provyded also that this Acte or any thing their conteyned shall not extend to
                                           charge any pson or psons whose Wif or WiHles shall were any of the apparel or thing( above rehersed during the
                                           tyxne such Wif or WyEles shalbe devorsyd from her or then husbonde or husbondes, or shall willingly absent her self
                                           from her said husband and during such absence shall were any of the apparel] or other thyng(' afore resyted ;
                                           Provyded alwaies that heires w'in age being wardes whose landes tehtf arid hereditamentf amount to the yerely value of
                                            CC ii. shall not be compelled by au8'tie of this act till they come to then full age to kepe any horses, adthoughe the
                                            wiifa of suche heires w'in age were any gone of Sylke or any Frenche hood or Bonet of Velvet w' any habilyment
                                           pat or egge of Gold Perle or Stone or any hayne of gold about the nekkf' or in the plettf or in any apparell of they
                                           bode; Any thing in this Acre to the contrary notw'stonding.
                           vxl.
                    Proviso for
                                              Pnovvmzn also that if all or any the horses kept by vertue' of this acre shall happen to be kyllyd maymyd or lost in
                    re icing Horuu         the ffvice of the King( warres, That then in e9y suche case the owners of suche horse or horses so kyllyd maymed
                    Ki     'm War, ac.
                                           piss fed' or lost in the warres shall have li'btie, by the space of twee yeres next after suche Chaunce of kylling maymyng
                                           pisshing or losing then horses, to pvide other horses in the stede and place of the horses so kylled maymed piss fed
                                           or lost in the Warres, w'out any claunger fosse or pena1"e of this acre ; Any thing in this acre to the contrary therof
                                           notw'stonding.
                           vm.              Pnovvnzn also that cart horses or sumpter horses shall not be takyn reputed or reckoned for any suche horses
                    Cart~Hox-ses and
                    Sumpter-Horan.         whiche any pson is or shalbe bounden to kepe by vertex of this acts.




                                                                                             CHAPTER w.
                                                                             An ACTH concerninge Crosbowes and Handguns.

                     Redd of Stat.
                     1; I-I.VIII. c. 17.
                     against shooting
                     With Cross-buwa
                                           W      Harris in the Parliament holden at Westin the fyftenthe daye of Januarie in the twenty fyve Yere of the
                                                   Kinges most gracious Raigne, and there contynued and kepte until the.thirtieth daye of Marche then next
                                         ensuynge, among diiPse and sondra holsome and lawdable Act(' Statute' and ordyn'nct' one Statute and Ordyn'nce
                     and Hand-guns :     was made and ordeyned for the avoydinge and eschewing of shotinge in Crosbowes and Handguns; sync the
                                         making of which Actediise malicious and evil disposed psons not only Qsumynge wilfullye and obstynatlye the
                     Violation thereof;  viola€6n and breach of the saide Acre, but also of their malicious and evil disposed myndes and purposes have
                                         wilfully and shamefully c5mytted ppetraled and done diiiise detestable and shameful! munhers roberies felonyes ryotlf
                                         and route with Croshowes little forte handguns and little hagbuttf, to the great pill and contynuall fear and danger
                                         of the King(' most lovinge subjects, and also di9se Kepers of Forest(' Chases and Parks' aswell of our saide Soveraigne
                                         Lorde as other his Nobles and Commons and diipse Gentlemen Yomen and Servingmen now of late have layde apart
                                         the good and laudable ei'cise of the longe bowe, whiche always heretofore bathe bene the suertie savegarde and
                                         contynuall defence of this Realms of Englande, and an inestimable dread and terror to the Enemyes of the same,
                                         and noWe of late the saide evil disposed psons have used and yet doe dayle use to ryde and goe in the King( higher
                                         Wayes and elswhere, havinge with them Crosbowes and little handguns, ready furnished with Quarrellt' Gunpowder
                                         fyer 8c touch to the great pill and fear of the King(' most lovings Subjects: For rua1=oamAél6n wherof be it
                                         enacted ordeyned and established by the Kinge our Soveraigne Lorde the Lordes squall and temporal and the Commons
                     Penalty on Persons, in this Qsent Parliament assembled and by thauctoritie of the same, in maner and four re followinge That ys to save ;
                     having leas than    that noe pson or pons of what estate or degree he or they be, excepte he or they in their own right or in the right of
                     £1oo. per Annum,
                     keeping or using    his or their Wyes}`(' to his or their ovine uses or any other to the use of any suche pson or psons, have landes teiitf
                     Croak-bows, 8¢c.
                      £1o .
                                         fees annuyties or Office' to the yerely value of one hundred pound(', from or after the Iaste days of June next cOmynge,
                                         shall shore in any Crosbowe handgun hagbutt or demy hake, or use or kepe in his or their houses or elswhere any
                                            Crosbowe handgun halibut or demy hake, otherwise or in any other manner then ys hereafter in this f9sent Acte declared,
                                            uppon payne to forfeyt for eerie tyme that he or they so offendinge cont'rie to this Acre tonne pouf des.
                            11.               AND furthermore be' it enacted by thauctoritie aforesaide that no pson or psons, of what estate or degree soever
                     Length of
                     Hand-guns, 8zc.        he or they be, from or after the saide taste daye of June shall shore in carve kepe use or have in his house or els where
                     to be kept.            any handgune other then suche as shalbe in the stock and gonne of the lenghe of one hole Yarde, or any hagbutt or
                                            demyhake other then suche as shalbe in the stock and gone of the lenghe of thre quarters of one Yarde, uppon payne to
                                            forfeyt for eerie tyme that he or they shall Carie use or have any suche Gun being not of the lenghc of one whole
                                            Yarde or hagbutt or demyhake beings not of the lenghe of rhre quarters of a Yarde, Tonne powder sterlings.
                      Those of lead         And that it shalbe laufull to everie pson and ons, wcb have landes tehtf fees annuyties or of to the yerelye
                      Length may be         value of one hundred pound? as ys aforesaide, to seise and take everie suche Crosbowe, and also everie handgun
                      sized and
                      nestroyed by          beings in stock and gone shorter in lethe then one whole Yards and everie hagbutt and demyhake beinge shorter
                      Persons having
                      42100. a Year.
                                            in lenghe then tbre quarters of a Yards, or any of them; from the Kepinge or possession of eve de suche OKendor
                                            cont'rie to the forme of this Acte, and the same Crosbowe or Crosbowes to kepe ad reteyne to his or their one




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                      A.D.154¢1-2.                                  33° HEn.VIII. c.6.                                                                       633

                      Me, and also the same handguns hagbutt€ and demyhakf so seised and taken within twenty dayes next after the
                      same seisure or takinge to breake and distroye, upon peyote of fourtye Shillingf' for everie Gune so seised and no:
                      broken and destroyed, and the same so broken and destroyed to kepe & reteyne to his or their one use.

                        AND be it further enacted by Lhauctoritie aforesadde, that noe pson or psons, other then suche as have land(' teilit(' PenaltyUg0n
                      rents fees annuyties O1'~ Of6c(' to the yerely value of one hundred Pounds' as ys aforesaid, from or after the said taste .'3:'"6°d Persons
                                                                                                                                                       &c. with
                      daye of June, shall Carrie or have, in his or their Iorney going or ridinge in the King? highe ways or elswhere, any Gung zharged,     8zc.
                      Crosbowe bent or Gune charged or furnished withe Powder pier or touche for the same, Except it be in tyme and
                      Service of Warre, upon payne to forfeyt for everie suche Offence tense pounds; this ;'sent Acte or any thinge therine
                      conteyned to the contr'ie notwithstanding.
                                                                                                                                             IV.
                        AND be it further enacted by thauctoritie aforesaide, that no pson or psons from the saide taste days of June None shall shoot at
                      shall in anywise shore in or withe any handgun demyhake or hagbutt at any thinge at lardge, within any Cittie large in Cities, &c.
                      Boroughe or Markett Towne or within one quarter of a myle of Anny Cittie Boroughe or Markett Towne, except it
                      be at a But: or Banck of earth in place convenient, or for the defence of his pson or house, upon payne to
                      forfeyte for everie suche Shott tonne pouf des; this sent Acte or anny thinge therine conteyned to the contrarie
                      notwithstandinge.
                         AND be it further enacted by thauctoritie aforesaide, that noe pson or psons of what estate or degre soever he or None sh,'0,,der
                      they be, shall from or after the sade Iaste days of June c6maunde any of his or their servauntf' to shore in any their Servants to
                                                                                                                                               shoot at Deer, cc.
                      Crosbowe handgun hagbutt or demyhake of his or their side Maters or of any other pons, at any dear fowl or with            Hand-guns.
                      other thing excepte it be only at a butt or bank of Earth or in the tyme of Warre as ys abovesaide, upon Payne to
                      forfeyt for everie such offence tenne pound(': The one moytie of all wch forfeytures and penalties in this {sent Acte Application
                                 |                    .                c           1    .                       .            .                    )     .
                      above specified shalbe to the Kinge our Soveraigne Lorde his heires and Successors, and thother moytle thereof to the of lenalties.
                      pantie that will sue for the same by bill playnt ac&'>n of Debte or Informaél6n in anny of the Kingf' Courtf' of Recorde
                      in whiche suyte noe Essoyne ptec&'>n nor Wager of lawe shalbe allowed.
                                                                                                                                                     VI.
                        Pnovmnn always and be it enacted by thauctoritie aforesaide, that it shalbe laufull from henceforthe to all Gentlemen Shooting at Butts
                      Yeomen and Servingemen of everie Lorde or Lord(' squall or temporal and of all Knight? Esquiers and Gentlemen, allowed. with Hand-guns
                      and to all the Inhabitauntf of Citties Boroughes and Markett Townes of this Real re of Englande, to shore withe any
                      handgune Demyhake or hagbutt at anye butt or bank of Earth on lye in place convenient for the same, so that everie
                      suche handgune Demyhake or hagbutt be of the se9all lenghes aforesaide and not under; and that it shalbe laufull
                      to eyerie of the saide Lorde and Lord? Knight(' Esquiers and Gentlemen, and the Inhabitauntf of everie Cittie
                      Boroughe and Market: Towne, to have and kepe in everie of their houses any suche handgune or handgunes of
                      the lenghe of one whole Yarde, or any hagbutt or Demyhake of the lenghe of thre quarters of a Yarde as ys
                      aforesaide and not under, to thintent to .use and shore in the same at a butt or banke of Earthe on lye, as ys
                      abovesaid, wherbye they and everie of them by the"xcise thereof in forme abovesaid may the better ayde and assist
                      to the defence of this Real re when nede shall requyre; this @sent Acts or any thinge therein conteyned to the
                      contfie notwithstandinge.
                        AND belt further enacted by thauctoritie aforesaid, that in shalbe laufNll to eerie pson and pons which dweller H,,,\_gVN',"owed
                      and inhabitth in any house standings and being sett distant too furlongs' from any Cittie Borough or Towne, to out of Ciliesfor
                                                                                                                                          Defence of Houses,
                      kepe and have in his side house for the onelye defence of the same handguns hagbutt(' and demyhakes being of the 8cc.
                      several lenghes aforesaide and not under, 8: to use and excuse to shore in the same at any butt or bancke of earthe
                      here to his house and not otherwise s Any thinge conteyned in this Acte to the contr'ie notwithstandinge.

                          AND furthermore the Kings' most lovinge Subject? the Lordes squall and temporal and the Commons in this Qsent Patent VlilIi to
                      Parliament assembled, most humblye doe beseche the Kings' Majestic that it be further enacted by thauctoritie aforcsaide, shoot if Crossbows,
                                                                                                                                                   8:c. declared void.
                      that all lies patent' Fraternyties, and also all other placard(' lycences and bill? assigned heretofore had made or signed [Bax up 5 XIV.]
                      by his High res or by any other authorised by his High res lies patents under his Great Seale to give licence and placarde
                      to shore in Crosbowes & handgunes or any of them, shalbe from and after the saids taste daye of June frustrate voyage
                      and of none eifecte.
                        AND also that it may be further enacted by thauctoritie aforesaide that the saids Statute made in the saide xxv'" 2g H.vI1xri.¢. I7,
                      Yore of the Kings most gracious Raigne, and all other Statute heretofore made and ,pvided for thavoydinge and restreynt 8zc. repealed 8
                      in shotinge of Crosbowes and handguns or for any of them, or for the usinge and kepinge of the same, be from
                      henceforth utterlie voyage and of none effecte: Provided alwayes that cverie ,pcesse suyte or Informaél6n conceaved Except as to Suits
                      cOerced and now dependings for any Offence done contr'ie to the form of the said Statute made in the said xxv"' depcnding.
                      Yere of the Kings' most noble Raigne, or of any other Statute made (') pvyded for and concerning the shotinge in
                      Crosbowes and handguns, not repealed, and for the kepinge of the same, shalbe as good and eHlectuall to the
                      parties that have commenced the (') and shall stande and be in suche forms e8lecte and condi&'>n as if this Acte had
                      never bone made.
                          Paovmnn also that this Acte or any thinge their conteyned be not in any wise hurtfull or pjudidall to any pson Proviso tie-Persona
                      or psons nowe being or that hereafter shalbe appoynted by the King? High res, to kepe receyve or take any Crosbowes §;°p .$51 .nSBbows,
                      or Handguns that shalbe forfeyted or taken within the precinéle or lititye of the Kings forrest' parks' or chaces, but Forests:
                      that he or they may laufully kepe and reteyne the same Crosbowes or Handguns from tyme to tyme until such tyme

                                                           'or O.                                     ' sam e O.




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                     for Makers         aS the further pleasure of the Kings' High res in that behalfe be to esPy suche pson shewed 6 declared: Provided also
                     of Crossbows, 8¢c.
                                           that this Acte extende not to the makers of Crosbowes or Handguns, but that they may laufully kepe Crosbowes and
                                           Handguns Hagbutti' and Demyhakes in their houses, and short in the same on lye for provinge & assayinge of them at
                                           a butt or bank of earthe 'm the place convenient and not otherwise, so that the side Handguns Hagbuttf' 8: Demyhakf'
                     and Mérchanta         be of the se9all lenghes in Stock and Gune as ys above lymitted: Provided also that this Acte llol` any thinge therine
                     dealing therein.
                                           conteyned extends not or be Qjudiciall to any Marchauntf which have or shall have any Crosbowes Handguns
                                           Hagbuttf' and Demyhak(' or any of them to sell within this Real re and to none other use, so that the same Handguns
                                           Hagbuttf' and Demyhakf be of the se9all lenghes in Gune and Stocke as ys above lymitted and not under.
                            XI.
                     Proclamation of          PaovInnn also that noe manner of parson rune in any danger or take hurte by reason, of any penaltye or forfeiture
                     the AS in each        conteyned in this Acte until suche tyme as ,pclama66n be made of the same Acte, within the Countye where the pantie
                     County.
                                           that shall or maye oHlende cent°rie to this Actedwelleth, by the space of twentye dayes fete after the makinge of the
                                           side pclama6l6n.
                            XII.             Paovlnsn also that yf any manner of pson bringe or cause to be brought withe him into his lodging or in or to
                      Houlekeepers not
                     liable to Penalty   any other mans house any Crosbowe or Handgun, that then the penalty and forfeyture, yf any suche be or hereafter
                      for their Lod rs
                     keeping Crosa€*;ws, shalbe forfeited by reason of this Acre, to rune and be onely upon the bringer of the side Crosbowe and Handgun
                      8¢c.               and not to the owner of the same lodging or house, yf the side [howner '] of the said lodging or house cause the aide
                                           bringer thereof to take & Carrie awaye the side Crosbowe or Handgun agayne withe him at his departinge; anye
                                           thing in this Ante made to the cent"rie notwithstanding.
                            XIII.
                     Offenders may be         AND be it also enacted by thauctoritie of this @sent parliament that if any pson or psons, from or after the last day of
                     arrested by any       June next comynge, see or fynde any pson or pons offending or dodge cont."rie to the forme and effecte of this Acre,
                     Persons.
                                           that then it shalbe laufull to eerie such pson or psons pceyvinge fyndinge or singe anye such pson or psons so
                                           oifendinge cost°rie to the four re of this acre, to arrest and attache e9y suche oifendor or offenders and to bringe or
                                           convey the same to the next Justice of Feace of the same Countye where the said oifendor or olfendors shalbe four de
                                           see offendinge; .And that the same Justice of Peace upon a due e"iaél6n and proeff thereof before him had or made by
                                           his discre&'>n shall have full power and aucthoritie to send or c6mytt the same offender or ofi'endors to the next Gaole,
                                           there to remayne till suche tyme as the side penaltye or forfeyture shalbe trulye contented and. paid by the saide
                                           offender; the one moytie of the same penalty to be paide to the Kings' High res and thother moytie thereof to the
                                           first bringer-or conveyer of the side oifendor to the same Justice of Peace.
                             XIV.
                     Licencea, if given,      AND be it further enacted by thauctoritie aforesaide, that yf any pson or psons doe at any tyme hereafter obteyne
                     (So: § VIII.)         gett or purchase, of the Kings' Majestic his hires or successors, any placard licence or bill assigned to shore in any
                     shall specify at
                     what Beasts, 8zc.     Crosbowe Handgun Hagbutt or Demyhake cont'rie to the tenor purport and eiiecte of this Present acts, that then there
                     the Party licensed    shalbe conteyned in eerie such placard licence and bill assigned, at what beasts' fowls or other things the saide
                     ma shoot, and he
                     shall give Security   pson or psons so obteyninge any such placard licence or bill assigned shall shore, the any Crosbowe Handgun
                     to obey _such
                     Regulations.          Hagbutt or Demyhake, or els that everie such placard licence and bill assigned hereafter to be obteyned gotten or
                                           purchased shalbe clerely voyage frustrate and of none elfecte: And also that everie suche pson or pons so obteyninge
                                           any such placard licence or bill assigned, before they shore in any such Crosbowe Handgun Hagbutt or Dernyhake,
                                           in any such manner or forme as shalbe mencioned in any such placards licence or bill assigned, shalbe bounden in
                                           the Kings Courte of Chauncerie by recognizance in the some of twenty pound' to the Kingi' use withe and upon
                                           condiél6n that he so obteyninge or having the said licence placard or bill assigned, shall not shore in any Crosbowe
                                           Handgun Hagbutt or Demyhake at any other beast(' or fowles then 'm any such placard licence or bill assigned
                                           shalbe conteyned and specified, and els all suche placards licenc€ and bill(' assigned so hereafter to be made to any
                                           pson or psons not being so bounden by recognizance in the Courte of Chauncerie as is aforesaid, to be utterlie
                                           void and of none e&lecte.
                            xv.
                     Recovery and             AND be it further enacted by thauctoritie aforesaide, that it shalbe laufull to all Iusticf' of Peace in their sessions and
                     Application of        to all Stewardes and Baylielfi' in their se9all leetf' and laws dayes to enquyre here and determyne e9y suche opulence
                     Penalties.
                                           after the side taste daye of June to be c5niytted and done cent°rie to the tenor of this f9sent Acre; So that always noe less
                                           Tyne :hen tenne pounds be assessed upon everie such Resentment and convicébn made according to the due course of
                                           the lawe; the same dyne so by the same Justice' of Peace upon eerie such f9sentment and convic&'>n made before them
                                           in their Sessions, to be payde and levyed onely to the Kings use s and the one moytie of everie Tyne to be assessed by
                                           the Stewards' or Baylyfff of any lite or lawe day, upon eerie Resentment and convic€6n before them, to be payde and
                                            levyed to the use of the Kinge our Soveraigne Lorde, and (') the other moytie the one halfe to the owner of the saide
                                           lite or law daye by distress or acél6n of debt, and thother half of the same second moytie of the same Tyne, to be
                                           to the pantie that will pursue for the same in any of the Kings' Courts' by bill playmate informa66n or ac€6n of debt, in
                                           the whiche none Essoyne ptec&'>n nor wager of laws shalbe allowed.
                            XVI.
                     Penalty on .Tutors       AND be it further enacted, that yf any Jorie beige swore and charged to enquyre for the Kinge our So9aigne Lorde
                     charged to enquire    before any Iusticf' of the Peace or Stewards' of let(' or lawdayes, of any offence' c6mytted or done cont'rie to this
                     into Offences, who
                     shall conceal the     -Qsent A8:e, doe wilfullie conceal any of the same o9lenc(', that then the side Justice Stewards' or BayliH`(' before whom
                      lame, zoo.           any concealment shalbe had and done, shall have auctoritie by vertue of this sent Acte from tyme to tyme to chardge
                                           and sweare an other Jurie of twelve or mo good and substantial honest pons to enquire of everie such concealment,
                                           and if any such concealment be founds and presented by the saide Jurie so chardged to enquyre of the same, that

                                                                           \ owner O.                                            *of O.




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                      then eerie one of the side fyrste Julie that so did conceal           the same, shall leese and forfeyt for eerie such
                      concelanent of ea), suche offence twenty shillings'; All which forfeytures and penaltyes of twenty shillings' for eerie
                      such concealment of everie suche offence so found and tented before the same Justice' of Peace shall fol ye be levyed and
                      payde to the King? use, and the moytie of all the same forfeytures and penaltyes of twenty shilling(', so four de and
                      f9sented before the Stewardf' or BayliH`(' of any leete or lawdaye, shalbe levied and paidexo the use of the owner of the
                      said lite or lawdaye by distresse or acél6n of debt, and thother moytie thereof to be to the pantie or parties that will
                      sue for the same by ac€6n inforrnaél6n bill or playmate 'm any of the Kings' Courts, in the whiche ac€bns informaCI6ns
                      bill? or playnti' ho wager of lawe essene nor ptecél6n shalbe allowed.

                        Paovman allies and be it enacted by thauctoritie aforesadde, that yf any pson or psons hereafter in any parte do Limitation   XVII.
                                                                                                                                                           of
                      oifende or do contr'ie to the purvewe and remedy of this Acte, whereupon cause of Ac€6n for the same offence shalbe Prosecutions s
                                                                                                                                                 One Year to the
                      geven to the Kinge his heires or successors or to any other pson or psons that will sue by vertue of this Acte for the King, and Half a
                      punyshment of the said offence or forfeytures, that yf the Kinge our Soveraigne Lords his hires or successors within Year to others.
                      one Vere next and ymediatlye after suche offence and forfeytures had and made do not pursue their acél6n or acél6ns so
                      given by this Acte or cause ex§ia&'>n upon suche defaults and oHlenc€ to be had and made before their counsaile, or
                      other §sentnient(' thereof to be had according to the meanynge of the same Acte, and everie other pson which hereafter
                      by vertue of this Acte maye have ac<'?6n or ac6l6ns suyte or informaél6n upon this Statute within halfe a Vere next and
                      ymediatlye after suche olfenct' or forfeitures had and made do not commence their suytf' informa€6n ac&'>ns or f9sentment€
                      of and upon the said forfeyt(' by ac66n or otherwise as in this @sent Acte ys lymited and declared, that then aswell the
                      Kinge our Soiaigne Lorde his heires and successors, after one Vere next after suche offencf' and forfeyti' had and
                      made yf no suyte in his or their name be taken by ac&'Jn or otherwise as ys before ex8ssed before the same Vere
                      ended & de?myned, as everie other pson after halfe Vere next after like Offence had and done in the four re
                      aforesaide yf noe suyte thereupon be taken by none of them in four re above declared, be utterly excluded and
                      debarred of their saide suyt(' ac<'?Ons Informa&'>ns and ex5iaéléns to them gyven by vertue of the saide Acte, and
                      the partyes and e9y of them so offendinge shalbe of all suche O§lenc(' and forfeytf' clerely dischardged and quit ;
                      Any thinge in this Acte comprised to the cont.°rie notwithstandinge.

                        Paovxmzn alwayes and be it enacted by thauctoritie aforesaide that this Qsent Acte ne any things therine conteyned         XVIII.
                                                                                                                                              Proviso for
                      shall in anywise extende or be Qjudiciall unto the Kingi' Subject? resident or inhabitinge here unto the Coasts' of the Inhabitants near
                                                                                                                                              the Sea Coasts,
                      Sea in any parte of this Real re, their houses beinge not above gyve myles distant from the same Costs, nor also to Scotland,     Calais,
                      any of the saide Subjectf' inliabitinge within twelve myles of the borders of Scotlande, nor to any the King? Subject(' Jersey, &c.
                      Inhabitauntf of the Towne and Marches of Callice, nor to any of the Inhabit"unt(' of the Isles of Jersey Gernesey
                      Anglesey and the Isles of Weight and Man, but that it shalbe laufull for everie of the saids Inhabitaunt€ at
                      all tymes hereafter to have excise and use their handguns hagbuttf and demyhakes of the lenghes abovesaide
                      within the lymyttf' and Isles abovesaide,.so that it be at noe manner of Dere heron Shoveler fesant partriche
                      Wild Swan re or Wilde Elke or any of them; this Psent Acte or any thinge their conteyned to the contr'ie
                       notwithstanding.

                          Pnovrm-:D also that this Acte ne any thinge therine conteyned be in anywise hurtful! or 8judi¢ia11 to any Qv"nte         XIX.
                                                                                                                                             Proviso for
                       or pson that hereafter, from the saide taste daye of June, shall bend beare Carrie charge use or assaye anye Crosbowe Servants under
                       or any handgun demyhake or hagbutt of the lenghes abovesaide, by the c5maundment of his Lorde [and'] Master so Orders of their
                                                                                                                                             Masters.
                       that the saide Qv"nte or pson doe not shore at any fowle Dere or other Game of what Kynd or nature soever they
                       be ; nor also to any suche Qv"nte pson or psons that shall after the saide last daye of June beare or convey any Crosbowe
                       handgun hagbutt or Demyhake of the lenghes aforesaid to any place or places, by the comaundment of his lords
                       or master that maye shore by auctoritie of this Acts, to be amended repayred delyvered or assayed; so that the
                       side Servaunte or other pson so bringing or conveyinge the side Crosbowe handgun hagbutt or demyhake have
                       redye to shewe to evy pson requiring the sight thereof one licence in Writinge sealed or subscribed by his saidc
                       Lords or Master to Carrie and convey the same Crosbowe handgun hagbutt or demyhake to thintent to be amended
                       repayed assayed or delivered as ys aforesaid.

                         Paovmnn allies that this Acte or any thing conteyned therein shall not extend to any Owner of any Shippe, for Provisoxx. for
                       having or kepinge of any handgun hagbutt or demyhake of the se9all lenghes in this Acre ex f>"ssed or under, Owners of Ships,
                       only to be had and occupied within their Shippe or other Vessell, or for the carriage and recarriage of them or any of ac.
                       them on land, or kepine of them for the only excise and occupyinge of them within their said Shippe or Vasell ;
                       Amye thing in this Acte to the contr'ie in any wise notwithstandinge.


                                                                               for O.




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          GRANW, C WCE8S¥@NS,
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l                                                 AND
            *v
                       ORIGINAL CONSTITUTIONS
                                    OF THE PROVINCE OF


          NEW JERSEY                             THE



          Passed during the Proprietary Governments, and other
               material Transactions before the Surrender
                         thereof to Queen Anne.
         The Instrument of Surrender, and her formal Accept-
                            ance thereof
          Lord CoRn8Uawr's Commlsslon and Instructions Conse-
                           quent thereon,
          Collected by some Gentlemen employed by the General Assembly..
                                  And afterwards
    1*    Published by virtue of an Act of the Legislature of the said Province'
         With proper Tables alphabetically Digested, containing the prin-
                           cipal Matters in the Book.
                                 "If,       »' r* - I .
         i                   '.in\_,  f So.          *1                      --


                       By AARON LEAMING and jaco8 SPICER.

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                                             Laws 13355841 in 16-86.                              289
                        Ht' pl2=rr-zuns as tlli=!.r Hlirlll think ht. Tl4.1l£ Qxvwding Haven, to
                        m anly unlurea [rum time to time, 54111.-lI aus n1:l,],' he 5113table. and
                        benuivinl fuT ulrery town, village, lm-mlet. [HI uviglihullrlluumll
                        fuT prevent-i11g' all 11u1'l111§ l.1§r :-1wi Ne, in town, nl4:1ulr.wb's,
                        pastures anil gzl.111L-ms, in any 1'elee11ur:t, :ml in imp-use pemnl-
                            ties :lrcnrdillg to Their best. clisc-1'uti\'»n8.


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                            An Act 3I;~p¢"1It1t11"1g SGIIIE new Corltxnls-
                              5iunL:1's Qf the l IigI'1\.Tay5.
                             "TI-IEREAS ll11-11-p was :III :Il'l: ma'ur.ls in the year ]f'.»F=i!. for
                            W the vuiiutjr of ll-Iulln1r.1Lltl]1, En enable Url. L:=m'is I'4I:11'ris,
                        John I-lnunrl, mul Jo-sepb Pm'lu-:1', to Inv mit l118-I'nr:4.=s, pas-
                        mgss, terry' s, and 'marking hriclges and skull like; tllsre
                        being tl11'4.4s UI [l1u»-se ]=eT'==1mT1H flissT1=1l'l]sL1 In' the true pe1'fu1'nt-
                        ance of the s&linl sr.el'1ricus, Els ET £}':sr'q';*brs murssferl by this
                        Gr».'rs1'l1r»1', {.'-1:rL111L'i.l :ml Ilsputiss nnvr man :mrl nsselllhlsd,
                                                  3 of the same, tlmr Ju'hu F1'ug;n1l:1'I.IL»11,
                        anti lug the a1lr11u1'it}.lr
                        Julian Eluuarlls, :ml Ni tllrllsts Il1-rmwn, in the steal :and 1'n0n1
                        of (Jul. Lewis Minis, Jr1l1:1 ]'§ur11I1cl. and Joseph Pa,rker'1 he
                        made czlpuble and ]1e1'eb1r    _ illvestenl with t h e 931118 plirwer no
                        all intents and Tl-nq1t:ses in tl1F~ said ]j1\'»3\Iiisss. as the zLl'u11s-
                        51-id Gul. Tam-is hluwis, Jullll liuullnl. elul Jusspll P:11'lie1',
                            were bar tlLL- sa1fl acts.

                                                           Chap, IH.
                                An Pict against wearing Swcfrds. 8412.
                                 'I-IEREBLFS thL~1':* Iiatih heulx 811%l[ u:uu1]J1:Liut bj.r the in-
                                     h11`L1it:111ts of tlliel P1'uvi.m:u, that :several 11»er5n113 wear-
                        ing Hwurrls, Llaggers., pistols, dhhs, still:u;ln4ei§, skeilles, nr
                        any other 11mlslla.l nl' unlawful 'lITE'il'l.1D]Il3| by reitsrhn of which
                        several persons in 'plain I"r0»rin4:1e, 1"ecei1»'e great abrlesu:-s, and
                        pm. in gl'ea.t: fem- and q11a1-re18. :un l;'11al.]le11,ge:=l 1nmle. to the
                        great abuse of t-he irlllalbilulltas of this 1"r::r1.-irlsre.     B e -HE Mere-
                        tare Enwcferfi by t-his 6u1'e1'nut', 111111 Uullncil, and Deplltiea
                        HOW met in Glgnernl Assembly, and l\}= :mt hulity of the same,
                            that on perscrrl DI' persons 1=ritll:iJ1 this ]:'1-a1"in1'e, 'p1*e811:t\E
                            to send any challenge in writing, by w0.1':1 of month,
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                               290                   Laws; I RESECI an 1696.
                               1.


                              nr messngp. to :my   l p43rE=nr1 lu right
                                                                      a    llpun pain of laing; im-
                              ]»1'isnne~ll :11l1'ing' the Ea11uu8 ul' six 1ucmt]1:a, witllmli. hail nr
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                              eursiena t11re' t-his 1'1'm'iuee, l1el.La1rin§.§ tllemeelvee L:e:1eealJ13r,




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                                     ACTS
    PASSED AT THE SESSION BEGUN AND HELD AT BOSTON,
        ON THE THIRTIETH DAY OF MAY, A. D. 1750.



                               CHAPTER 1.
    AN ACT FOR IMPOWERING THE PROVINCE TREASURER TO BORROW
     THE SUM OF FIVE THOUSAND POUNDS, FOR APPLYING THE SAME TO
      DISCHARGE TIIE DEBTS OF TIIE PROVINCE AND DEFREY TIIE
      CHARGES OF GOVERNMENT, AND FOR MAKING PROVISION FOR THE
      REPAYMENT OF THE SUM SO BORRO\VED.

       Be it enactecl by the Lieutenant-Govevnour, Council cd House of Rep-
    reseoztati"/;es,
      [Si3cm l.]     That the treasurer of this province be and hereby is Treasurer em-
                                                                                powered to bor-
    impowered to borrow from such person Ol' l)CIISOlllS as shall appear ready row £5,000 for
    to lend the same, a sum not exceeding five thousand pounds in Spanish the province.
    mill'd dollars ; and the sum so borrowed shall be a stock in the treas-
    ury, to be applied for deireying the charges of this government in
    manner as in this act is after directed, and for every sum SO borrowed,
    the treasurer shall give a receipt of the form following ; viz.,-
      Province of the Massachusetts Bay,            day of             17   , received Form of his re-
    f rom               the sum of                pounds, for the use and service of C61ratfor said
    the Province of the lllztssachusetts Bay; and i11 behalf of said Province, I do money.
    hereby promise and oblige myself and my successors in the oiiice of treasurer,
    to repay
           . the said                 , his heirs or assigns, on or before the tenth
    day of June, one thousand seven hundred :md fifty-two, the aforesaid sum of
                  pounds, with interest for the same, at and after the rate of six
    per cent per annum.        W itness my hand,                     , Treasurer.

    -and no receipt shall be given for any sum less than fifty pounds ; and
    the treasurer is hereby directed to use his discretion 111 borrowing said
    sum at such times as that lie may be enabled to comply with the draughts
    that may be made on the treasury in pursuance of this act.
      And be it further enacted,
      [SECT. 2.] That the aforesaid sum of five thousand pounds shall he £1,750 appro-
                             . in manner :md for the purposes
    issued out of the treasury                         I      following ; priated for forts
                                                                          and garrisons.
    viz., the sum of seventeen hundred and Fifty pounds, part of the afore-
    said sum of Hve thousand pounds, shall be applied for the service of the
    several forts and garrisons within this province, pursuant to such orders
    and grants as are or shall be made by this court for those purposes ;
    and the further sum of one thousand pounds, part of the aforesaid sum of £1,000 for com-
    five thousand pounds, shall be applied for the purchasing provisions missary sstorcs.
    and the colnmissary's necessary disbursements for the service of' the
    several forts and garrisons within this province, pursuant to such grants
                         65                      11
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                      .     And whereas there are sometimes contingent and unforeseen charges
                         that demand prompt payment,-
                           Be it further enacted, .
    £100 for contin-        [SECT. 16.] That the sum of' one hundred pounds, being the remain-
    gent charges.
                         ing part of the aforesaid Slim of seven thousand eight hundred and sixty
                         pounds, be applied to pay such contingent charges, and for no other
                         purpose whatsoever.
                            Prove(led always,-
    Remainder to            [SEcr. 17.] That the remainder of the sum which shall be brought
    be 7:lI1(l rvnlrlill
    as a stockist the into the treasury by the tax aforesaid, over and above what shall he
    treasury.            suilicient to pay otl` the benefit tickets as aforesaid, shall be and remain
                          as a stock in the treasury, to be applied as the general court of' this
                          province shall hereafter order, and to no other purpose whatsoever ; any
                          thing in this act to the contrary notwithstanding.

    Money to be
                                      f
                             And be it Arther enacted 1
                             IISECT. 18.] That the treasurer is hereby directed and ordered to pay
    paid out of the
    proper appro-         the sum of eight thousand and ten pounds, as aforesaid, out of such
    priutions.            appropriations as shall be directed to by warrant, and 110 other, upon
                          pain of refunding all such sum or sums as he shall otherwise pay ; and
                          the secretary to whom it belongs to keep the muster-rolls and accompts
                          of charge, shall lay before the house of representatives, when they direct,
                          such muster-rolls and accompts after payment thel'eof.
                             And be it further enacted,
    Directors' al-           [SECT. 19.] That the directors or managers by this act appointed,
    luwnnce to be
    made by the           shall have such allowances for their services as the general court shall
    general court.        hereafter order, and in case of the death, refusal or incapacity of at-
                          tendance of any one or more of' said managers, the vacancy shall be
                          fill'd up by the governour and council.        [Passed February 8 ; published
                          February 16, 1750-51.




                                                  CHAPTER 16
                          AN ACT FOR GRANTING THE SUM OF THREE HUNDRED POUNDS, FOR
                           THE SUPPORT OF HIS HONOUR THE LIEUTENANT-GOVERNOUR AND
                           COMMANDER-IN-CHIEF.
                            Be it enacted by the Lieutenant-Governour, Council and House of
                          Representatives,
     G0veruol-'g             That t-he sum of three hundred pounds be and hereby is granted unto
     grant.
                          his most excellent majesty, to be paid out of the publick treasury to his
                          honour Spencer Phi's, Esq[r]., lieutenant-governour and cominauder-in-
                          chief in and over his majesty's province of the Massachusetts Buy, for
                          his past services, and further to enable him to manage the pnblick
                          affairs of the province. [Passed February 15 ;* published February 16,
                          1750-51.


                                                  CHAPTER 17.
                          AN ACT FOR PREVENTING AND SUPPRESSING OF RIOTS, ROUTS AND
                                            UNLAWFUL ASSEMBLIES.
     Preamble.               WHEREAS the provision already made by law has been found insuffi-
                          cient to prevent routs, riots and tumultuous assemblies, and the evil
                          consequences thereof ; wherefore,-
                                                  * See the note to this chapter, post.

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       [31) Sass.]            PROVINCE LAWS . -1750-51 .                                        545
         Be it enacted by the Lieutenant-Governour, Council and House of
       Regore0entat i ues,
          [ S E C T . 1 . ] That from and after the publication of' this act, if any Officers to make
                                                                                          proclamation
       persons, to the number of twelve or more, being arm'<l with clubs Of when persons
       other weapons, or if any number of persons, consisting of fifty or 3§§e{,;",§,,'1,S.'v
       upwards, whether armed or not, shall be unlawfully, riotously or
   I   tumultuously assembled, any justice of the peace, field officer or cap-
       tain of the militia, shcritf of the county or nn<lcrsllcrifI`, 01° any con-
       stable of the town, shall, among the rioters, or as near to them as he
       can safclv come, command silence while proclamation is making, and
       shall openly make proclamation in these or the like words .
         Our sovereign lord the king chargeth and eommzmdeth all persons being Form of the
       assembled, immediately to disperse themselves, and peneeably to depart to proclamation-
       their habitations, or to their lnwlill business ; upon the pains contained in the
       act of this province made in the twent.\'-follrth year of his majesty King
       George the Second, for preventing and suppressing of riots, routs and un-
       lawful assemblies. God save the king.
          And if such persons so unlawfully assembled, shall, after proclama-
       tion made, not disperse themselves within 0110 hour, it shall be lawful
       for every such officer or oflieers, and for such other persons as he or
       they shall command to be assisting, to seize such persons, and carry
       them before a justice of the peace ; and if such person shall be killed
       or hurt by reason of. their resisting the persohs so dispersinfr or seizing
       them, the said officer or officers and their assistants shall be indemnity
       tied and held guiltless.
          [SECT.9-.] And all persons who, for the space of' one hour after Penalty for dis
       proclamation made as aforesaid,-or to whom proclamation ought to obedience.
       have been made, if the same had not been hindered,-shall unlawfully,
       routously, riotously and tumultuously continue together, or shall wil-
       fully let or hinder any such officer, who shall be known, or shall openly
       declare himself to be such, from making the said proclamation, shall
       forfeit all their lands and tenements, goods and chattles, to his majesty'
       (or such a part thereof as shall be adjudged by the justices before whom
       such offence shall be tried), to be applied towards the support of the
       government of this province ; and shall be whipt thirty-nine stripes on
       the naked back at the publick whipping-post, and suffer one year's
       imprisonment, and once every three months during said imprisonment
       receive the same number of stripes on the naked back at the publick
       whipping-post as aforesaid.
            '
          [sEcT.  3.] And if any. such person or persons, so riotously assem-
       bled, shall demolish or pull down, or begin to demolish or pull down,
       any dwelling-house or other house parcel thereof, any house built for
       publick uses, any barn, mill, malt-house, store-house, shop or ship, he
       or they shall suffer the same pains and penalties as are before provided
       in this act.
          And be ifzf furtlzer enacted,
          [SncT. 4.] That this act shall be read at every general sessions of Ting act to be .
       the peace, and at the anniversary meeting of each town, within this ;;;3da§thec38§;g
       province, annually ; and no person shall be prosecuted for any offence of the towns
                                                                                    and general
       contrary to this act, unless prosecution be commenced within twelve sessions       of the
       months after the olllence committed.                                         peace.
         Provided always,-                                              _

          [SECT. 5.] That where there shall appear any circumstances to miti- Judges empow-
       gate or alleviate any of the offences against this act, in the judgment 3,§3dp*°ni§hzi?ll
       of the court before which such offence shall be tried, it shall and may of whipping,
       be lawful for the judges of such court to abate the whole of the pun- case. '
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                                                   13
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    546                               PROVINCE LAws.--1750-5l. [CHAPS. 18, 19.1

                   ishment of whipping, or such part thereof as they shall judge proper ;
                   anything in this act to the contrary notwithstanding.
    Continuance of    [S1;cT. 6.3 This act to continue and be in force for the space .of
    the act..
                   three years from the publication thereof, and no longer. [Passed and
                   published February 14, 1750-51.



                                          CHAPTER 18.
                 AN ACT IN ADDITION TO AN ACT, INTITLED "AN ACT TO PREVENT
                   DAMAGE BEING DONE ON TIIE BEACH, HUMOCKS AND 1\[EADO\VS
                   BELONGING TO THE TO\VN OF SCITUATE, LYING BET\VEEN THE
                   SOUTHERLY END OF THE 'THIRD CLIFT,' SO CALLED, AND THE
                   MOUTH OF TIIE NORTH RIVER."

    Preamble.      WHEREAS in and by an act made and passed in the twenty-third year of
    17-19-50,chap.]4. his present majesty's reign, intitled " An Act to prevent damage being
                    done on the beach, hummocks and meadows belonging to the town of
                    Scituate, lying between the southerly end of the ' Third Clift,' so called,
                    and the mouth of the North River," the penalty[y][ie]s for turning or
                    driving neat cattle, horse-kind, sheep or goats upon such beach, hum-
                    ocks or sedge-ground adjo[y][i]ning to said beach, to feed thereon, are
                    to be recovered from him or them that shall so drive said cattle, horse-
                    kind, sheep or goats, or from the owner or owners of them that shall
                    so order them to be driven ; and it is found, by experience, that proof
                    thereof can seldom be obtained, whereby the good end and design of
                    said act in 3. great measure is defeated,-
                       Be it` therefore enacted b./1 the Lieutenant-Gofvernour, Council and
                    House of Representatives,
    Neat cattle and    [Seem 1.] That if any neat cattle, horse-kinrl, sheep or goats shall
    other crcnturcs
    to be impound- be found feeding on said beach, humoeks, meadows or sedge-ground
    ed if found feed- adjoining to said beach, it shall and may be lawful for any person to
    '£§J3"° "5 &c. impound the same, such person to observe the rules and directions in
                     the said act prescribed in case of impounding; and the owner or own-
                     ers of them shall forfeit and pay to the impounder one shilling a head
                     for all neat cattle and horse-kind, and twopence for every sheep or
                     goat ; and the said penalty[y][ie]s or forfeitures shall be paid, before
                     the creatures, which shall or may be impounded by virtue of this act, be
                     discharged or released by the pound-keeper.
                        Provided, ne'vert/zeZess,-
    Rates to be paid
    f     l ..             . 2.] .The owner or. owners of the creatures .so
                        [S her                                                 a
                                                                                  impounded
    p°ou°u'Te8 gem, mow, If they thunk fit, replete such creatures, on condition they owe
                                                                                          .
    ures.        sufficient bond, with one or more surety] [ie]s, to prosecute such re-
                 plevin to effect before some justice of the peace in the same county,
                 within fifteen days from the date of such replevin, and to pay all such
                 forfeitures and costs as shall be awarded or adjudged against them.
                 [Passed February 8 ; published February 16, 1750-51.



                                          CHAPTER 19.
                  AN ACT FOR GRANTING UNTO BENJAMIN CRABB THE SOLE PRIVI-
                     LE[D]GE OF MAKING CANDLES OF COARSE SPERMAC./ETI OYL.
     Prcamblé.      WHEREAS Benjamin Crabb, of Rehoboth, in the county of Bristol,
                  has represented to this court that be, and no other person i11 the prov-

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                      WIL L IAM FRANKL IN, Efquire,                                   GOVERNOR.
                                                                                                     I


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                   At a GENERAL ASSEMBLY held at
                      Burlington from the Twentieth Day of November to the
                      Twenty-tirft Day of December I 771, in the 'Twelfth Year
                      of the Reign of King George the Third, the following
                      Laws were palTed.
                                 SESSION THE FOURTH.
                                    C I-I A p. DXXXIX.
                   8" A C T Tb cautifzue and amefza' azz. AS, e/ztit/ed, An A&
                     for better f!/ing and regulating the Militia of bi: U0/'04
                      by of New-.Ierfey ; for zI./5e rope//ifzg Inwqofzs, and fupprq/3
                     /"8 D3/urreifiom and Reée//ion.r.*
                                                                             Paced Dec. 21, 1771.

                        ' H E R EAS the All pailed in the Nineteenth Year of the Reign Preamble.
                    V v of our late Sovereign Lord King George the Second, entitled,         "
                   An AS for better .kttlirgg and regulating the Militia of the Co1on.y of
                   New-Jerfey ;fo1~ I/Je repel/ig fwvqofzs, our/ ./izppfe/2113 bg£1rrec'Z'iom and
                   Rebel/z°on.r, will expire at the End of this Seilion of AlTerably s

                      Scc7. I. Be IT ENACTED by the Gowrnar, Council and Genera! Ajar Limifariom
                   My, and if is hereby E7za8¢'d by the Autlaorizj/ of the'/Zwze, That the laid
                   Act, entitled, .All AS for better /filling Ami' 7~'e811141512.g the Militia of
                   this Colony of New-Jerfey ; for t/Je repelli/28 Hz=vz 011:, a,,d./lpp/mivfg liz-
                  .hrre8i0n.r and R °be/lion.r,* fhall be, and hereby is continued, and every
                   Article and Clause therein contained hall be and remain in full Force,
                    from the Publication hereof, to the firft Day Of May which will be in
                   the Year of our Lord One Thou£und Seven Hundred and Seventy-feven,
                   and from thence to the End of the next Sellion of the General Ailembly
                   of this Colony, and no longer.

                      2. A N D VV HE R EA S it has been a Guflom of late, in fore of
                   the Counties of this Colony, to choofe the Militia Officers Conflables ;
                   for preventing the fame for the Future, BE IT ENACTED by the Autlso- ComMlilion
                   1 in'}' zy%r¢_%1id, That, during the Continuance of this Act, it hall not be CditOliicers
                                                                                                      bh-
                   lawful for any Court of General latter-Sellions of the Peace, or for ?§'n €0n'I§.°
                                    W



                   any of the Inhabitants of this Colony, at their annual Town-meetings, bles.
                   to appoint or choose any commiilioned Officer, while in Commiilion,
                   to be a Confkable; any Law, Ufage or Cuftom to the contrary not-
                   withltanding.
                                           I  C H A P.          DXL.

                   AIIACT _for the Pr¢_r<vzztio/z of Deer up/ of/Jer Game, and
                                        to .Prewe7zt or i>{z/zng*zwiz'6 Gu/z.r.

                                             .                               Pa{Ted Dec. 21, 1771.


                   w        H ERE AS the Laws heretofore paired in this Colony for the Preamble.
                            Prefervation of Deer and other Game, .and to prevent. trefpaili
                                         *                 * Chap. CC.
                                                                                       1
                                                                                              .
                                                                                               in

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                                                 Digitized from Best Copy Available
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                 344                      XII     GEORGE 111. A. D. 17.71.
                                  ing with Guns, Traps and Dogs, have, by Experience, been found in-
                                  ihfiicient to anfwer the falutary Purposes thereby intended ; Therefore,
                 No Perfon to     $685 I. BE IT ENACTED by the Governor, Council and General .4/1
                 carry a Gunnot /emf/y of I/Qi: Colony of New-Jerfey, and 'it is /Jerry Erzaéied by the Au-
                 on Lands
                 his Own, ex- t/Jorihy of the ./217216, That if any Perfon or Perfbns Shall presume, at
                 cept, (yr.
        4'
                                  any Time after the Publication hereof, to carry any Gun oN any
                                  Lands not his own, and for which the Owner pays Taxes, or is in his
                                  lawful Polfeiiion, unlefs he hath License or Permiflion in Writing from
                                  the Owner or Owners or legal Po{l"e{l°or, every such Perfon Tb offending,
                                  and convicted thereof, either upon the View of any Juilice of the Peace..
                                  within this Colony, or by the Oath or Affirmation of one or more Wit-
                                  neifes, before any Juftice of the Peace of either of the Counties, Cities or
                                  Towns-corporate of this Colony, in which the Off"encler or Offenders
                                  may be taken 01° relide, he, the or they, shall, for every fuck Offence, for-
                                  feit and pay to the Owner of the Soil, or his Tenant in Poffeflion, the
                 Penalty.         Sum of Forty Shillings, with CofiS of Suit ; Which Forfeiture fhaii
                                  and may be fued for and recovered by the Owner of the Soil, or Te-
                                  nant in Foffeflion, before any Juftice of the Peace in this Colony, for
                                  the Use of such Owner or Tenant in Poffeilion.
                 No Person to        2. AND BE IT ENACTED by the Authority by%r¢id, That if any
                 drive Deer or
                 other Game,      Person Shall presume, at .any Time after the Publication. of this Act,
                 except, 61.      to hunt or watch for Deer with a`Gun, or set in any Dog or Dogs to
                                  drive Deer, or any other Game, on any Lands not his own, and for
                                  which the Owner or PoHlelllor pays Taxes, or is in his lawful Poifeflion,
                                  unlefs he hath Licenfe or Permiilion in \Vriting from filch Owner or
                                  Owhers or legal Poffeffor.; every fuck Perfon to offending, and being
                                  convicted thereof in Manner aforefixid, shall, for every fuck Offence,
                                  forfeit and pay to the Owner of the Soil, or Tenant in Poffefiion, the
                 Penalty.         Sum of Forty Sb!/livzgr, with Coils of Suit ; provided, that nothing
                                  hereincontainedfhall be conftrued to extend ,to prevent any Perfbn
                                  carrying a Gun upon the King's Highway in this Colony.

                 Penalty on           3. AND BE IT FURTHFJ1 ENACTED by the Authority rg'br¢zid, That
                 Non-Reli-        if the Perfon or Perfons offending againit this Act be Non-Refidents
                 dents.
                                  of this Colony, he or they shall forfeit and pay for every fuck Opulence
                                  Five Pozmds, and Shall forfeit his or their Gun or GuNs to any Perfon'
                                  or Persons who fhall inform and prosecute the fame to Effeél, before
                                  any Juilice of the Peace in any County of this Colony, wherein the
                                  OfIlenc1er or Offenders may be taken or apprehended.
                  1'cnalty for       4. AND BE IT ENACTED 141' the 4utbority fy'br4Zzid, That if any
                 .killing, doc.
                 Deer out of      PerfOn or Persons hall kill, def troy, hunt or take any Doe, Buck,
                  Scion,          Fawn, or any Sort of Deer whatfoever, at any other Time or Seafon,
                                  except only between the fifi .Day of September and the first Day of
                                   javzzzary yearly and every Year, he, {11e'or they to oH-ending, shall for-
                                  feit and pay the Sum of Forty Shilling: for each and every Offence ;
                                  to be Ired for, recovered andlapplied as hereafter is directed.
                                  5, AND, for the better and more eifeétual convicting of Offenders
                 What shall     againft this A&, BE IT ENACTED by the Mud/parity by%r¢zid, That any
                 b E 'a -                                   .
                 offucvh ,e3,,e and every Person or Perfons in whole Cuilody fhall be found, or who'
                 ing, 2%                                                                     shall ,

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                  VVIL L IAM FRANKL IN,                           Esquire, GOVERNOR.                345

                fhall expofe to Sale, any green Deerikins, .or frefh Venison killed at
                any Time after the firlt Day of janzzczrfy, and before the firflt Day of
                SejWenzber afbrefaid, and Shall be thereof conviéied by the Oath or
               Aflirmation of one 01° more credible \\7itneHles, shall be deemed guilty
               of offending agaiuft this Act, and be liibjeéted to the Penalties of kill-
               iug Deer out of Seafon.

                  6. AND W HEREAS great Numbers of idle and diforderly Per-
               fons make a Praélice of hunting on the wafie and unimproved Lands
               in this Colony, whereby their Families are neglected, and the Publick
               is prejudiced by the Lots of their Labour, BE IT THEREFORE EN- Who may
                                                                                         hunt on un#
               ACTED by ibc Auf/9orit.y zybrghid, That, from and after the tiril Day improved
               of .7a11z¢ar_y next, 110 PersOn or Perfons whatfbever except such Ferfons Lands.
               as are by the Laws of this Colony qualified to vote for Reprefentatives
               in General Assembly, in Right of their Freeholds, and their Sons being
               of the Age of eighteen Years or upwards, and living~withtheir Parent
               or Parents, or being Freeholders) hall, 011 any Pretence whatever, hunt
               on the wafts and unimproved Lands in this Colony 5 and if` any Per-
               Ibn or Persons, not qualified as atbrefaid, shall prefume to hunt as
               aforehiid, he or they 'to offending hall forfeit and pay, for every such
               Offence, the Sum~ of Twenty S/Jil/ingir ; to be recovered by Action of Penalty on
               Debt, with Colts, by any Perfon who fhall file for the fame ; tO be ap- Offenders.
               plied one Half to the Prosecutor, and the other Half to the Use of the
               Poor of the Township or Precinct where the Fact was committed.
                  7, AND BE IT ENACTED by the Authority aforuyhid, That if any Per- Penalty 011
               for or PerfOns within this Colony fhall let any Trap or other Device fctting
                                                                                    do.
                                                                                            Traps,
               whathiever, larger than what is ufually and commonly let For Foxes
               and Muskrats, filch Perfon, setting such Trap or other Device, Shall
               pay the Sum of Few .Pou7zd.v, and forfeit the Trap or other Device,
               Shall {ilHler three Months Imprifonment, and fhall also be liable to make
               good all Damages any Perfbn iliall fiiflain by letting fuck Trap or other
               Device, and the Owner of fuck Trap or other Device, O1` Perfon to
               whom it was lent, fall be esteemed the Setter thereof, unlefS it shall
               be proved, on Oath or Affirmation, what other Perfbn let the fame, or                             1
               that finch Trap or other Device was loft by said Owner or PersOn to
                whom it was lent, and absolutely out of his Power; and if the Setter Penalty on a
                ofthe Trap or other Device be a Slave, and it be his own voluntary Act, Slave    letting
                                                                                              such Trap,
                he shall (unlefs the Mailer orlvIiflrefS hall pay the Fine) i11 Lieu of Iiich Or.        l
                Fine, be publickly whipped with thirty Lathes, and 'committed till
                the Colts are paid; and that the laid Trap or Other Device hall be broken.
                and dellroyed in the View and Presence of the Juftice of the Peace                           \



                before whom they are brought: And if any Perfon or Persons Shall have Penalty 011
                                                                                           keeping
                PoHle{lion of, or there shall be found in his or their Houfe, any Trap T1°ap,      fuck
                                                                                                 ac..
                or Traps, Device or Devices whatiOever, for taking of Deer, such Per-
                fon or Perfons shall be iiibjeéted to the fame Penalty as if he or they
                were convicted of letting such Trap or Traps, or other Device.
                  8. AND, for encouraging the Deiiruéiion of fuck Traps and De-4 Reward for
                vices, BE IT ENACTED by the Authority rwrlj2zid, That if any Perfon $;2Ps8.
                shall faze any Trap or other Device for due taking Deer, and fall car-
                ry such Trap or other Device to any Magifirate of the County
                where fuck Trap or Device was fazed, fuck Fermion [hall be entitled to
                                     .                4 Q.                              an

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                                 an Order from the said Magifirate to the Colleékor of fuck County, to
                                 pay him the Sum of Ten Shillings, out of any Money in his Hands raised
                                 for the Ufe of the County s which Sums hall be allowed to such Col-
                                 1eé`tor on the Settlement of his Accounts.                '
               .'Penalty on a      9. AND BE IT FURTHER ENACTED by
                                                                 . aha Authority Hz/Zrqkzid,
                                                                                  _          That
                Smith making
                Of' ITICIIding   every Smith or other Artificer, who fall hereafter make or mend any
                fuck Trap,
                cow.
                                 fuck Trap or other Device aforefaid, he hall forfeit and pay the Sum
                                 of Forty Ship/ings ; and the Perfon carrying finch Trap or other Device
                                 to the Artificer aforefaid, fhall forfeit and pay the Sum of Ykvenry
               Penalty on
               bringing
                                 S/Jil]ing.r;' And every Perfon who shall bring into this Colony any
               fuck Trap,        such Trap or Device' as aforefaid fhall forfeit and pay the Sum of
               8cc. into the     Forty Sbillifzgr. And if .the Perfon who fhall carry the fame to the
               Colony.
                                 Smith or Artificer shall be to poor as that he shall not beahle to pay the
                                 Forfeiture aforefaid, he shall be committed to the common Gaol, un-
                                 til he shall prove who is Owner of such. Trap or Device, or who deli-
                                 vered the fame to him; and in iiich Cafe the Forfeiture aforesaid [hall
                                 be levied on the Goods, or in Failure of Goods, on the Body of the
                                 Owner of finch Trap or Device, or the Perfon who delivered the time
                                 to the Pauper, and the Trap or Device fhall be forfeited and destroyed.
                Penalty for
                iktting loaded
                                 IO. AND WHEREAS a mofc dangerous Method         . of letting
                                                                                           , Guns
                Guns.          has too much prevailed. in this Province, BE IT ENACTED by the Au-
                                 t/aority .<fof~4zid, That if»any Person or Ferfons within this Colony Hlall
                                 presume to let any loaded Gun in filch Manner as that the fame hall
                                 be intended to go oH" or discharge itfelf, or be difbharged by any String,
                                 Rope, or other Contrivance, such PersOn Or, Perfons hall 'forfeit and
                                 pay the Sum of Six Pounds ; and on Non-payment thereof fhall_ be
                                 committed to the common Gaol of the County for fix MOnths.

               Application      1 1. AND BE IT FURTHER ENACTED by t/Je Authority ¢y%r¢j&id, That
               of Penalties.
                             the Fines and Forfeitures in this Act expressed, and not particularly
                             appropriated, shall be paid, one Half to the Profecutor, .and the other
                             Half to and for the Use of the Poor of the Town, Precinélor Diftriéi,
                             where the Offence is committed ; and that the Execution of this AS,
               _Iurifdiélion and every Part thereof, shall be within the Cognizance and Jurifdic-
               given to one
               Magiftratc.   tion of any one Magiftrateor Juftice of the Peace, without any Re-
                             ference to the Aélt for Trial of iinall Caufes in this Colony,

                This Aft not        12. AND BE IT ENACTED, 'That nothing in this Lawihall be con-
                to aflle&
                Parks.
                                 Rrued to extend to restrain the Owners of Parks, or of tame Deer, from
                                 killing, hunting or driving their o.wn Deer.
                Fenalty on         13.. AND BE IT ALSO ENACTED by the Authority :y'br¢%1id, That if
                Magistrate
                ncglcélixmg      any juflice of the Peace or other Magiltrate, within this Province,
                his Duty.        shall have Information of any Persons offending againft this Act, in
                                 killing Deer out of Sea1"on,' fettiug and making Traps, Non-Rc-:lidents
                                 killing Deer, and Perfons letting of Guns, and Mall not prolbcute
                                 the fame to E{Te6lt within two MOnths after fuck Information, he fhall
                                 forfeit and pay the Sum or Sums to which the Offender againfl this
                                 A<St would have been liable.
    1


                                                                                                               r
        x
                                                                                                /4. AND



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                  'WILLI AM FRANKL IN, Efquire, GOVERNOR.                                                   347
                                                                                            l




                   14. AND BE IT ENACTED by the Authority 4/brg/did, That the juf- This AA to
                                                                                         , , publiflled
                ties at every Quarter-Sefiions of the Peace fhall ca f e this AS to be and    executed.
                publickly read ; and give in Charge to the Grand-Jury to particularly
                inquire and prelent all Perfbns for killing Deer out of Sealbn, letting
                or making Traps, and all Non-Refidents killing, deflroying, hunting
                and taking any Sort of Deer, and all Perlbns jetting of Guns ; .and,
                upon Conviction for either of the laid Offences, the laid Juflices fhall
                set and impofe the Fines and Penalties herein before-mentioned, with
                Coffs of Suit.

                  15. AND BE IT ENACTED by 1/.76 Ant/ao2~ily¢ r z i d , That if any Appeal givch
                PerfOn or PerlOns whatsoever, whether the Accufed or ACcufer, Plaintiff gonsxt Sel`-
                or Defendant, hall think themfelves aggrieved by anyof` the Judg-
                ments g i v e n by the said Juftices or other Magiilrates, for any Suit
                commenced by Virtue of this 1Aél ; then it hall and may be lawful
                for such Perfbn or Perfons to appeal, on giving fuflicient Security for
                the 1*lorfeitures and Coils, to the next Court of General Quarter-Seffions,
                held for finch County where {`u.ch .Judgment .shall be given s which Court                        e



                is hereby empowered to hear and determine all and every fuck Appeal
                or Appeals.                                       f


                  16. AND BE IT ENACTED by the Authority 4/%I-»g/2zid, That if any Penalty {`ox'
                PerfOn or Persons, within this Colony, shall, after the Publication of this watchingin
                                                                                            the Night
                Act, watch with a Gun, on any uninclofed Land within two .Hun- neai-aRoad.
                died Yards Of any Road o1t Path, in the Night Time, whether the said    '
                Road is laid out by Law or not, or shall Hand or ftation him or them-
                felves upon or within two Hundred Yards of any Road as aforesaid,                                     x



                for shooting at Deer driven by Dogs, he or theyfo offending, shall, 011
                Conviéiion, forfeit and pay the Sum of Few Pound: for every such Of-
                fence; to be recovered by Action of Debt, or Prcientment of the
                Grand-Jury as aforesaid, and pay all Damages.

                     17. PNOV1DE.D ALWAYS, That the Iixth Seéiion of this "A& Shall Not toaffcel
                                                                                           I)IlJl{l7IJ', nor
                not be confirmed to afteét any Native I ndian; and that nothing in this Fjiw,       B4-rgen,
                Act fhall be confirmed to prevent the Inhabitants of lajéx, .Bergelz, Mar- Morris
                                                                                           Sqjix.
                                                                                                      or

                r i ; and Sz >x, from making, having -in their Houfes, or setting Traps
                of five .Pounds Weight or more for Bears, \Volves, Foxes, or any other
                wild Beasts, Deer only excepted.

                  18. AND BE IT FURTHER ENACTED by the Authority by%r¢zia', That Repeal of
                                                                                  FcrmerLaws.
                all former Laws made in this Colony for the Prefervation of Deer and
                other Game, and to prevent trefpalling with Guns, and regulating the
                Size of Traps, lllall be, and they are hereby repealed.

                                        C    H    A p.         DXLI.                                  'am




                An A C T declaring t/Je River Delaware a common Highway,
                        and for improving t/ve Navigation in tbefaid River.
                                                                      Patted Dec. 21, 1771;

                       HEREAS the improving the Navigation in Rivers is of great Preamble.
                W      Importance to Trade and Commerce ; AND \VHEREAS the River
                                                                                   Delaware

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                   ACTS 1\\D
                          L
                            T
                              LAWS,
   PASSED BY Tm-1 GENERAL COURT OF _11.1ss_lr'11t'sETTs:
     BEGUN ANI) IIEL1) AT IJOSTOA, IN THE CQUNTY OF
     SUFFOLK, ON \VEl)N'ESl)AY THE THIRTY-FIRST DAY OF
     MA y, A neo D OJIINI, 17813.



                         1786. -Cl1:1pto1° 1.
                              [May Session, oh. l.]
   AN AC T   FOR NATURALIZING           IZU B E R T   MORRIS AND JAMES Clzap. 1.
                               ALEXANDER.
      lVl¢erea.s Robert Morris anal James Alexziuder, res ielezz ls Preamble.
   in Slirewsbury, in the county of \Voreestel', /awe peli-
   éionezl [ire General Oourl, that I/reg mar/ be 91al~ural1lze0l,
   and be [hereby entitlerl lo all 1/16 rig/els, lz'ber(ies anal p r i v -
   ileges off/'ee c[tz'zen.v of I/ds Uonzvnoizwea/I/4 .-
      Be in e1racle(l by l/ze Senate and House of Represenla-
   lives. in (/eneral Urzurt assernlfled, and by I/16 at/zority
   of t/ze same, ThaN, the said Robert rllrirris nail James and Jrunés      Jfrnvis
                                                                             K'r;F,*€9¢
                                                                               .I C'¢¢.r.
   Alexander, upon their taking the Oaths of allegiance anzlvr natural-
                                                                      ized.
   :ind nbjurution, required by the Constitution of this Com-
   lnonwculth, before two Justices of the Peace, shall be
   deemed, adiudvetl and tukcn to he free citizens of this
   Connnonwenlth, to :ill intents, constructions :ind purposes,
   as if they the said Robert 2l[or7'z'.s' and James Alexander,
   had been inhabitants of' the territory now the Common-
    wealth :1florcs:iid, :it the time of making the present form
   of civil government.
       Anal it is .7'iLr(/1er enacted, That the Justices before ('fertiGcate to
    whom the same Oatlis shall be taken, shall return :1 cer- be rctiirned .
   tificate thereof, into the Secretary's office; and the Secre-
   tary is hereby directed, to record the sznne in a book to
   be kept for that purpose.                       June 5, 1786.

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                      1786. - CHAPTER 38.                                       87

      Arr. Siaztieth. The Field Oflieers of each and every Fieldotlleers      to
                                                                 appoint persons
   Regiment, shall appoint some suitable person, belonging to receive clues,
   to such Regiment, to receive such lines as may arise within &c.
   the same, for any breach of any of the foregoing articles ;
   and shall direct the same to be prope1'l.y applied to the
   relief of such sick, wounded or necessitous soldiers ns
   belong to such regiment; and such person shall account
   with such Officer for all fines received, and the application
   thereof.
      ART. Sz':1:t.y First. All crimes not capital, and all dis- Crlmesnot    men-
                                                                     tinned iu these
   orders and neglects, which Officers and Soldiers may be articles, may he
   guilty of, to the prejudice of good order and military dis- taken cogni-
                                                               zance of.
   cipline, the' not mentioned in the foregoing articles, are
   to be taken cognizance of by a general Ol' regimental
   Court martial, according to the nervure and degree of the
   opulence, and be punished :lt their discretion.
      ART. Sizxzty Seconal. \Vhenever any Oflicer or soldier Any    ofllwf or
                                                               soldier, accused
   shall he accused of a capital crime, Ol' of having used vio- of crime pun-
                                                                   isbahle by the
   lence Of' committed any otlCnce against the person or known laws of
   property of the good people of this or either of the United the land-
   States, such as is punishable by the known laws of the
   land, the eomrnauding officer and officers of every regi-
   ment, troop or party, to which the person or persons so
   accused shall belong, are hereby required, upon applica-
   tion duly made by or in behalf of the party or parties
  injured, to use his utmost endeavour to deliver over such To be delivered
  accused person or persons to the Civil Magistrate, and iinvaegit°trllI;cw"
  likewise to be aiding and assisting to the Officers of Jus-
  tice in apprehending and securing the person or persons
  so accused, iii order to bring them to trial. And if any
  commanding Officer of' Officers shall willfully neglect, Of'
  shall refuse upon the application aforesaid, to deliver over
  such accused person Ol' persons to the Civil Magistrate, Ol'
  to be aiding and assisting to the Officers of Justice in
  apprehending such person or persons, such o8icer Of' o8i-
  cers so oilending, shall be cashiered.                October 24, 1786.

                      1786. - ()lla1»te1° 38.
                          [September Session, ch. 8,]
  AN ACT TO PREVENT ROUTS, RIOTS, AND TUMULTUOUS ASSEM-
          BLIES, AND EVIL CONSEQUENCES THEREOF.         C'/zap. 88.
    Whereas Hee provision already made by Law, for /As Preamble.
  preventing rolls, froM and tumultuous assemblies, and 6/ze
  evil cone/juences 6/¢erez% /Las been founfl insz             ciena5 .°



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                          Be it therefore en aclecl In/ 8/16 Senate and [louse of Rep-
                      resezzlalives, in General Court assembled, and by l/le au-
    l'rocI1amalion no thority of I/ze same, that from :my :Lftcr the publication of'
    be    made among this Act. it' any persons to the number of twelve, or
    rioters.
                      I]l()l'0, being armed with clubs, or other weapons; or if any
                      number of persons, consisting of thirty or lore, shall be
                         unlawfully, routously, riotously Ol' tulnultuously assen
                         bled, any Justice of the Peace, Sheriff or Deputy Sherill`
                         of' the County, or Constable of the Town, shall among the
                         rioters, or as near to them :is he can safely come, Com-
                         mand Silence. while P1'oc~lalnation is makiufr; and shall
                         openly make I'roel:unation, in these or the like words :
                                      CO)l)lON\\'E\L'IIII OF J[((08(lC]¢llS€l[N.
    Form,                   By virtue of' A11 Act of this Commonwealth, made :ind
                         passed in the year of OUR LORD, One thousand seven
                         hundred and eighty six, entitled, " An ACT for suppress-
                         inf* routs, riots, and tumultuous assemblies, and the evil
                         consequences thereof," I am directed to charge and coin-
                         mand, and I do aceordinotly charge and command, al l per -
                         sons, being here assembled, immediately to disperse them-
                         selves, and peaceably to depart to their habitations, Of' to
                         their lawful business, upon the pains indicted by the said
                         ACT.
                                    GOD Save the C()MMON\\'EAL'llII.
    If the persons
    assembled do
                            And if such persons, assembled as aforesaid, shall not
    not disperse,        disperse themselves within one hom' after proclamation
    ...-. officers cm-
    powered, 82-J.       made, Ol' attempted to he made, ns aforesaid, it shall he
                         lawful for every such officer to command sufficient aid,
                         and he shall seize such persons, who shall he had before a
                         Justice of the Peace ; and the aforesaid Justice of the
                         Peace, Sherill` or Deputy Sherill`, is hereby further empow-
                         ered, to require the aid of a sufficient number of' persons
                         in arms, if any of the persons assembled as aforesaid shall
                         appear armed: And if any such person or persons shall
                         he killed or wounded, by reason of' his Of' their resisting
                         the persons endeavoring to disperse or seize them, the
                         said Justice, Sherill`, Deputy Sheriff, Constable and their
                         assistants, shall be indelnniHed and held guiltless.
                            And b e i t .further Enaclecl, that if' any person, being
                         commanded by such Justice, Sherill`, Deputy Sheriii` or
                         Constable, as aforesaid. shall refuse Of' neglect- to atibrd
                         the assistance required, and shall be convicted thereof'
                         upon the oath of either of the said Officers, so command-

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   ing, Ol' other legal evidence, he shall forfeit and pay :1 sum Penalty  for re-
                                                                     fusing to assist
   not less than .f`01'{_/ shillings, nor exceeding let pouncls, to the Sheriff or
                                                                     other oikicer.
   be recovered by indictment, 01' presentment, before the
   Supreme Judicial Court, or :my Court of General Sessions
   of the Peace, according to the :1gg1':iv:1tioli of the Oflence ;
   to he paid into the Public Treasury, for the use of' the
  Coninionweulth.                                 I
     Azure Be 1st _fur/ter enc/eel, that :Lil persons, who for the Punishment          for
                                                                      lllllZI\\'flllly COKI-
  space of one hour after Proclamation made, or attempted tinning together
                                                                      ODE hlllll' after
  to be made, :is afol'esaid, shall unlawfully, routously, riot- proclamation
  ously and tumultuously continue to<>'ethe1', or shall will- made.
  fully let, of' hinder, any such (Hiiccr, who shall he known,
  or shall openly declare himself to he such, from making
  the said Proclaiiiation, shall t`orfcit all their lands, tene-
  ments, goods and ehattcls, to this Conmionwealtli, or such
  part thereof as shall he adjudged by the Justices, before
  whom such ()lilence shall he tried, to he applied towards
  the support of the Government of' this Commonwealth ;
  and shall he whipt thirty nine stripes on the naked back,
  :Lt the Public whipping-post, and seller imprisonment for
  a term not exccedin<r twelve months, nor less than six
  months ; and once every three months during' the said
  imprisonment, receive the same number of' stripes on the
   naked back, at the public whipping' post as aforesaid.
  And if any such person or persons, so riotously assembled,
  shall demolish Ol' pull down, or begin to demolish Of' pull
  down, any dwelling house, or other house, or parcel]
  thereof, any house, built for public uses; any barn, mill,
  malt house, store house, shop or ship, lie or they shall
  sulleI' the same pains and penalties, as are before prov(led
  in this Act.
     Prov izlezl alwczys, that where there shall appear any eir- l'rovir4o.
  eumstanees, to mitigate or alleviate any of the otlenees
  against this Act, in the judgment of the Court, hefbre
   which such oiienee shall he tried, it shall and may he law-
  ful, for the Justices of' such Court, to abate the whole of
  the punishment of whipping, or such part thereof, as they
  shall nudge proper; any thing in this Act, to the cont1':1ry
  notwithstanding.
     A nd bez`t _/"url/¢er enacted, that this Act shall he read, at ilgisezshhalllbe
  the Openinflt of every Court of General Sessions of the read..
  1)e:u~e, he the Clerk of the s'1i(l Court, and at the anniver-
  sary lneetiiw of' each town, within this Commonwealth, by
  the town Clerk thereof, in illcwc/4 or April, annually :

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     90                                   1786. - CHAPTER 39.
                       And no person shall be prosecuted. for any offence con-
                       tralry to this Act, unless prosecution he commenced within
                       twelve months atftel' the otlbnee oolnlnitted.
                                                                 October 28, 1786.


                                          1786.        Chapter 3').
                                              [September Session, oh. 9.]

     C/zap. 89. ANSPECIE
                   ACT, PROVIDING FOR TIIE MORE EASY PAYMENT OF THE
                          TAXES, ASSESSED PREVIOUS TO THE YEAR ONE
                  THOUSAND SEVEN HUNDRED AND EIGIITY-FOUR.
     Preamble.           Whereas it appears .from (I statement of t/£e Treasury,
                       T/tat t/zere 7'.s~ (6 considerable sum in s_pe1:z'e, (Tue on the out
                       slanflhu/ Taxes, assessed previous to the year one thousand
                       seven huIiclrezl and eir//z/.y ./Our : And whereas from tILe
                       great scarcity of cash, it is ea;perlz'ent, that some more easy
                       and convenient mode .Q/zoulfl be a1lopte<Z,.fOr the speedy com-
                       pleating the collections t/te reof, than the mode heretofore
                       pact ired .'
                      Be it therefore enacted, by the Senate and Ilouse of
                   Representatives, in General Court Assembled, and by au-
    Towns, &c.thnt I/writy of t he s ame, T h a t the inhabitants of the s e v e r a l
    are dcficleut,
    pcrmiltedto        Towns, Districts, :md other places, in this Common-
    pay the balances
    due.iu the spe. wealth. who are deficient in the payment of the said
    cies of urticles
    expressed.       Taxes, he, and they are hereby permitted to pay all the
                     balances due on the several specie Taxes which were
                     assessed previous to the year one thousand seven hun-
                       dred and eighty four, (includin0° the balances which
                  remained due on the Beef TaxeS) either in cash, or in the
                  several species of articles hereinafter expressed, in the
                  manner, at the several places, and the prices hereinafter
                  enumerated, and estahlishecl at each, -to wil :
    Articles re-     At a Store, or other convenient place, to he appointed
    ceived at the
    town of Boston. in the Town of Boston, the following articles, :lt the
                  respective prices annexed thereto viz.
                     Good merchantable Beef, :lt twenty shillings per hun-
                  dred.
                     Good harrelled Beef, well salted and packed, according
                  to Law, at two pounds eight 'shillings per barrel.
                     Good merchantable Pork, at four pence per pound.
                         Good barreled Pork, in barrels of two hundred and
                       twenty pounds each, well packed and salted, at three
                       pounds tiftcen shillings per barrel.

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                              LAWS
                                        OF THE

                           TERRITORY
                                        OF THE

              U N I T E D s TA T E s                              7




            NORTH-WEST      RIVER OHIO;  OF THE


       PASSED AT THE FIRST SESSION OF THE GENERAL ASSEMBLY, BEGUN AND HELD AT
            CINCINNATI, ON MGNDAY, THE SIXTEENTH DAY OF SEPTEMBER, A; D. ONE
            THOUSAND, SEVEN HUNDRED AND NINETY-NINE :


                                        ALSO,

        CERTAIN LAWS ENACTED BY THE GOVERNOR AND JUDGES OF THE TERRITORY, FROM
            THE COMMENCEMENT OF THE GovExnlvn8nT TO DECEMBER, ONE THOUSAND,
            SEVEN HUNDRED AND NINETY TWO I


                              WITH AN APPENDIX
        CDNTAINING RESOLUTIONS, THE ORDINANCE OF CONGRESS FOR THE GOVERNMENT OF
            THE TERRITORY, THE CONSTITUTIDN OF THE UNITED STATES, AND THE LAW
            RESPECTING FUGITIVES.


                                        VOL 1.

                                Published by Authority.


                                CINCINNATI,
                         FROM THE PRESS OF CARPENTER & FINDLAY,
                                PRINTERS TO THE TERRITORY,

                                         M DCCC.




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                              ACTS
                            PUBLISHED BY THE


                 GOVERNOR             AND   JUDGES
                                 OF THE

                           TERRITORY
                                 OF THE

                       UNITED STATES,
                NORTH-WEST OF THE RIVER OHIO,

        FROM THE COMMENCEMENT OF THE GOVERNMENT, TO DECEMBER,
              ONE THOUSAND, SEVEN HUNDRED AND NINETY-TWO.




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                                OATHS, 1788                               321

                                 ACTS, &C.
                                  CHAPTER I.
      A LAW respecting Oaths of Office, published by his excellency
          Arthur St. Clair, esquire, governor of the Territory of the
          United States, north-west of the river Ohio, and by the honor-
          able Samuel Holden Parsons, and James Mitchell Varnum,
           esquires, judges, at the city of Marietta, in the Territory afore-
           said, upon the second day of September, in the thirteenth year of
           the independence of the said United States, and of our Lord one
           thousand, seven hundred and eighty-eight.


      E   VERY person appointed to any civil office in the territory, and Every person
           commissioned by the governor, shall, previously to his entering 3931 iiazI9ider0
      upon the exercise of his office, take the following oath, viz. I, A B, to take oath,
      being appointed to the office of               do solemnly swear, that I
      will well and truly execute the duties of my said office, according to or
      the best of my skill and understanding, without fraud or partiality.
      So help me God.
         Any person appointed, as aforesaid, conscientiously scrupulous of affirmation,
      taking an oath, shall make the following affirmation, previously to
      entering upon the duties of his office, v i z. I, A B, being appointed to
      the office of              do solemnly, sincerely and truly declare and
      affirm, that I will well and truly execute the duties of my said office,
      according to the best of my skill and understanding, without fraud
      or partiality; and this I declare and affirm under the pains and penal-
      ties of perjury.
                                         [6]
         And that all oaths of office, or declarations and affirmations pre- before the
       scribed as aforesaid, shall be taken before the governor, or such person governor.
       or persons as shall by him be appointed and commissioned for that
       purpose, and certified upon the commission of the person taking the
       same. And in case of the absence of the governor, the said oath, or
       declaration and affirmation may be taken before, and certified by
       either of the judges of the territory.
                                                   An. ST. CLAIR,
                                                    SAML. H. PARSONS,
                                                    JAMES M. VARNUM.



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                     322       ILLINOIS HISTORICAL COLLECTIONS
                                                CHAPTER 11.
                     A LAW respecting Crimes and Punishments, published by his excel-
                         lency Arthur So. Clair, esquire, governor, and the honorable
                         Samuel Holden Parsons, and James Mitchell Varnum, esquires,
                          judges of the territory of the United States, north-west of the
                           river Ohio, at the city of Marietta, the sixth day of September,
                           in the thirteenth year of the independence of the United States,
                           and of our Lord, one thousand, seven hundred and eighty-eight.
                                                     Treason.

     What offences
     shall
                     I this territory, shall levy war against the United States, or against
                       F any person belonging to, residing in, or protected by the laws of

                     this territory, or shall knowingly and willfully aid or assist any enemies
                     at war against the United States, or this territory, by joining the
                     armies or fleets of such enemies, or by enlisting, persuading or pro-
                     curing others to join said fleets or armies, or by furnishing such
                     enemies with arms, or ammunition, or provisions, or any .other articles
                     for their aid or comfort, or by carrying on a treasonable and treach-
                     erous correspondence with them, or
                                                                                             \

                                                        [7]
     be deemed       shall form, or be any way concerned in forming any combination, plot
     treasonable.    or conspiracy for betraying the United States, or this territory, into
                     the hands or power of any foreign enemy, or shall give or attempt to
                     give or send any intelligence to any such enemy for said purpose, the
                     person or persons so offending shall be deemed guilty of treason, and,
                     upon conviction thereof, shall suffer the pains of death, and shall,
                     moreover, forfeit all his, her or their estate, real and personal, to this
                     territory.
                                                     Murder.
                        If any person or persons shall, with malice aforethought, kill or
     Murder.         slay another person, he, she, or they, so offending, shall be deemed
                     guilty of murder, and, upon conviction thereof, shall suffer the.pains
                     of death.
                                                Manslaughter.
                       If any person or persons shall willfully kill or slay another person,
    Manslaughter.    without malice aforethought, he, she, or they, so offending, shall be



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                   CRIMES AND PUNISHMENTS, 1788                            323

      deemed guilty of manslaughter, and, upon conviction thereof, shall
      be punished as at the common law hath heretofore been used and ac-
      customed. Provided nevertheless, That If any person in the just and
      necessary defence of his own life, or the life of any other person, shall
      kill or slay another person attempting to rob or murder in the field
      or highway, or to break into a dwelling house, if he cannot with safety
      to himself, otherwise take the felon or assailant, or bring him to jus-
      tice, he shall be holden guiltless.
                                     Burglary.
        If any person or persons shall, in the night season, break open and Burglary,
                                                                              what crimes
      enter any dwelling house, shop, store or vessel, in which any person or deemed,
      persons dwell or reside, with a view and intention of stealing and
      purloining therefrom, he, she or they, so offending, shall be deemed how punished;
      guilty of burglary, and,
                                         [8]
      upon conviction thereof, shall be whipped, not exceeding thirty-nine
      stripes, and find sureties for good behaviour for a term not exceeding
      three years; and upon default of sureties, shall be committed to gaol
      for a term not exceeding three years, or until sentence be performed.
         If the person or persons, so breaking and entering any dwelling- and fined.
      house, shop, store or vessel, as aforesaid, shall actually steal and pur-
      loin therefrom, he, she or they, so offending, upon conviction thereof,
      shall, moreover, be fined in treble the value of the articles stolen ; one
      third of such fine to be to the territory, and the other two thirds to
      the party injured.
         If the person or persons so breaking and entering any dwelling- Forfeiture
      house, shop, store or vessel as aforesaid, shall commit, or attempt to ,g PkiIirg is
      commit any personal abuse, force or violence, or shall be so armed with houses, &c.
      any dangerous weapon or weapons as clearly to indicate a violent
      intention, he, she or they, so offending, upon conviction thereof, shall,
      moreover, forfeit all his, her or their estate, real and personal, to this
      territory, out of which, the party injured shall be recompenced as
      aforesaid, and the offender shall also be committed to any gaol in
      the territory for a term not exceeding forty years.
         And if the death of any innocent person should ensue from the What cases
                                                                                 deemed wilful
      breaking and entering any dwelling house, shop, store or vessel, as murder.



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                     324      ILLINOIS HISTORICAL COLLECTIONS

                     aforesaid, in any of the instances aforesaid, the person or persons so
                     breaking and entering shall be deemed guilty of willful murder. And
                     all persons aiding and assisting in breaking and entering any dwelling
                     house, shop, store or vessel as aforesaid, or in any of the crimes con-
                     sequent thereupon, as before pointed out, shall be deemed principals.
     What crimes                                    Robbery.
     deemed
     rola-              If any person or persons shall unlawfully and forceably take from
                     the person of another in the
                                                         [9]
     laerry, and     field or highway, any money, goods or chattels, he, she or they so
     how punished.   offending, shall be deemed guilty of robbery, and upon conviction
                     thereof, shall suffer as in the first instance of burglary.
                        Whoever shall commit such robbery with personal abuse or vio-
                     lence, or be armed, at the time with any dangerous weapon or
                     weapons, so as clearly to indicate an intention of violence, he, she or
     Robbery,        they, so offending, upon conviction thereof, shall moreover suffer as
     how punished.
                     in the second instance of burglary. And in case any person or
                     persons robbing or attempting to rob, as aforesaid, shall kill or slay
                     any person or persons defending him, her or themselves, or others, or
                     his, her or their property against such robber or robbers, or person or
                     persons, attempting to rob, or in pursuing and endeavoring to
                     apprehend and secure such person or persons so robbing or attempting
                     to rob, he, she or they, so offending, shall be deemed guilty of wilful
                     murder. And all aiders and abettors in any robbery as aforesaid,
                     and in any of the crimes consequent thereupon, as before pointed out,
                     shall be deemed principals.
                                                         AR. ST. CLAIR,
                                                        SAML. H. PARSONS,
                                                          JAMES M. VARNUM.
                                        Riots and unlawful Assemblies.
     Fines 0l'l        If three or more persons shall assemble together with intention to
     unlawful        do any unlawful act, with force and violence, against the person or
     assemblies
     &c.             property of another, or to do any other unlawful act, against the
                     peace and to the terror of the people; or, being lawfully assembled,
                     shall agree with each other to do any unlawful act as aforesaid, and
                     shall make any movement or preparation therefor, the persons so


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                                          LAWS
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                                                          QF ms.




              STATE OF NEW-JERSEY.
                                     1
                  a




I                                                                                                         .


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             UNDER THE AUTHORITY OF THE LEGISLATURE.



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                      a   ..L.ll_l       LLLLI                                         l




                      o                       TRENTON r »
                  yR1I11°1p, FOR T_l'lE STATE, 8¥ JOSEPH JUSTICE.

                          4.
                                                          1821.                             .>

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              l                                   s             31           Digitized by   Google
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                                                                                                         J




                                                                                                     I

                                 LAWS OF NEW-JERSEY.                                           478   .=
                                                                                                     1 .



        the money therein directed to be made, within ninety days after          1799.
        receiving such warrant, he shall, for every offence, forfeit and
        pay one hundred dollars, to be recovered, with costs, by action he shall not                 L
    I I of debt, by the treasurer, or the county or township collector, as execute the
                                                                             warrant agree-
        the case may require, for the use of the state, and shall also be ably to lew.
      amerced by the court of common pleas of the county, to the
      amount of the sum in the said warrant mentioned, with interest
      and costs; which amercement shall have the force and effect of
      a judgment, whereon execution shall instantly, and without any
      ftrnher proceedings, be issued against the goods and chattels,
      lands, tenements, hereditaments and read estate of the sheriff so
      amerced.
         89. Jind be it enacted, That if the sheri8` shall not execute so i.i! 11
      the writloi` execution agreeably to this act, or shall not pay the to 8. proc°::d~
      money therein directed to be made, within ninety days after re- ed against, if .
.     eeiving such execution, he shall, for every offence, forfeit and he shall not
                                                                            execute the
v     P11! 008 hundred dollars, to be recovered, with costs, by action writ of exeetv
      of debt, by the treasurer, or the county or township collector, as son ggreeahiy
!
f
       the case may require, for the use of the state; and shall also be tula.
      amerced by the court, out of which such execution issued, to the
      amount of the sum in the said execution mentioned, with inte-
      rest and costs; which amercement shall have the force and effect
      of a judgment, whereon execution shall instantly, and without
      any further proceedings, be issued against the goods and chat-
      tels, lands, tenements, hereditaments and real estate of' the sheriff
      so amerced.
         40..find be it enacted, That every act and every clause of any I.`0lll€|' aas
      act within the purview of' this act, be, and they are hereby re- repealed, but
      pealed; but such repeal shall not extend to or aBject any assess- suchrepedl
                               ..                        .            .     not to affect
      meet, tax, penalty, suit, Judgment, warrant of distress, or wnt of antecedent
      execution, made, arising, commenced, entered, or issued under taxes, judg-
                                                                            mental, war-
      any act or clause hereby repealed; but that the same shall be rants        and exe-
      collected, prosecuted, enforced and proceeded upon, in the like cutions.
      manner as if this act had not been made.
                See the act designating taxable property, March 9, 1801 .

                                                   n




       AN ACT to describe, apprehend and punish disorderly persons. nr. 410.
                                                 Passed the 10th of June, 1799.

      »»i~.33-3»4~.¢¢n,§39=»= 0334 and General .8.ne1nbly of Who shall n¢
                                           by the authority of the me, ;?£.'2M;%
      That all paupers, who shall unlawfully return to the city or town-
      ship, from which they were legally removed, without a certificate sons.
      Bom the city or township to which they belong, or who shall
      leave their places of legal settlement; and all persons, who shall
      go about from door to door, or place themselves in streets, high-
      ways or pass es, to beg, crave charity, or collect alms, or who
      shall wander imroad and lodge in taverns, inns, beer-houses, out-
      houses, houses of entertainment, market-houses, barns or other
                          8n
                                                                                  "   •
                                                       32          DDIgitized by G O O D j e
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      WE                            LAWS OF NEW-JERSEY.

            11s9.`       places, or in the open air, and not give a goodaccount of tbeln-
        I                leives, or who shall wander abroad, and beg or solicit .charity,
                         under pretence of being or having been soldiers, manners, or
                         seafaring men, or of loss by fire, or other casualty, or of loss bY
                         the Indians, or by war, or other pretence or thing; md all per-
                         sons who shall leave, or threaten to leave tl;eir families to be
                         maintained by the city, township or county, or to become charge-
                         able thereto, or who, not having suliicient property or means for
                          their subsistence or support, shall live idle, or not engage in some
                         honest employment, or not provide for themselves or families ;
                         and all persons who shall use, or pretend to use, or have any skill
                         in physiognomy, palmistry, or like crafty science, or who shall
            I            pretend to tell destinies or fortunes; and all runaway servants or
                          slaves, and all vagrants or vagabonds, common drunkards, com-
                          mon night-walkers, and common prostitutes, shall be deemed
                          and adjudged to be disorderly.persons.
       rtmim- de-           2. And whereas divers ill disposed persons are l'requently_ap-
       3-4:3° of         prehended, having upon them implements for house-breaking,
        'so     e r w- o r o f f e ns ive we   ons, or are found in or upon houses, ware-
       sons.             houses, stables, lim., or out-houses, areas of houses, coach-
                         houses, smoke-houses, enclosed yards, or gardens belonging to
                         houses, with intent to commit theft, misdemeanors or other of-
                         fences; and although their evil purposes are thereby manifested,
                         the power of the justices of the peace to demand of them sure-
                         ties for their good behavior hath not been of sufficient eHlect to
                            event them from carrying their evil pur uses Into execution;
                         %e it further enacted, That if any person shall be apprehended,
                         having upon him or ber any picklock, key, crow, jack, bit, or
                       other implement, with an intent to break and enter into any
                       dwelling-house, ware-house, stable, barn, coach-house, smoke-
                       house or out-house; or shall have u D him or her an pistol,
                       hanger, cutlass, bludgeon, or other o£)nsive weapon, will intent
                       to assault any person; or shall be found in or upon any dwel-
                       ling-house, ware-house, stable, barn, coach-house, smoke-house
                       or out-house, or in any enclosed yard or garden, or area belong
                       ing to any house, with an intent to steal any goods or chatte ,
                        tbeu he or she shall be deemed and adjudged to be a disorderly
                       person.
       Disorderly
                          8..and be it enacted, That it shall be the duty of every con-
         rsonl m.y      stable, god
                                 . lawful for any other person, to apprehend, without
       EZ apprehend- warrant or process, any disorderly person of the description
       ed without I.
       warrant, and, aforesaid, and to take him or her before any justice of the peace
       on conviction, of the county, where apprehended; and it shall be the duty of
       committed m the said justice to commit such disorderly erson, when convidt-
       the work-
       house.
                        ed before him, by the confession of the offender, or by the ouch
                        or atlirmation of one or more witness or witnesses, to the work-
                        house of the city, town or county, there lo be kept at hard labor
                        for any time not exceeding tbree calendar months.                  `
       Justices to is-     4. Jind be it enacted, That it shall be the duty of every justice
       me process         of the peace, of the proper county, to issue, on information, or
       .gainst disor-
                          hiaown view, his warrant or process to apprehend any disorderly
       -derly persons.
                          person, within the intent and meaning of this act.            .


                                                  33          DDIgitizedby'Goo8 je
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                                                     7                                            1887.
                                                                                             --     l D l -.
            Treasurer of the Slate, to deposit in the Bunk of the Stale and its 'Freamrnr Lu
            several branches, all that portion of the public revenue of the United '!suPpl' "'§_
            States, which he has received or which ho may hereafter receive, ns emu In the
            the p)url.ion of Alabama, in the following proportion: Ono fifth in ggkged.
            the ank of (he Stale at Tuscaloosa, one fifth in the Branch Bank nt
            Montgomery, one fifth in the Branch Bank at Mobile, one fifth in
            the Branch Bank at Deratur, am one Gflh in the Brunch Bank at
            Huntavillag taking therefor certificates of deposits, and all laws or
            parts of laws, eontravcninglhe revisions of' this act, be and the some
            are hereby repealed: Pro uidecl: That the amount of the surplus rev-
            anus already received and which may lierenflcr be received, shall be
            deposited in said Bank and its Branches, in the above and foregoing
            proportions, on or before the first day of' May next.
                                                      Approved June 30, 1887.
                                           --~aoa---
            No. 11.1                      AN ACT
                                   To lupprul the use of Bowls Knives.
               Section I. Be it enacted by the Senate and House o_/`Represen-
             lalives q/' Me Slain Q/` Jlabama in General .8.s~scmbZy convened,
            That if an) person carrying nny knife or weapon, known us Bowie Penalty for
            Knives or Arkansnw Tooth-picks, or either or any knife or weapon ';,';,§,'",§M.
            that shall in form, shape or size, rescmhle a Bowie Knife or Ar-
            lcansow Tooth~piclc, on a sudden rencounler, shall cut or stab anoth-
            er with such knife, by reason of which he dies, it shall be ncljudecl
            murder, and the offender shall snuffer the same as if the killing 18d
            been by malice nforethoughl.
               Sec. 2. #nd be ilfurlher enacted, That for every such weapon, l Fenrlu
                                                                                   II rell~
            sold or given, or otherwise disposed of in this State. the person selling, ,;'5Wg\"°
                                                                                              lo by
            giving or disposing of the same, shall pay a tax of one hundred dol- Kund-
             ars, to be paid into the county Treasury; and ill any person so selling,
             iving Of' disposing of' such weapon, shall fail lo give in the same in
              is list of tnxnblo properly, he shall be subject to the pains :md pou-
            allies of perjury.                          Approved Juno so, 1637.
                                               _.llql§¢l»¢..
            [No. 19'                            AN ACT
                     o solar o the prison bounds in tim different counties in this Slate:
              Section 1. et in enacted by I/ze Senate and House q/ Represen-
            tatives of the Slate of Alabama in General Assembly convened,
            That the several sections of an act passed in the year 1824, requiring
            the Judge of the county court and commissioners of roads and rov-
             onuo, to mark and lay out the bounds of prisoners, bo Ami the same Prison bounds
            it hereby repealed; and that from mad after the passage of this act, enlarged.
            the bounds of the different counties shall bo the limits within which
            prisoners confined for debt shall be restricted, on entering intn bond,
            as now required by law, to keep within the prison bounds; and
            hereafter the plnintilfs in suits shall not be compelled to pay the Sus.
            tenance and support of prisoners who take the benefit of the bounds.
                                                         Approved June so, 1887.
                                                  *~\OQ8*°~
            £No. 13.]r                             AN ACT                    .
             or the n url' of the purchuerl of' the Sixteenth Ssotlon, Township four, Runge IM
                           Walt, in the county ollLnwrence and.l'or other purposes.
              Section I. Be in enacted by the Senate and House oflfcpresen-
            taiivec q/'the Stale of ./Alabama in General Assembly convened,
            That the President and Directors of the Branch of the Bank of the




                                                                               34
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                 90                      DEADLY WBAPONS»


                                      DEADLY WEAPONS.

                 AN ACT to guard and protect the citizens of this State,
                    against the tlnWarrantable and too prevalent use of deadly
                    weapons.
                    SECTION 1. .Be it mmcleil by ha Senale am House of Rc-
                 prcscnlulircsq/` (he Slalom of Gcmyin, in General Axsurnbly m l ,
                 and it is Acrcby euuclczl by [he uulhorily Quill/Ii: same, That from
                 and after the passage of this no, it shall not be lawful for any
                 merchant, or render of' wares or mcrclm1\dize in this State, or
                 ally other person or persons whatsoever, to sell, or eller to sell,
                 or to keep, or have about their person or elsewhere, any of the
                 hereinafter described weapons, to wit: Bowie, nr any other
                 kind of' knives, manalixctured and sold for the purpose of wear-
                 ing, Of' carrying the same as arms of' o[li~nce or defence, pis-
                 tols, dirks, sword canes, spears, &c., shall also be contemplated
                 in this act, szwc such pistols as arc known and used, as horse-
                 1nan's pistols, &c.
                   SEC. 2. /Lu! be it fizrl/ter cwnclcal fry lhc authority aforesaid,
                 That any person or persons within the limits of this State, vio-
                 lating the provisions of this act, except as lzerealier excepted,
                 shall, jin' each and every such offence, he deemed guilty of n
                 high misdemeanor, and upon trial and conviction thcreol, shall
                 be Gned, in a sum not exceeding five hundred dollars for the
                 first ollience, nor less than one lumberer: dollars at the direction
                 of' the Court; and upon n second conviction, and every after
                 conviction of a like ollbncc, in n sum no-' to cvceed one thou-
                 sand dollars, nor less than five hundred dollars, at the discre-
                 tion of the Court.                             t
                   Sac. 8. Am! be it ./in-lhcr cnncfcfl Ly
                                                        1 loc aulhnrily rIforcmiul,
                                                                         .
                 That it shall he the duty of all civil olliccrs, lo he vigilent in
                 carrying* the provisions of this act into litll eflbcl, :is well also as
                 Grand Jurors, to make presentments of each and every ullbncc
                 under this act, which shall come under their ltnouietlge.
                   SEC. 4. Aurl be iljilrlhcr cmzrltvl by I/IC unllmri(y aforesaid,
                 That all lines and litrlCitures arising under this act, siltlll be
                 paid into the county Treasury, to he nppropriatetl lu county
                 purposes: 1'rnwl¢lcrl, rtercrlhvlvss, that the provisions of' this
                 act slmll not extctnl to Sherillk, Deputy Sheritils, Marshals,
                 Constables, Overseers or Pznrols, in actual discharge of' their
                 respective duties, but not otherwise: l'l'rn'i4l¢'1l, ulan, that no
                 person Of' persons, shall be found guilty of violating the before
                 recited act, who shall openly wear, externally, Bowie Knives,
                 Dirks, Tooth Picks, Spears, and which shall he exposed
                 plainly to view: Am] provided, ncvcrlhclcss, that the provis-
                 ions of this act shall not extend to prevent renders, or any otit-




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                                                 . DEEDS.                            91
                    or persons who now own and have for sale, any of (he aforesaid
                    weapons, before the Grst day of March next.
                       Sec. 5. Am! be itjhrlhcr enacted by lhc authority aforesaid,
                    That all laws find parts of laws militating against this act, be,
                    and the some arc, hereby repculcd.
                                          JOSEPH DAY,
                                       Speaker of the House of Representatives,
                                          ROBERT M. ECHOLS,
                                                   President of the Senate.
                       Assented to, 25th December, IBSEN.
                                           GEORGE R. GILMER, Governor.


                                                                                 \
                                                 DEEDS.
                    AN ACT to admit certain Deeds to be recorded and read in
                     evidence; and also, to prescribe the clllcct of certain other
                      Deeds.

           :-
                       Soc'rlon 1. Be it cnacicfl by the Senalc url House of Rc-
                    prescnlalivcsql'llzc Sla la of Georgia, in General Assembl.y_mct,
                    mul it is /art-by emzclcrl by fhc azdlzorily of the same, That
                    from and after the passing of this uct, all Deeds for lands which
                    may have been recorded upon the usual proof of execution, but
                    not recorded within the time prescribed by the laws of this
                    State, shall he atlmittcd in evidence, without Lin-ther proof;
                    :md when the originals are lost or destroyed, and that being
                    made jiidivinlly known to the Court, copies of the SFIITIC may be
                    introducer and read in evidence, on any trial before any Court
                    of law or equity, in this State.
                        Sue. 2. Afnlbe it jizrlher cnnelczl by lhc aulhori/.y aforesaid,
                    That all Deeds executed, aceortling to the laws of this State,
                    but not yet recorded, may nevertheless be recorded within
                     twelve months from the passage of' this act, upon the usual
                    proof of' their execution ; anti when so recorded, the some
                     or copies thereof, when the originals :ure shown to be lost or de-
                     stroyed, may be read in evidence without further proof
                        Sec. 3. .jlml be in. /Izrlhcr cnadcrl by fha authority n./brcsaid,
                     That all Deeds conveying lands hereafter executed upon being'
                     attested or proved in the manner required by the laws of this
                     State, shall be admitted to record, at any time, and after being
                     recorded, shall be received in evidence in any Court of Law
                     or Equity, without further proof of the execution thereoli
                        SEG. 4. Aml be if .lilrlher enacted ZW the authority ajbrcsairl,
                     That in all cases where two or more Deeds shall hereafter be
                     executed by the same person or persons, conveying the same
                |




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                                 to perform the duties enjoined on them by' the second sec-
                                 lion of an uct, passed ut Nashville, the 1911\ of Febru-
                                 ary, 1S8G, chapter XLVIII, that it shall be the duly of
                                 the several county surveyors m do and perform said services
                                 within their respective counties, and that said county s\ir~
                0
                                 veyors shall he allowed mile same fees, and be snliiert w the
                                 same penalties that said principal surveyors were entitled to,
                                 and liable for, in proeessionixig said lands, and that said
                                 county surveyors shall return II plat and cati licatc of each
                                 tract so processional by them lo the entry taker of' the
                                 county, who shnll lin-lliwith record the same in his survey
                                 bonk, for which services the said entry lalcer shall be ulloweil
                                 the same fees as for other services of the same kind, and
            l
                                 that said several tracts of land shall he liable to nuaclnnent
                                 and final judgment for all expenses in prceessinning and
                                 recording the same.
        u
                                                                   .max co:I<E,
                                                        »'3pcakcr oj lac House of Rcpresenmliuca.
                                                            'l` ERRY H. CA i-I A L1
                                                                  Speaker of the Senate.
                                   Passed January lslh, 1835.




                          I                        CHAPTER CXYXVH.
                                Au As! to suppress the sale and Ilan nl' Pnwic Knives and Arkansas Tooth
                                                           Picks in this iflntu.

                                      Smear too I. Be it cnuclcrl by the General ./lssrmbly of
                    ltnlvunarInlcthe Stale of Tcmwsscc, That if any merchant, pedlar, jew-
                    vnltl or given eller, eonlccuoner, grocery keeper, or other person or per-
                    away           sons whatsoever, s'mll sell or oflbr lo sell, or shall bring
                                   into this Stale, for the purpose of selling, giving or dispos-
                                   mg of in any other manner whatsoever, any Bowie knife or
                                   knives, Of' Arkansas tooth picks, or any knife or weapon
                                    that shall in form, shape nr size resemble a Bowie knife Of'
                                   any Arkansnw tooth pick, such merchant, pedlar, jeweler,
                                   eonfeetioner, grocery keeper, or other'person or persons
                                   for every such Bowie knife or knives, or weapon that shall
                                   in form, shape or size rescmhle a Bowie knife or Arkansas
                                    tooth pick so sold, given or otherwise disposed of, or otler-
                                   cd to be sold, giwn or otherwise disposed of, shall be guilty
                                   of a misdemeanor, and tampon conviction thereof upon indict-
                                   ment or presentment, shall he fined in a SlllTI not less than
                                   one hundred dollars, nor more than Gve hundred dollars, and
                                   shall bo imprisoned in the county jail for a period not less
                                    than ODG mouth nor more than six months.
                          I            Sec. 2. That it' any person shall near any Bowie knife,
                    Ne! to Bo worn
                                    Arkansas tooth pick, or other, knife or weapon that shall in

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           fort, shape Ur size resemble n Bowie knife or Arkansas
           tooth \tick under his clothes, or keep the same concealed
                  i
           about his person, sneed person shall be guilty of a misdemea-
           nor, and upon ennrit-tion thereof shall he lined in a sum
           not less than Iwo hundred dollars, nor more than live hun-
           died dollars, :md lull he imlu-'snncd in the cmmtv jail not
            less than three months and not more than six mouths.
               Size. 3. That. it' :my person shall tnalieitmsly draw "¥l'1H8tIvof\.lu'A _
            attempt to thaw any Bmvtc lrnle, At-ltanstts tooth pick, Inga :Una
            or any knife Ur weapon than shall ill Lima, shape or size re-
           semble n liawie knife or Arkansas tooth pick, from under
           his clothes or l`ront any place nl' crwccalmcut about his per-
           son, for the purpose of sticking, cutting, owing, of' Intimi-
            dating any other person, such person so tlmwing or attempt-
           ingto draw, shall he guilty of' n leluay, and upon convic-
            tion thereof shall ho eonlined in tht: jail am pvnitemiary
           house of' this State Igor a period of time not less than tltrcn
           years, NUI' more
                          1.1
                               than
                                  . . live years.
                                                .          .           _.
               Sec. 4. .l Ill'LL
                                 II  :ill\'              . I -':un5\» I\ mfr: or wea- l'».'ml4'furu»ln;
                                         * ll1'vsfm c~'rrvl.r'
           pon known as :t l}r.\rie lt\nl'e, .-\rkansas tooth pick, or any knife
          knife or weapon that shall in lorut., shura or size wsemhle a
           Bowie knife, on a stultlvn rent-unntvr, shall ent Ur stab ano-
           ther person with such ltnilif or \\'u'llnm, wheller death en-
          sues or it: l, such 1lt'l'S('lil so :<1al»!ti1:;; Ur tuning slm'l be
          guilty of n l~!lnm', :url upon 1-nnrit-:iuu tlwri-nllslt:lll he cott-
          liuud in the jail ml l1unm:n1i=u°\'     4 Ivy:a=r: of this Stale, Igor ll
          period uI time nut less limn three .\'t'ttrs, um- mom than (if
          len years.
               Sr c. 5. That this :M shall he ht li'rcc li'mu nm ttl'tor"*'l'"I*°'="""
          the Gist dew of' l.im-eh next. Aml it shall he the duty of' Thu
          several jtulves
                       5     of the circuit courts in thi-4 Stale to give the
          same in eltatrge in the gruml jury e\'er_\' to-rtu of the respec-
          tivo courts, anal any civil nllievt' who slmll arrest :md prose-
          cute to C0\l\'il'\lOl\ :ml pttuislntuutl any person guilty ul' any
          of the ulllem~:\s cmunersttetl in this ant, slmll hu entitled to
          the sum of' Iiliy dollars, to lit! lttxtul in the hill ul' costs, and
          the tuwruey it-tteratl shall he eutitlerl to u tax lee of' twenty -
          dollars in each cztsc, when a dclinulatm stull be convicted,
          Untl no pro~tcctuor reqttiretl Oll :tn_\° presmtlmettl or indict-
          m~ nt for nay of the ollituces ctttttttermetl in this ~t:t.
                                                JOHN cucxrz,
                                  Speakeroj' the House of Representatives.
                                               1'tmRy H. CAHAL,
                                                         Speaker of the Senate.
            Passed January 2'/1h, 1838.
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                                           SEVENTY-SECOND SESSION.                               403
                       York, which is or may be designated by the common council of
                       the city of New-York, by resolution or ordinance as the lamp
                       district, to be collected according to law and applied towards the
                       expense of lighting such parts of' the city Inst mentioned ; and
                       also the further sum of one hundred and eighty-seven thousand Dcflclencyln
                       OIIO lxumlred fund- seventy-five dollars, by tux on the estates real 888~ go, _
                       and personal of the frceliolders and inhabitants of and situated ass. s '
                       within the said city and county, to be collected according to law
                       and applied towards defraying the deficiency in taxation in said
                       city and county for the year one thousand eight hundred and for-
                       ty-eight.
                          § 2. This net shall take effect immediately.
                       L__.___l.... l, .    I |-   .,...      I                     n--.-   .|


                                                           Chap. 277.
                       AN ACT author'1's1'ng the board of su]>0rv1'sors of Columbia coun-
                                         ly to purchuse a piece of land.
                                                                   Passed April 7, 1840.
                           We People of the State of law-Ybrk, represented in Senate
                       and Assembly, do enact as follows

                          § 1. The board of' supervisors of the county of Columbia are A '°{.2§,§"°
                       hereby authorised and empowered to purchase and hold as a port pure
                       of the county poor-house farm, in lot of land containing some tour
                       or five acres lying adjacent to said form, and flow owned by the
                       heirs at low of John Macy, deceased, any law to the contrary
                       notwithstanding.
                          §2. This act shall take clllect immediately.
                       Lu                                                                   I


                                                       011813. 278.
                       AN ACT to prevent the 1namg"aeture, use and sale of slung shot.
                                                                   Passed April 7, 1849.
                          The Pro Iml o the State o New- York re
                                                              v :resented
                                                                 I        in Senate
                       and Assembly, do enact as follows :
                          § 1. Any person who shall, within this state, hereafter mmm- Punishment
                       fracture or cause to be lnnnuf'uetu1'ed, or sell, or expose, or1\eei)",'';}?g§
                       for sale or gift, or part with any instrument or weapon of' the alungshutz
                       kind usually known as slung shot, or of any similar kinds shall be
                       liable to indictment for misclelnennor, and on conviction, shall be
                       punished by fine of' not less than two hundred and fifty, nor over
                       give hundred dollars, or by imprisonment in n county jail for not
                       less than six months, nor over two years.




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                        404                          LAWS OF NEW-YORK.
                    »   indictment       §2. Any person who shall, within this state, hereafter carry,
                        for felony.   or be found in the possession so or use, or attempt to use, as
                                      against any other person, any instrument or weapon of' the kind
                                      usually known ns slung shot or of any similar kind, shall he liable
                                      to indictment for felony, and on conviction shall be punished by
                                      imprisonment in a stnte's prison for u term not less than one, nor
                                      more than live years.
                                                                                                       Bail


                                                             Chap. 279.
                                      AN ACT making an appropr1'rltz'on to Ike Bufizlo Hospital of
                                                       the sisters of charity.
                                                  PaSsed April 7, 18-19, " three-fifltl\s being present."
                                        The People of the State of Mzv- York, represented in Senate
                                     and Assembly, do enact as follows:
                        Apprnprlnw
                        II r L c § 1. The sum of Onine thousand        . dollars is. hereby appropriated
                           noSO to the Bu1Yalo llospxtul of' the sxstcrs of cllurlty, to be paid out of
                                     the general fund ns follows: five thousand dollars thereof on the
                                     first day of July, in the year one thousand eight hundred and
                                     forty nine, and four thousand dollars thereof' Oll the first day of
                                     March, in the year one thousand eight hundred and fifty.
                        Money to ho     § 2. The treasurer shall pay oh the warrant. of the comptroller
                        paid.
                                     the sums above specified in the manner and for the purpose provi-
                                     ded by this act, to the officers of the said, " Butlitlo Hospital of
                                     the sisters of charity" to be expended and used as liereiuafler
                                     provided, and said officers shall make a report under oath to the
                                     legislature showing the expenditure thereof.
                        How to be        § 3. The above mentioned sum of' five thousand dollars shall be
                        applied.
                                     applied and expended by the said " The Buffalo Hospital of' the
                                     sisters of charity," in finishing, enlarging, repairing and furnish-
                                     ing the buildings and making the necessary and proper erections
                                     for the use of the said "The Buffalo Hospital of' the sisters of
                                     charity."
                         psitdu0 hd0w § 4 . The residue of' said sum of nine thousand dollars hereby
                          o ease . appropviatcd shall be used and appropriated by the said

                                     " Buffalo Hospital of' the sisters of charity," in supporting and sus-
                                      taining the Hospital institution established and conducted by such
                                     corporation.
                                         §5. This act shall take effect immediately.




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               'Z6                          PUBLIC ACTS.                       [A. D.
                 No. 36.-An ACT PROHIBITING THE MANUFACTURE, SALE
                                AND USE OF SLUNG SHOT.

                   It is hereby enacted by the General Assembly of the Slate of
                 }7e7'mont, as folléws .°
                   Sa c. 1 . Any person who shall, within this State, hereafter
                manufacture, or cause to be manufactured, or sell, expose or
                keep for sale or gift, or part with any instrument or weapon of
                the kind usually known as slung shot, or of any similar kinds,
               shall be deemed guilty of a misdemeanor, and be 'punished
               therefor by a fine, not exceeding five hundred dollars nor less
               than two hundred dollars, or by imprisonment in the county
                jail for a term not exceeding two years.                       \
                   Sec. 2. Any person .who shall, within this State, hereafter
                carry, or be found in the possession of, use or attempt to use,
                as against any 'other person, any instrument, or weapon, of the
                kind usually known as s ILing shot, or of any similar kinds, shall
                be deemed guilty of felony, and be punished therefor by im-
                prisonment in the State prison for a term not exceeding five
                years.                 »                            ,
                  SEC. 3.     This act shall take effect from its passage.
                     Approved, November 12th, 1849.                        '



                No. 37.- AN ACT FOR SURVEYING AND ASCERTAINING THE
                 LINE BETWEEN THE TOWNS OF PO\VNAL AND STAMFORD.

                   18 is hereby enaczfccl by the General Assembly of the State of
                Vermont, as follows :
                   SEC. 1. Nathan H. Bottom of Shaftsbury, Harmon Can-
                field of Arlington, and John S. Pettibone of Manchester, in the
                county of Bennington, are hereby appointed aconnnittee to sur-
                vey, make, and establish the line between the towns of Pownal
                and Stamford, in said county, agreeably to the charters of said
                towns: and they shall cause their doings to be recorded in the
                town clerk's office in each of' said towns, within sixty days af-
                ter they shall have completed their survey: and shall also pre-
                sent an account of their time and expenses, together with their
                claim for services, while employed in said service, to the se-
                lectmeu of the said towns of Pownal and Stamford, who are
                authorized to audit the same, draw an order for one half of the
                amount on the treasurer of the town of Pownal, and the other



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   true lines of such land or flats continued to said connnis-
   sioners' line : and provided, also, that so much of said Proriso.
    wharf as shall extend beyond the line of low-water mark,
   shall be built on piles, which piles shall not be nearer to
   each other than six feet in the direction of the stream, and
   eight feet iii a transverse direction, and that this grant shall
   in 110 wise impair the legal rights of any person. [Ap-
   proved by the Governor, April 15, 1850.]

               An Ac'r in relation to the carrying of Sining Shot.     Chap 191.
     BE in enacted by the Senate and Ilouse of Representa-
   tives, in General Court assembled, and by the authority of
   the same, as follows      :
      SECT. 1. Any person arrested upon the warrant of a Penally,  . . _line, or
   magistrate, issued against him for any alleged offence lMprI*'o|1mcm.
   against the laws of this Commonwealth, and any person
   committing any criminal offence against the laws of this
   Commonwealth, or any breach or disturbance of the public
   peace, who may, at the time of the commission of such
   offence, or breach or disturbance of the public peace, be
   arrested by any sheriil`, deputy sheriff, constable, Of' police
   officer, in this State, and who shall, at the time of such
   arrest, be armed with any dangerous weapon, of the kind
   usually called slung shot, shall be punished by a fine not
   exceeding fifty dollars, or imprisonment in the common
   jail or house of correction for a term not exceeding one
   year.
      SECT. 2. Ally person who shall, within this State, here- Fcnalty for
                                                                   nnanufaetllriarg
   after manufacture, or cause to be manufactured, or sell, or Sl    lngSllol,or
   expose for sale, any instrument or weapon of the kind llsll- ¢0\1"1"g.\1i0m to
   ally known as slung shot, shall be punished therefor by a be mantaclured.
   fine not less than fifty dollars, or by imprisonment in the
   common jail or house of correction, for a term not exceed-
   ing six months. [A_/Jproved by l/ac Governor, April 15, 1850.1

           A11 ACT to incorporate the Springfield Medical School.      C'/mp 195.
      BE it enacted by the Senate and [louse of Representa-
   lives, in General Court assembled, and by the auf/zorily of
   the same, as follows :
     Sneer. 1. William B. Calhoun, Reuben A. Chapman, Corporators.
   James M. Smith, their associates and successors, are hereby
   made a corporation, by the name of the Springfield Medi-
   cal School, to he established iii the town of Springfield,
   in the county of Hampden, with all the powers and privi- Powers and
   leges, and subject to all the duties, restrictions, and liabili- duties.
                                                                    R. S. oh. l!.
   ties, set forth in the forty-fourth chapter of the Revised
   Statutes.
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       KG                                    LAWS OF KENTUCKY.
                                                           i
           1856.          otherwise appropriated, which shall go into the common
             ..- ....--_.
                           fund of said Society, to be expended, together with its
                      |    other means, as it shall deem proper, in accomplishing the
                           object of this iustitutiml as hereiN act forth: Provided,
                           That ouch division of the State shall be entitled to its
                           equal proportion of such publications as may be made
                           by this Society for general distribution.      .
                              § 12. That the president end directors, any Iivé' of whom
          To make by-      shall form a quorum tor the transaction of business, may,
       laws, &e.
                           from time to time, make such by~1aws, rules, and regula-
                           tions (Br their Own government, and Igor the nnonngemcnt
                           of the aiIlaira of the Society, as they may doom expedient,
                           not contrary to the provisions of' this charter, or the by-
                           lows or regulations which the members may from time                    1'

                           to time prescribe at their annual meetings.
                              § 18; That it shall be the duty of the president and
          Report to be     directors to make a report of the proceedings and condi-
       maulu Lu Legls*
       lature.             tion of' the Society et each annual meeting of its mcm~
                           be's held as above stated, and also a report to the Legis~
                           lature at its biennial session, setting forth in full the man~
                           her in which its means have been employed, und the etatc
                           of its finances.                                             .
                             § 14. That in case of the death, resignation, or refusal
          Vnrnuclea to     to act of any oilier, the board of ollicwa ' shall have pow-
       be alma.
                           or to fill such vacancy, at a meeting only called For than
                           purpose, who shall act until the next annual election.
                             § 15. This uct shall take eilizct from its passage.
                                                                      Approved M arch IO, 1856.




                                                     CHAPTER was.
                                AN ACT to prevent the selling and using of certain weapons.
                              Be in enacted by I/ac General Assembly of the Crnnmonwcallh
                           of Kentucky:
                              § 1. That any person or persons who may hereafter be
        Buytnz or an.      found guilty of' vending, buying, selling, or dealing in the
       Hngcu lulu wow       weapons popularly known us cults, brass knuckles, slung-
       jlnllll lmluwhll.
                           shots, or any imitation or substitute therefor, shall lbrleit »
                           and prey the sum of twenty-live dollars for each and
                           every olileNse so eomrnitteil-one-llul1` thereof' to be up-
                           plied to the jury fund, the other to the prosecutor.
                              § 2. That should any person strike, heat, wound or
         Pcna\\fnr in.     bruise another, by using any of the above named wca~
       ing sue wea-        pens, he or they so offending 'shall forfeit and pay the sum
       Ivana.
                           of one hundred dollars to the party or person so struck,
                           wounded or bruised,which party shall have his action at law
                           in any Circuit Gourt of this Commonwealth ; and in default
   f                       of the payment thereof] said offender or offenders shall be
                                                                         g



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               imprisoned in the city or county jail until all costs and                       1858.
               damages are fully paid.
                  §3. Should any person be killed by the weapons afore-          Witsorheln
               said, Of' any one of' them, or in any other way except in kxundof any muon
                                                                                     by such
               aell'<loi'euae, the Wife, if iw have one, or heirs at law, ii' waaponl may
               ho has no wiiié, shall have an action against all such as hnvo       action u~
                                                                              gains! slayer.
               were in zmywiso Col1GG1'l'ic(l in such killing, and recover
               such damages as a. jury may deem right; and in default
               of' the payment of such damages, the defendant or de-
               fendanta may be imprisoned, as in other cases of' trespass
               to the person.
                  § 4. 'I'hi~x net shall be given in charge to the grand
               juries of this Cornxnonwealth.
                                                             Approved March 10, 1866.




                             I            CHAPTER 637.
                       AN ACT relating to thehiw Keeper of the Penitentiary.
                  Be it enacted by the General Assembly of tfzc Coimlwnwcallk
               of Kcntuc/cy:
                  § 1. That the Commissioners of' the Sinking Fund be
               and they are hereby authorized and directed, in their final                  toA p9.4"
                                                                                                  fig I !!
                                                                                                          °'
               settlement with Newton Craig, late Agent and Keeper of
               the Penitentiary, to allow the said Craig a f'urthor credit
               for the sum ni' two thousand six hundred and eighty~six
               dollars and sixty-four cents, being one third of' the net
               profits of :mid institution for the years 1844 and 1845 ;
               which sum is allowed to said Craig in iiill discharge of'
               all einixns, either in law or equity, which he, the said
               Craig, may have against the Commonwealth, growing out
               of his connection with the Penitentiary.
                 §2. This net to toke elfeet from its passage.
                                                             Approved March 10, 1856.




                                           GHAPTER Oss.
                AN ACT to Fepeul an net, approved 7 March, 1854, to regulate the uppolni-
                         ment of Superintendent of Western Lunatic Asylum.
                  Be it enacted bathe General Axxcmb1'_y of Z/ul Conwwnwcalth
               ql` Kentucky:
                 § 1. That an act, entitled, an act to regulate the ap-                        Hessian acts
               pointment of' Superintendent of the Western Lunatic                          185341 ea.
               Asylum it Hopkinsville, approved March '7tll, 1854, be
                and the same is hereby repealed.
                  § 2. That the provisions of article 3 of the Revised                      Rev. 8*l\*- mn.
                Statutes, entitled, " Lunatic Asylums," shall apply to and
                govern said a s ylum .
                   '                                         Approved March 10, 1856.
                                    7
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                                                         THE


                        REVI9ED
                            M   sTATUTES
                                                           OF THE




                                   STATE OF FLORIDA.


                                       :pam-AnF.x> usu~:n Axmmnwv co, AND ADOPTED BY,




                            THE LEGISLATURE OF THE STATE oF FLORIDA.




                                 w. A. BLOUN'l', 0. M. COOPER, L. C. MASSEY,
                                                      COMMISSIONERS.




                                                JACKSONVI I,1.I~:, FLA.:
                                         THE DACDSTA PRINTING AND l'\'\\l»l8\HNG nnvsn.,
                                                    CHAB. w. DACOBTA. TNOP'lL
                                                             1892.




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                            782            PART 5.]                LIBEL, DEADLY WEAPONS.                    [TITLE 2,

                                           the State and engages in a fight with another person, without
                                           the limits thereof, shall be punished by imprisonment not ex-
                                           ceeding six months, or by fine not exceeding five hundred dollars.




                                                                             ARTICLE 4.

                                                                      1,lnEI. ANI) l)El*IA)lA'l'lox.

                                              2418. Pimishment for libel.-Any person eonvietcd of the
                            lb.            publication of a libel shall be punished by imprisonment not ex-
                            Sub-chap. 7,   eeeding one year, or by line not exceeding one.tllousund dollars.
                            Leo. 15.
                                              Libel deHned.-Jones v. G reuley, 25 Flu., 029.

                                                2419. Defamation.-Whoever speaks of and concerning any
                            Chap. 8400. sec. woman, married or unlnurried, fl1lsely.und mnliciously, imputing
                            1,Jan. re. law. to her a want of chastlty,shall be pumshcd by nnprlsonmcnt not
                                           exceeding 0114: your, Ol' .by Hue not excelling five hundred
                                           dollars.
                                              2420. Threats to accuse another of crime.-Whoever, either
                            Chap. 1887, sub- verbally OI' by it written OI' printed communication, maliciously
                            chap. 8, see. 42,
                            Aug. 8, lens.     threatens to accuse another of any crime or oiience, Of' by such
                                           communication maliciously threatens an injury to the person or
                                           property of another, with intent thereby to extort money or any
                                           pecuniary advantage whatever, or with intent to compel the per-
                                           son so threatened or any other person to do any act against his
                                           will, shall be punished by imprisonment in the State prison not
                                           exceeding ten years.



                                                                             AR'1'I('LE 5.

                                                                            nl-:Au1.\' WEAPONS.

                                              2421. Carrying concealed weapons.-Whoever shall seuwtly
                            Chap. 8020. soc. carry arms of any kind on or about his person, or whoever shall
                            1. Feb. 12, 1885. have concealed on or about his person any murk, pistol or other
                                           weapon, except st common pocket knife, shall he punished by
                                           irnprisonulent not exceeding six months, or by line .not exceed-
                                           ing one hundred dollars.
                                              Partial conceahnent is u violaltioll.-Snthm v. Stand, 12 Flu., 135.

                                                 2422. Given in special charge to grand jury.--The circuit
                            lb., sec. 2.   judges shall charge the grand juries specially upon the crime of
                                           carrying concealed weapons, and the Static attorney shall receive
                                           II. lee of ten dollars br each conviction therefor.
                                            2423. Persons engaged in criminal offence having weapons.
                            0888- 10a7. sub- --Whoever, when lawfully arrested while committing a criminal
                                   7. sec. 10                           .                              .
                            Aug.. a, 1868. ' offence or a breach or disturbance of the public peace, IS armed
                                                                                                                    .



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                        CHAP. 4.]              DEADLY WEAPONS, ARSON.                                          733

                     or has on his person slung-shot, metallic knuckles, billies, fire-
                     arms or other dangerous weapon, shall be punished by imprison-
                     ment not exceeding one year and by fine not exceeding fifty dol-
                     lars.
                         2424. Oncer to take possession of arms.--The oHicer~mak-
                     ing any arrest under the preceding sections shall take possession :¢. L 'hup. 8620. see.
                                                                                              Feb. 12. 1886.
                     of any arms or weapons found upon the person arrested, and shall
                     retain the same until alter the trial of such person, and if he be
                     convicted, said arms or weapons shall be forfeited and the sherie
                     shall sell the same ut public sale anal account for and pay over
                      the proceeds thereof, as in the case of fines collected, hut if such
                     person be acquitted, the said arms or weapons shall be returned
                     to him.
                          2425. Manufacturing or selling slung'-shot.-Whoever mun- Clump. 1687, sub-
                      ufacturcs, 01' causes to be manufactured, or sells or exposes for uhup. T, see. II,
                      sale any instrument or weapon of the kind usually known us Aug. 8. 1868.
                      slung-shot, or metallic knuckles, shall be punished by imprison-
                      ment not exceeding six months, 01' hy line not exceeding one
                      hundred dollars.


                                                     CHAPTER Iv.
                                            ()l"l\'l€NCES AuAlns1' PROPERTY.

                            Almcl.le l.-.-\n=()II. Scctioms .............. 24"(}-2433
                                   2.-B1Irl.;Iur.\' and b\u°glx\rio\n4 im4tl'ulno.l\t.s. Sections 2434-2430
                                   3.-Lm°e1:1\y and receiving stolen goods. Sections . 2440-2453
                                   4.--Elnhczzlulnunt, reviving ulnbezzled property,
                                         frauululollt conwrsiolnn url likooHlencds. Soc-
                                         tionn.....,.............245-I-24484
                                            ...................
                                   5.-False l»n~tcl\ncs, frauds, vlxuuts, acts to injure and
                                         theliku. Svctinm-x ............. "-165-2475
                                   6.-Illegal disposition of pro»el~ty on wlli('l\ an-
                                         otluer lxusn claim. SvctioIxn .....                     2476-2478

                                           ...................
                                         sons...................
                                   7.--Forgery, cnlxntv\'Reitillg and like olfunccs. Sev-

                                   8.-Taking or using tclnpoml'ily the l»mpcrty of un-
                                                                                                 2479-2498

                                         otluer. Sections .............. 24§M},2504l
                                   sl.-()fii~l\uu4 concerning \vl'eoked or derelict prop-
                                         erty.Scctions.............. "501 -250.1
                                            ...................
                                  10.-lllegul removing and ilnqxrlllulillg animals. Scu-
                                         tious...........                                        2504, 2505
                                  ll.-Injury and empty to aminmls. Sections
                                  12.-Trespa\s.~4 aural injury to uunlty. Sections
                                  13.-Burning woods. Section ..........
                                                                                             .   25015-2519
                                                                                                 2514-2526
                                                                                                       2521*
                                  14.--injuring ml clcfucing huiklings, structures, lev-
                                         ees, mills, ilmns, hridgw4, ctr., url other nf-
                                         fences ¢,~r»l\ecl'llil\gprol»erty.     Sectiolls .... 2528-2543

                                                          .~\1{'l'1('I.l~: 1.

                                                               .\I£8l)N.
                            2426. Burning dwelling-house.-Whoover wilfully ml mu- Chap,  1€um
                                                                                  (-lmp. 4, see.enh-
                                                                                                 I.
                      liciously bums the dwelling-house o r any building wljoining Aug. 6. 1868.




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               GENERAL LAWS
                         OF THE




            TWELFTH LEGISLATURE

                           OF




       THE STATE OF TEXAS

                 FIRST SESSION-1811




                      BY AUTHORITY




                        AUSTIN
                         1871



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                                 CHAPTER XYXIV.

         A11 Act to regulate the keeping and bearing of deadly weapons,

            Section 1. Be it enacted by the Legislature of the State of
          Texas, That any person carrying 011 at about his person, saddle, or
         in his saddle b8gs, any pistol, dirk, dagger, slungehot, sword-cane,
         spear, brass~knuckles, bowieknife, or any dlfher kind of knife I!l8.]l`l1-
         factured or sold for the purposes of otiense or defense, unless die has
         reasonable grounds for fearing an unlawful attack on his person,
         and that such ground of attack shall be immediate and pressing;
          or unless having or carrying the same on or about his person for the
         lawful defense of the Stafte, as a militiaman in actual service, or as
         a peace officer or policeman, shall be guilty of a. misdemeanor, and,
          on conviction thereof shall, for the first offense, be punished by
          fine of not less than twenty-'sive nor more than one hundred dol-
         lars, and shall forfeit to the county the weapon or weapons so found
         on or a'bout his person,~and for every subsequent offense may, in ad-
         dition to such fine and forfeiture, be imprisoned in the county jail
         for a. term not exceeding sixty days:, and in every case of line under
         this section the fines imposed and collected shall go into the treas-
         ury of the county in which they may have been imposed; provided,
         that t'his section shall not be so construed as to prohibit any 'person
         from keeping or bearing arms on his or her own premises, or at his
         or her own place of business, nor Bo prohibit sheriffs or other reve-
         nue oliicers, and other civil officers, from keeping or 'bearing arms
         while engaged in the discharge of their oilicial duties, nor to pro-
         hibit persons traveling in the State from keeping or carrying arms
         with their baggage, provided, further, that members of the Legisla-
         ture shall hot be included under the term "civil odicers" as used
         in this act.
           Sec. 2. Any person charged under the first section of this act,
         who may offer 'to prove, by way of defense, that he was in danger of
         an attack 011 his person, or unlawful interference with his property,
         shall be required to show that such danger was immediate and press-
         ing, and was of such a nature as to alarm a person of ordinary
         courage; and that the weapon so carried was borne openly and not
         concealed 'beneath the clothing; and if it shall appear that this dan-
         ger had its origin in a difficulty first commenced by the accused, it
         shall soft be considered as a legal defense.
           Sec. 3. If any person shall go into any church or religious
         assembly, any school room, or other place where persons are assem-




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           bled for amusement or for educational or scientific purposes, or into
           any circus, show, or public exhibition of any kind, or into a ball
           room, social party, or social gathering, or to any election precinct
           on the day or days of any election, where any portion of the people
           of this State are collected to vote at any election, or to any other
           place where people may be assembled to muster, or to perform anv
           other public duty, (except as may be required or permitted by law,)
           or to any other public asseinblv, and shall have or carry about his
           person a pistol or other firearm, dirk, dagger, slung shot, sword
           cane, spear, brass-knuckles, bowie-knife, or any other kind of knife
          manufactured and sold for the purposes of offense and defense, un-
          less an officer of the peace, he shall be guilty of a misdemeanor, and,
          on conviction thereof, shall, for the first offense, be punished by
          time of not less than fifty, n-or more than five hundred dollars, and
          shall forfeit to -the county the weapon or weapons so found on his
          person: and for every so"i>sequent. offense may, in addition to such
          line and forfeiture, be imprisoned in the county jail for a term not
          more than ninety days.
             Sec. 4-. This act shall not apply to, nor be enforced in any
           county of the State, which may be designated, in a proclamation of
            the Governor, as a frontier county. and liable to incursions of hos-
           tile Indians.
              Sec. 5. All fines collected under the provisions of this act shall
           be void into the treasury of the county, and anpropriated exclu-
           sivelv to -the keeping in repair and maintenance of public roads. and
           all weapons for'feité*d to the cnuntv un der the provisions of 'this act
           shall be sold as may be nrescribed by the county court, and the pro<
          needs appropriated to the same purnose.
              See. 6. Tt shall be the duty of all sheriffs. constables, marshals
           and their deputies. and all policemen. and other peace officers. to ar-
           rest any person violating 'the first or third sections of this slot, and
           to take such person immediately before a justice of the 'peace of the
          county where the offense is committed, or before a mayor OI' re-
           corder of the town or city in which 'the oftense is committed. who
          shall investigate and try the case without delay. On all such trials
           the accused shall have the right of a trial by jury. and of appeal to
           the district court: but, in case of appeal. the accused shall be YQ*
          quired to give bond with two or more good and sufficient sureties in
          a sum of not less than one hundred nor more than two 'hundred dol-
          lars, if convicted under the first section and in a sum of not less
          than two hundred nor more than one thousand dollars. if convicted
          under the third section of this act; said bond to be payable to the
          State of Texas,and approved by the magistrate, and conditioned that
          the defendant will abide the judgment of the district court that may



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        be rendered in the case; and in case of forfeiture the proceedings
        thereon shall be as is or may be prescribed by law in similar cases;
        and all moneys collected on any bond or judgment upon the same,
        shall be baid over and appropriated as provided in the fifth section
        of this act,
           Sec. '7. Anv officer named in the sixth section of this act who
        shall refuse or fail to arrest any person whom he is required to
        arrest by said section on his own information, or where knowledge
        is conveyed to him of any violation of the First or third sections of
        this act, shall be dismissed from his ogee on conviction in the
        district court, on indictment or infornuition, or by such other pro-
        eeedings or tribunal as may be provided by law, and in addition,
        shall be 'fined in any sum not exceeding five hundred dollars, at
        the discretion of the court or jury.
           Sec. 8. That the district courts shall have concurrent jurisdic-
        tion under this act, and it is hereby made the duty of the several
        judges of the district courts of this State to give this act especially
        in charge to the grand juries of their respective counties.
           Sec. 9. It is hereby made the duty of the Governor to publish
        this act throughout the State; and this act shall take effect and be
        in force from and after the expiration of sixty days after its pass-
        age.
           Approved April 12. 1871.



                                 CHAPTER XXXV.
        An Act to authorize the County Court of Robertson county to levy
          and collect a special tax for the term of two years to build a
          court house and jail in the city of Calvert, the county seat of
          said county.

           Section 1. Be it enacted by the Legislature of the State of
        Texas, That the County Court of.Robertson county       . be and the
        same is hereby authorized to levy and collect annually, for the term
        of two years, a special ad valorem tax upon all property, real, per-
        sonal and mixed, in said county, not to exceed one half of one per
        certain in addition to all general and special taxes now authorized
        to be levied and collected by law, which tax shall be levied and col-
        lected the same as other taxes, and shell be appropriated slid paid
        out solely for the purpose of building a substantial court house and
        jail at Calvert, the county sent of Robertson county, Texas.
           Sec. 2. That this act shall take effect and be in force from and
        after its passage.
           Approved April 12, 1871.

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                                                          TH E



                  REVISED CODES
                                                           OF THE



                                                         "T
                             'rERR1T01N OF DAKOTA.
                                                l.-




                                              A. D. 1877

                 COMPRISING THE CODES AND GENERAL 8T.-\'1llI'1IES PASSED AT THE T\\'1~1LFTlI
                            SESSION OF THE LEGISLATIVE ASSEMBLY., AND ALL OTHER
                                     GENERAL LAWS REMAINING IN FORCE.




                                               I»1'1:s1.I=-uInn ANI; l~1:»1rE1» in'


                                          GEO. H. HAND,
                                                 SE('!lI-ITA II Y 0 lj lmA R (To,\ .




                        BY AUTHORITY OF THE LE(1'LS'LATIVE ASSEMBL X




                                                    YA NKTON :
                                       BOWEN & KIN(l5Bl'RY, l'1'm.1c l'llln'Ill£l{s,
                                                              1877,




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                                        PENAL CODE.

                                  AN ACT to Establish a Penal Code for the Territory of llalkum.




                                                      CHAPTER 1.
                                              PRELIMINARY PROVISIONS.
                 § 1.   T1'r1.E or Acrr.]   Be it enacted by the Leg2'slati'oe Assembly of the 781°-
                ritoty of Dakota, That this act shall be known as the penal code of the
                Territory of Da ko t a .
                 §2. WuA'r Airs cmxunAL.] No act or omission shall be deemed crimi-
                nal or punishable except as prescribed or authorized by this code, or by
                some of the statutes which it specifies as continuing in force, or such laws
                as do not conflict with the provisions of this code.
                  §3. Crum-; DEI-'lNEN.] A crime or public offense is an act or omission for»
                bidden by law, and to which is annexed, upon conviction, either of the
                following punishments:
                  1. Death.
                  2. Imprisonment.
                  3. Fine.
                  4. Removal from office; or,
                  5. Disqualification to hold and enjoy any office of honor, trust or profit,
                under this territory.
                  § 4 . Cnnu-:s Dxvlm-:h.IJ    Crimes are divided into :
                  1. Fel oni es.
                  2. Misdemeanors.
                 §6. Fznosr liter-'Inl»;o..] A felony is a crime which is, or may be, punish
                able with death, or by imprisonment in the territorial prison.
                 §6. Mism-;xnsAnon.] Every other crime is a misdemeanor.
                 §'7. 0411-:ers OF PENAL coma] This code specifies the classes of persons
                who are deemed capable of crimes, and liable to punishment therefor; and
                defines the nature of the various crimes; and prescribes the kind and
                measure of punishment to be inflicted for each. The manner of prosecu-




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                       794                                  PENAL CODE.                      CRI M ES DEFIN ED.

                         §454. Dxsrosrxo OF TAINTI-:D I-'oon.] Every person who knowingly sells,
                       or keeps, or others for sale or otherwise disposes of any article of food,
                       drink, drug or medicine knowing that the same has become tainted, de-
                       cayed, spoiled or otherwise unwelcome or unfit to be eaten or drank, with
                       intent to permit the same to be eaten or drank by any person or animal,
                       is guilty of a misdemeanor.
                          §455. SLUNG snoT.] Every person who manufactures or causes to be
                       manufactured, or sells, or offers or keeps for sale, or gives or disposes of
                       any instrument or weapon of the kind usually known as slung shot, or
                       of any similar kind, is guilty of a misdemeanor.
                          §458. CARRYING OR USING sAt:.] Every person who carries upon his
                       person, whether concealed or not, or uses or attempts to use against an-
                        other, any instrument or weapon of the kind usually known as slung
                        shot or of any similar kind. is guilty of a felony.
                            §457. Coucr-:Ar,t;n wr:.u'oxs.] Every person who carries concealed about
                       his person any description of fire-arms, being loaded or partly loaded or
                       any sharp or dangerous weapon such as is usually employed in attack
                       or defense of the person, is guilty of a misdemeanor.
                         § 458. \V1r.1J-'L'r. 1>RAMU-J 1-.m!-:s.] Every person who shall willfully set
                       on fire or cause to be set on tire any woods, marshes or prairie, with in-
                       tention to injure the property of another, shall be deemed guilty of a
                       misdemeanor, and shall be liable for all damages done by such fire.
                         §459. SAM!-I BY NEGLIGENCE-UAMAGI'$.] Every person who negligently or
                       carelessly sets on fire, or causes to be set on tire, any woods, marshes or
                       prairies, or who, having set the same on fire, or caused it to be done, neg-
                       ligently or carelessly, or without full precaution or efforts to prevent,
                       permits it to spread beyond his control, shall, upon conviction, be fined
                       not exceeding one hundred dollars and not less than ten dollars, and shall
                       be liable to injured parties for all damages occasioned thereby. One-half
                       of such fine shall, when collected, go to the informer.
                         §460. Rrsrcsrxo Am AT FmF.s.] Every person who, at any burning of a
                       building, is guilty of any disobedience to lawful orders of any public
                       officer or fireman, or of any resistance to or interference with the lawful
                       efforts of any fireman or company of firemen, to extinguish the same, or
                       of any disorderly conduct calculated to prevent the same from being ex-
                       tinguished, or who forbids, prevents or dissuades others from assisting to
                       extinguish the same, is guilty of a misdemeanor.
                          § 461. UN[.AWX-'UL \-'1~:luu'.] Every person who maintains any ferry for
                       profit or hire upon any waters within this territory, without authority of
                       law, je punishable by a fine not exceeding twenty-five dollars for each time
                       of crossing or running such ferry. \Vhere such ferry is upon waters divid-
                       ing two counties, the offender may be prosecuted in either.
                          § 462. F1-:Iear Born.] Every person who, having entered into a bond or
                       obligation, as provided by his ferry charter, or any general law OD the
                       subject of ferries, to keep and attend a ferry, violates the condition of such
                       bond or obligation, is guilty of a misdemeanor.
                         kg 483. FAIr.r'I¢i-: 'to also l.ocoxlo'm'r: ul-:r.r..ll Every Pt'l':0¥l in charge, as en-




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                                    CHAPTER XCV.
                AN ACT to change the day in which the Criminal Docket shall be
                          taken up for Marshall County, Tennessee.

                  SECTLQN 1. Be it enacted by the General Assembly of the
                State of Tennessee, That an Act passed March 22nd, 1877,
                entitled, "An Act to repeal the Act establishing a Crim-
                inal Court in the counties of Williamson, Maury, Giles
                and Marshall," be so amended that Section 5 of said Act
                shall hereafter read, that the Criminal Docket shall be
                taken up on the second Monday of the term of court, in~
                stead of the first Thursday of the term, as heretofore fixed
                by said Act, and that the second Monday of the term shall
                be the day on which the criminal part of said term of
                court shall commence for said Marshall County hereafter.
                  SEC. 2. Be it further enacted, That this Act take ef-
                fect from and after its passage, the public welfare re-
                quiring it.
                  Passed March 14, 1879.
                                                   H. P. FOWLKES,
                               Speaker of the House oj Representatives.
                                                          J. R. NEAL,
                                                    Speaker of the Senate.
                  Approved March 17, 1879.
                                         ALBERT S. MARKS,
                                                    Governor.




                                  CHAPTER XCVI.
                            AN ACT to Prevent the Sale of Pistols.

                  SECTION 1. Be it enacted by the General Assembly of
                theState of Tennessee, That it shall be a misdemeanor for
                any person to sell, or offer to sell, or to bring into the




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                State for the purpose of selling. giving away, or other-
                wise disposing of belt or pocket pistols, or revolvers, or any
                      other kind of pistols, except army or navy pistol; Pro-
       saaaer pistols'vided that this Act shall not be enforced against any per-
    Iadulden.         sons now having license to sell such articles until the
                      expiration of such present license.
                         SEC. 2. Be it further enacted, That any person guilty
                      of a violation of this Act, shall be subject to presentment
                      or indictment, and on conviction, shall pay a fine of not
    penaify.          less than twenty-live nor more than one hundred dollars,
                      and be imprisoned at the discretion of the court.
                         SEC. 3. Be it further enacted, That it shall be the duty
                      of the Criminal and Circuit Judges, and other Judges
       Judges Wwhose courts have criminal jurisdiction, to give this Act
     :huge
           `          specially in charge to the grand jury at each term of the
                      court.
                         SEC. 4. Be it further enacted, That it shall be the duty
                  of the grand juries to send for witnesses, in all cases where
      .           they have good reason to believe, that the provisions of
     94Grand J '"YthisAct have been violated.      And upon satisfactory evi-
                   dence of its violation, they shall make presentments of the
                  same without a prosecutor.
                  SEC. 5. Be 'it further enacted, That all laws and parts
                of laws in conflict with this Act be, and the same are
                hereby repealed.
                  SEC. 6. Be it further enacted, That this Act shall take
                effect from and after its passage, the public welfare re-
                quiring it.
                  Passed March 14, 18'79.
                                                 H. P. FOWLKES,
                                 Speaker of the House of Representatives.
                                                            J. R. NEAL,
                                                      Syoeaker of the Senate.
                   AppI'oved March 17, 1879.
                                           ALBERT S. MARKS,
                                                      Governor.




                                    CHAPTER XCVII.
                           AN ACT to amend the Law Taxing Wagons.

                   SECTION 1. Be it enacted by the General Assembly of
                 the State' of Tennessee, That sub-Section 38 of Section 553a




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                                        ACTS OF      ARIL<1NS'AS.                      1.91
            "buildings and grounds shall hereafter be used exclusively for
            State purposes, the title to the same being in the State.
               SEC. 2. That this act take effect and be in force thirty days
            after its passage, allowing that time for said county to vacate
            said rooms, &c.
               Approved, April 1st, 1881.




                                           No.      XUVI.
                      'AN ACT To Preserve the Public Peace and Prevent Crime.
           `%Ecrlon                                                                      .
              1 Carrying of certain weapons constituted a misdemeanor; proviso, excepting
                   onicers, and persons journeying.              ..
              2 Carrying such weapons otherwise than in the hand, a misdemeanor.
              3 Selling or disposing of such weapons, a misdemeanor.
              4 Violation of act punishable by fine from $50 to $200.
              5 Justices of the Peace knowing of violations of provisions of act and refusing
                   to proceed, to be' lined and removed.
              6 Same penalty denounced any other officer knowing of such offense.
              7 Violators of act how proceeded against.
              8 Conflicting laws repealed, act in force 90 days after passage.
            Be it enacted by the General Assembly of the State of Arkansas:
             SECTION 1. That any person who shall wear or carry, in
           any manner whatever, as a weapon, any dirk or bowie knife,
            or a sword, or a spear in a cane, brass or metal knocks,
            razor, or any pistol of any kind whatever, except such pistols
            as are used in the army or navy of the United States, shall be
            guilty of a misdemeanor ; Provided, That oMcers, whose duties
            require them to make arrests, or to keep and guard prisoners,
            together with the persons summoned by such oiiicers, to aid
           'them in the discharge of such duties, while actually engaged
            in such duties, are exempted from the provisions of this act.
            Provided, further, That nothing in this act be so construed as
            to prohibit any person from carrying any weapon when upon a
           journey, or upon his own premises.




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             1.92                 ACTS OF ARKANSAS.
                SEC. 2. Any person, excepting such otlzicers, or persons OH'
             a journey, and on his premises, as are mentioned in section one
             of this act, who shall wear or carry any such pistol as in [is]
             used in the army or navy of the United States, in any manner
             except uncovered, and in his hand, shall be deemed guilty of a
             misdemeanor.
               SEC. 3. Any person who shall sell, barter or exchange, or
             otherwise dispose of, or in any manner furnish to any person-
             any person any dirk or bowie knife, or a sword or a spear in a
             cane, brass or metal knocks, or any pistol, of any kind whatever,
             except such as are used in the army or navy of the United
             States, and known as the navy pistol, or any kind of cartridge,
             for any pistol, or any person who shall keep any such arms or
             cartridges for sale, shall be guilty of a misdemeanor.
              . SEC. 4. Any person convicted of a violation of any of the
             provisions of this act, shall be punished by a fine of not less
             than fifty nor more than two hundred dollars.
                SEC. 5. Any justice of the peace in this State, who, from
             his OW11 knowledge, or from legal information, knows, or has
             reasonable grounds to believe, any person guilty of the viola,-
             tion of the provisions of this act, and shall fail or refuse to
             proceed against such person, shall be deemed guilty of a non-
             feasance in office, and upon conviction thereof, shall be pun-
             ished by the same fines and penalties as provided in section
             four of this act, and shall be removed from office.
                SEC. 6. Any officer in this State, whose duty it is to make
             arrests, who .may have personal knowledge of any person car-
             rying arms contrary to the provisions of this act, and shall fail
             or refuse to arrest such person and bring him to trial, shall be
             punished, as provided in section four of this act.
                SEC. 7. All persons violating any of the provisions of this
             act may be prosecuted in any of the courts of this State, hav-
             ing jurisdiction to try the same.
                SEC. 8. All laws or parts of laws, in conflict with the pro-
             visions of this act are hereby repealed, and this act to take
             erect and be in force ninety days after its passage.
                Approved, April 1st, 1881.




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                                               CRIMINAL CODE.


                                                    DEADLY venous.

                                BIGULATII TICAYITO Aim PBIVIITB sis TO muon.
           l I. Fobids nosuosslon or sale of slunz-                 I 5. Fl        dn        lt! -h                     d
                  s ote or knuckles-penalty.                               "'I3é'r'é |;gU8ll.|?°l]a?ty !3¥'='§i?"?Jé' '3,_
                                                                          (anno.
           |2- '%¥"¢l'l3-'¥$l?»'.'3??>$Jll3»'3i§"~¥l,'8'1?'         N l . Exempts therlffs. coroners. nonsta-
                  ons-ponaltv.                                              in. poicoman or peano 0M88l*l
           la. Provides or re stry of solos by                             rom nrovla onto! ihl~ acl.
                                                                        Remeallng clause for acts in con~
                 gszeaall °5'"'i¢}"l%'$°P.l1"'§8'»"8                | 7. fi it"
                keep are.                                               In force July 1, 1881.
           H. Penalty for can-ying deadly weap-
                ons or display of lame.
           Au ACT to 'regulate the trcgio in deadly weapons, and to prevent the
                                  as of them to minors.
             Snzowxou 1. Ee it enacted by the People '4 the State of Illinois, rep.-
           wsented in the General Assembly, That w never shall have 111 his
           possession or 'Say' gave Gi' loan, hire or barter, Cr whoever shall
           offer to sell, owe, loan, hire or barter to any }{erson wntlnn thxs
           state, any slung-shot or metallic knuolnles, or of or deadly weapon ,
           of like character, or any person in whose possession such weapons  .
           shall be found, shall be guilty of a misdemeanor, and upon ,convic-
           tion shall be fined in any sum not less than ten dollars (510) I10r
           more than two hundred dollars 4200)  .
              § 2. Whoever, not berthe other, guardian or employer of the
           minor herein named *         imself or agent, shall set , give, loan,
           hire or barter, or Bi]&A` otter to sell, Ive, loan, hire or barter to
           any minor within this state, any piste , revolver, derringer, bowie
           knife, dirk o* other deadly weapon of like character, capable of
           being ser. Ted upon the person, shall be guilty of a misdemeanor,
           and shall be dried in *we sum not less than twenty-five dollars
           (825) nor more than two undred dollars (8200)
              § 8. All persons dealing i n d nelly weapons hereinbefore men-
           tinned, at retail within this state shall keep a register of all such
           weapons sold or given away by them. Buck register shall contain
           the date of the sale or sift. the name and i s of the person to
           whom the wealmon ia sold or given, the price of t e said wenona, and
           the' purpose or which it IB purchased or obtained.           he said
           regis or shall be in the following form :

             No. of        To whom            A       1          Kind and       For what pur-               Price
            weapon.          sold          Pl.ll'¢5?B(:40l'»    description     pose purchased               of
                           or given.                            of weapon.        or obtuined.             weapon.

             Said register shall he kept open for the inspection of the public,
           and all persons who may wish to examine the same may do so at
           all reasonable times during business -hours.                          A failure to keep such
           register, or to allow an examination of the same, or to record

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          therein any sale or gift of a deadly weapon, or the keeping of a
          false register, shall be a misdemeanor, and shall subject the o ender
          to a line of not less than twenty~five dollars (1525 nor more than
           two hundred dollars 1$200)•
             § 4. Whoever shal carry a concealed weapon upon or about his
          person of the character in this act specified, or razor as a weapon,
          or whoever, in a threatening or boisterous manner, shall display or
          flourish any deadly weapon, shall be guilty of a misdemeanor, and
          shall be lined in any sum not less than twenty-five dollars ($25) nor
          more than two hundred dollars ($200).
             § 5. All lines and penalties specified in this act may be recov-
          ered by .Information, complaint or indictment, or other appropriate
          remedy, in any court of competent jurisdiction; and, when recovered,
          shall be paid into the county treasury of the count where the con-
           viction is had, and become a part of the curred revenue of the
           county; or the said fines and penalties may be recovered by qui
           tam action, one-half to be paid to the informer, and the other half
           to be paid into the county treasury, as aforesaid. For a second
           violation of any of the provisions of this act the offender shall be
           lined in double the amount herein specified, or may be committed
           to the county jail for any temp not exceeding twenty days, in the
           discretion of tile court.
              § 6. Section four (4) of this act shall not apply to sheriffs, coro-
           ners, constables, policemen or other peace 0M08I'B, while engaged in
           the discharge of their oilicial duties, or to any person summoned by
           any of such oiiicers to assist in making arrest, or preserving the
           price, while such person so summoned is engaged in assisting such
           o cer.
             § 7. All acts and parts of acts in conflict with this act are here-
           by repealed.
                 APPROVED April 16, 1881.




                         PENALTY FOR ADULTERATION OF BUTTER AND CHEESE.

           it. Manufacture  of imitations or ndul~
                terution of butter und cheese pro-
                                                          S 2. Renoallnz clause.
                                                               In force Julyl, lsal.
                    hlbltod-l'enulty.
           An Ac'r to {»rercnt the adwlfcration of buffer and cheese, or the sale or
              dispn8u of tlw same, or the mama/acture or sale of any article as u
              substitute .for butter or cheese, or any article to be used as buffer
              anil cheese.
             SECTION 1. Be it cnaMczl by the People of the State .of Illinois, rep-
           resented in the General Assembly, That whoever manufactures out of
           any plea nous substances, or any compound of the same other than
           that produced from unadulterated m' k, or cream from the same,

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                                                      (17)
                 SEC. 3. 'Be 'it further enacted, That this Act take ef-
               fect from and after its passage, the public welfare re-
               quiring it.
                 Passed February 23, 1883.
                                               B. F. ALEXANDER,
                                                          Speaker of the Senate.
                                                w. L. LEDGERWOOD,
                               Speaker of the Eozzse of Representaliues.
                 Approved February 27, 1883.
                                               W M. B. BATE,
                                                                       Governor.




                                                                                          l


                                      CHAPTER XIII.
               A BILL to be entitled An Act to prevent the sale, loan or gift of pistol
                                      cartridges in this State.

                  Be it enacted by the General Assembly of the State of _ Pistol cart-
               Tennessee, That it shall be unlawful for any person OI' ridges unlaw-
               persons to buy or sell OI' give away any pistol cartridges ful.
               in this State.
                  Be it further enacted, That any person or persons vio-
               lating this Act, shall be guilty of a misdemeanor, and Penalty.
               on conviction thereof shall be fined not less than twenty-
               Hve or more than one hundred dollars.
                  Be it farther enacted, That this Act shall be given in
               charge by the judges of the Circuit and Criminal Courts
               of this State, to the grand juries at each term of the Gmnd juries
               Court, and that the grand juries are hereby clothed haveria.liuquisito-
                                                                              powers-
               with inquisitorial powers to send for witnesses, and pre-
               fer presentments against any persons guilty of a viola-
               tion of this Act; provided, however, that nothing in this
               Aet shall be construed to interfere with the sale of eart-
               ridges for rifle guns or shot guns, or cartridges for army
               or navy pistols.
                  Passed February 24, 1883
                                                B. F. ALEXANDER,
                                                           Speaker of the Senate.
                                                w. L. LEDGERWOOD,
                                Speaker of the House of Representatives.
                  Approved March 3, 1883.
                                        WM. B. BATE,
                     2                .                    Governor.




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                       ACTS,
         RESOLUTIONS AND MEMORIALS
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 I                TERRITORY OF ARIZONA.

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         SESSION BEGUN ON THE TWENTY-FrRST DAY
                  OF JANUARY, A. D. 1889.




                                 PRES( `01"T:
                            OFFICE 01" THF COURXER.
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                              ACTS.                                         I




         No. 1.                    AN ACT.
         To Locate the Capital of the Territory of Arizona Perma-
               nently at the City of Phoenix, in the County of Mari-
              COP8.
         Be it Enacted by the Legislative Assembly of the Territory
              of Arizona:
            SECTION 1. That on and after the fourth day of February,
         in the year of our Lord, Eighteen Hundred and Eighty-Nine,
         the permanent seat of Government and Capital of this Terri-
         tory shall be, and the same is, hereby located and established
         at the City of Phoenix, in the County of Maricopa.
            SEC. 2. All Acts and parts of Acts inconsistent with this
         Act are hereby repealed.
            SEC. 3. This Act shall take eitect and be iii force from and
         after its passage.
            Approved January 26, 1889.

         No. 2.                  AN ACT.
               Defining certain offenses against the public peace.
         Be it Enacted by t/ze Legislative A8861It6Z.y of the Territo/'y
              Qf Arizona:
           S1-;CTION 1. If any person or persons shall willfully and
         maliciously make any assault upon any railroad train, railroad
         cars or locomotive within this Territory for the purpose and
         with the intent to commit murder, robbery, or any other
         felony RPO!! or against any passenger 011 said train or cars, or
         upon or against any engineer, conductor, fireman, brakeman,
         or any ol'Heer or employee connected with said locomotive,
         train or cars, while in the performance of his duty as such



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       30                      LAws OF ARIZONA.

          SEC. 3   This Act shall be in force and effect from and af-
       ter its passage. .
          Approved March 18, 1889.

       No. 13.                     AN ACT
       Defining and Punishing Certain Offenses Against tlle Public
                                    Peace.
       Be it Enacted by the Legislative Assembly of the Territory
             of Arizona:
          SECTION 1. If any Orson within any settlement, town,
       village or city within to118 Territory shall carry 011 or about
       his person, saddle, or in his saddlebags, any pistol, dirk,
       dagger. slung shot, sword-cane, S ear, brass knuckles, bowie
       knit, or any other kind of km e manufactured or sold for
       purposes of offense or defense, he shall be punished by a line
       of not less than twenty-live nor more than one hundred dol-
       lars; and in addition thereto, shall forfeit to the County in
       which he is convicted, the weapon or weapons so carried.
          SEC. 2. The preceding article shall not apply to a person
       in actual service as a lnilitiarnan, nor as a peace officer or police-
       man, or person summoned to his aid, nor to a revenue or other
       civil officer engaged in the discharge of otlicial duty, nor to
       the carrying O arms on ones O\VI1 premises or place of busi-
       ness, nor to fp€l'soll8 traveling, nor to one who has reasonable
       ground for earing an unlawful attack upon llis person, and
       the danger is so imminent and threatening as not to admit of
       the arrest of the party about to make SHG 1 attack upon legal
       process.
          SEC. 3. If any person shall go into any church or relig-
       ious assembly, any school room, or other place where persons
       are assembled for amusement Ol' for educational or scientific
        purposes, or into any circus, show or public exhibition of any
        .....u, or into a ball room, social party or social gather-
        ing, or to any election precinct on the day or days
        of any election, where any portion of the people of this
        Territor are collected to vote at any election, or to any
        other 12 where people may be assembled to muster or
        to perfbrin any other public duty, or to any other public as-
        sembly, and shall have or carry about his person a pistol or



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                              LA\VS OF ARIZONA.                             31
        other firearm, dirk, dagger, slung shot, sword-cane, slgear,
        brass knuckles, bowie knife, or any other kind of a rife
        manufactured and sold for the purposes of offense or defense,
        he shall be punished by a line not less than fifty nor more
        than five hundred dollars, and shall forfeit to the County the
        weapon or weapons so found on his rson.
           Sec. 4. The preceding article shall not apply to peace
        oiiicers, or other persons authorized or permitted by law to
        carry arms at the places therein designated.
           SEC. 5. Any person violating any of the provisions of
        Articles 1 and 3, may be arrested without warrant by any
         eace officer and carried before the nearest Justice of the
         "eace for trial; and any peace oilier who shall fail or refuse
        to arrest such person 011 his own knowledge, or upon informa-
        tion from some credible person, shall be punts led by a fine
        not exceeding three hundred dollars.
           Si-zo. 6. Persons traveling may be permitted to carry arms
        within settlements or towns of the Territory for one-half
        hour after arriving ill such settlements or town, and while
        going out of such towns or settlements; and Sheriffs and                 \

        Constables of the various Counties of this Territory and their
        lawfully appointed deputies may carry weapons in the legal
        discharge of the duties of their respective offices.
           Sec. 7. It shall be the duty of the keeper of each and
        every hotel, boarding house and drinking saloon, to keep
        posted up in a conspicuous place in his bar room, or recep-
        tion room if there he IIO her in the house, a plain notice to
        travelers to divest themselves of their weapons in accordance
        with Section 9 of this Act, and the Sheriffs of the various
        Counties shall notify the keepers of hotels, hoarding houses
        and drinking saloons in their respective ('ounties of their
        duties under this law, and if after such nosh°cati<m any keeper
        of a hotel, boarding house Ol' drinking saloon, shall fail to
        keep notices posted as required by this Act, he shall, on con-
        viction thereof before a J justice of the Peace. he tined in the
        sum of live dollars to go to the County Treasury.
           SEG. 8. All Acts or parts of Acts in conflict with this
        Act are hereby repealed.
           Size. 9.. This Act shall take effect upon the first day of
        April, 1889.                      .                         '
           Approved March 18, 1889.


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                                         CRIMES AND PUNISHMENT.                                          475

                      witness to such sale, excepting upon 'tllc'written order or pre-            Chap. 25.
                      scription of some practicing physician whose name must be at-
                      tached to such order or prescription. No person shall sell, give
                      away or dispose of any poisonous substance without attaching to
                      the phial, box or parcel containing such poisonous substance a
                      label with the word "poison" printed or written upon it, in plain
                      and legible characters.
                        (2286) § 11. Any person violating any of the provisions of Sam-      viola-
                                                                                        son of,
                      the first preceding section shall b_e deemed guilty of a misde-
                      meanor.
                        (2287) \§ 12. Every person whose duty it is by the second Record nf
                      preceding section to keep any book for recording the sale or gift }§',lTi?'§'°""
                      of poisons, who wilfully refuses to permit any person to inspect
                      said book upon reasonable demand made during business hours,
                      is punishable by fine not exceeding fifty dollars. .
                         (2288) § 13. Every person who shall, except in a safe place      .
                      on his own premises, lay out strychNine or other poison \vithinpo!;""""°"'
                      the limits of any town or within one mile of any dwelling house,
                      or any barn, stable or out building used at the time for keeping
                      or shelter of horses, cattle, sheep or swine, or within one-half mile
                      of any travelled thoroughfare, or on lands not his own, 011 the ceded
                      lands of this Territory, is guilty of a misdemeanor: Prow'dcd,
                      Nothing in this section shall be construed to prohibit the putting
                      out at any time of poisoned grain for the purpose of killing goph-
                      ers.
                        (2289) § 14.      Every person who, in putting up Ol' pressing
                                                                                   4   any mm'
                                                                                             kgr\y~
                                                                                            Omiltinglo
                      bundle of hay for market, omits to put the numb"r of pounds in
                      each bundle or bale so put up, for which he sells or offers to sell
                      it, is guilty of a. misdemeanor.
                           (2290) § 15. Every person who by putting up in any bag, Increasing
                                                                                           wulghl oflmrrclri,
                      bale, box, barrel or other package, any hops, cotton, hay or other boxes,  etc,
                      goods usually sold in bags, bales, barrels or packages, by weight,
                      puts in or conceals therein anything whatever for the purpose
                      'of increasing the weight of such bag, bale, box, barrel or pack-
                      age, is punishable by a fine of twenty-five dollars fbr each offense.
                        (2291) § 1G. Every person who adulterates or dilutes any ar-
                      ticle of food, drink, drug, medicine, strong, spirituous or malt Adullernling
                      liquor or wine, or any article useful in compounding either of food.
                      them, whether one useful for mankind or for animals, with a
                      fraudulent intent to offer the same, or cause or permit it to be
                      offered for sale as unadulterated or undiluted, and every person
                      who fraudulently sells or keeps or offers for sale the same as un-
                      adulterated or undiluted, knowing it to have been adulterated or
                      diluted, is guilty of a misdemeanor.
                         (2292) § 17. Every person who knowingly sells, or keeps or Disposing 81
                      offers for sale, or otherwise disposes of any article of food, drink, tainted fond.
                       drug or medicine, knowing that the same has become tainted,
                      decayed, spoiled Ol' otherwise unwholesome or unfit to be eaten or
                      drank, with intent to permit the same to be eaten or drank by any
                      person or animal, is guilty of a misdemeanor.
                        (2293) § 18. Every person who manufactures or causes to be. Manufactur-
                       manufactured, or sells or offers or keeps for sale, or gives or dis- mg slung shot.




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                 Chap. 25. poses of any instrument or weapon of the kind usually known as
                                   slung shot, or of any similar kind, is guilty of a misdemeanor.
                                      (2294) § 19. Every person who carries upon his person,
                Carrying or
              ,,5;ng5|,,,,g5h,,,.whether          concealed or not, or uses or attempts to use against
                                  another, any instrument or weapon of the kind usually known as
                                  slung shot, or of any similar kind, is guilty of a felony.
                Concealed             (2295) 20. Every person who carries concealed about his
             weapons,
                                  person and description of firearms, being loaded or partly loaded,
                                  or any sharp or dangerous weapon, such as is usually employed in
                                  attack or defense of the person, is guilty of a misdemeanor.
                Willful prairie
             fires.
                                     (2296) § 21. Every person who shall willfully set on Ere, or
                                 cause to be set on fire, any woods, marshes or prairies, with inten-
                                  tion to injure the property of another, shall be deemed guilty of a
                                 misdemeanor, and shall be liable for all damages done by such
                                 fire.
                                     (2297) § 22. Every person who negligently or carelessly sets
               Negligent
            prairie: Circs.      on fire, or causes to be set on fire, any woods, marshes, or prai-
                                 ries, or who, having set the same on fire. or caused it to be done,
                                 negligently or carelessly, or without full precaution OI' efforts to
                                 prevent, permits it to spread beyond his control, shall, upon con-
                                 viction, be fined not exceeding one hundred dollars and not less
                                 than ten dollars, and shall be liable to injured parties for all dam-
                                ages occasioned thereby. One-half of such fine shall, when col-
                                 lected, go to the informer.
                                    (2298) § 23. Every person who, at any burning of a building,
              Refusing lo
           md at fires.
                                is   guilty of any disobedience to lawful orders of any public officer
                                or fireman, or of any resistance to or interference with the lawful
                                efforts of any fireman or company of firemen to extinguish the
                                same, or of any disorderly conduct calculated to prevent the same
                                from being extinguished, or who forbids, prevents or dissuades
                                others from assisting to extinguish the same, is guilty of a misde-
                                meanor.
              Ferries must          (2299) § 24. Every person who maintains any ferry for profit
           be licensed.
                                or hire upon any Waters within this Territory, without having first
                                obtained a license as provided by law, is guilty of a misdemeanor.
                                And any license or lease granted by the board of county commis-
                                sioners of the proper county shall be exclusive to the lessee or
                                licensee for a distance of two miles from the place where such
                                ferry is located, up and down such stream either way, and any
                         person who shall ferry, transport or carry or attempt to ferry,
                         transport or carry any passengers, goods, chattels, or merchan-
                          dise, or who shall have, keep, or maintain any scow, skiff, or boat
                          for the purpose of ferrying, transporting, or carrying any passen-
                         gers, goods, chattels or merchandise upon any water of this"Te1°ri-
                         tory, within a distance of two miles of any licensed ferry, shall be
                         guilty of a misdemeanor, and may be punished by a fihe not ex-
                         ceeding one hundred dollars, Of. thirty days imprisonment in the
                         county jail, or by both fine and imprisonment ; when such ferry is
                         upon waters dividing two counties,_the offenders may be prosecuted
                         in either county.
           .Ferry bond
          vxolnted .        (23oo) § 25. Every . . person
                                                     . . who having entered into a bond
                         or obligation, as provided by his ferry charter or any general law on




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                           OF SOUTH CAROLINA.                                           127

        the foregoing Sections of this Act shall be deemed guilty of a          A. D. 1903.
        misdemeanor, and, on conviction thereof, shall be punished by
        fine of not exceeding one hundred dollars, or by imprison-
        ment not exceeding thirty days, or by both fine and imprison-
        ment, in the discretion of the Court.
           SEC. 4. This Act shall be of force and effect from and after
        April first, 1903.
           SEC. 5. All Acts and parts of Acts in conflict with this Act
        be, and- the same are hereby, repealed.
           Approved the 23d day of February, A. D. 1903.



                                      No. 86.
         AN ACT TO AMEND AN ACT ENTITLED "AN ACT TO AMEND
            SECTION I OF AN ACT ENTITLED 'AN ACT To REGULATE
             THE CARRYING, MANUFACTURE AND SALE OF PisToLs, AND
             To MAKE A VIOLATION oF THE SAME A MISDEMEANOR,'
             APPROVED QOTH OF FEBRUARY, 1901, BY STRIKING OUT
             CERTAIN WORDS AND INSERTING OTHER WORDS IN LIEU
             THEREOF," APPROVED FEBRUARY 25TH, 1902, BY PROHIB-
             ITING LEASING, RENTINC, BARTERING, EXCHANCING AND
             HANDLING PISTOLS.
            SECTION I. Be it enacted by the General Assembly of the Actor 25Feb.,
         State of South Carolina, That an Act entitled "An Act to §'°3§"{}.' 23 of
                                                                             1098,
         amend Section I of an Act entitled 'An Act to regulate the amended.
         carrying, manufacture and sale of pistols, and to make a viola-
         tion of the same a misdemeanor/ approved 2oth of February,
         1901, by striking out certain words and inserting other words
         in lieu thereof," approved February 25, 1902, be amended by
         inserting after the words "offer for sale" and before the words
         "or transport for sale," the following words, "lease, rent, barter,
         exchange, handle ," so that said Section, when amended, shall
         read as follows :
           Section I. That from and after 'the first day of July, 1902, it manufacture,
         shall be unlawful for any one to carry about the person, whether 3,~§3'g"'3? 332
                                                                                    pistols
         concealed or not, any pistol less than twenty inches long and 33-'o3,'§bi Ted.
                                                                              Criminal
         three pounds in weight, and it shall be unlawful for any per- Code, r 129,
                                                                          amended.
         son, firm or corporation to manufacture, sell or offer for sale,




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          128                                STATUTES AT LARGE
           A. D. 1908.     lease, rent, barter, exchange, or transport for sale or into this
                           State, any pistol of less length and w-eight.. Any violation of
                           t-his Section shall be punished by a fine of not more than one
                           thousand dollars, or imprisonment for not more than two years ,
                           and in case of a sale by a person, firm or corporation, the sum
                           of one hundred dollars shall be forfeited to and for the use of
                           the school fund of the County wherein the violation takes
                           place, to be recovered as other fines and forfeitures: Provided,
                           This Act shall not apply to peace officers in the actual discharge
                           of their duties, or to carrying or keeping of pistols by persons
                           while on their own premises.
                              Approved the 2d day of March, A. D. 1903,



                                                        No. 87.
                           AN ACT TO AMEND SECTIONQO OF THE CODE OF CIVIL PRO-
                               CEDURE, FIXING THE TIMES FOR THE HOLDING oF THE
                               CIRCUIT COURTS OF THE THIRD JUDICIAL CIRCUIT.
           Code of Pro-       SECTION I. Be it enacted by the General Assembly of the
          eedure, 9
          amended.       20, State of South Carolina, That Section 20 of the Code of Civil
                           Procedure be, and the same is hereby, amended, SO as to read
          ThiCd016itrscu.{1 as follows: Sec. 20. The Circuit Courts of 'the Third Judicial
                          . Circuit of this State shall be held as follows :
           Lee County.       1. The Court of General Sessions at Bishopville, for ~the
                           County of Lee, on the first Monday in March, the first Monday
                           in June and the fourth Mon-day in September, and the Court
                           of Common Pleas at the same place on the Wednesdays first
                           succeeding the Mondays herein fixed for the 'holding of the
                           Court of General Sessions at said place.
          counlorence         2. The Court of General Sessions at Florence, for the
                 .         County of Florence, on the second Monday after the first Mon-
                           d'ay in March, *the second Monday in June and the second Mon-
                           day after the fourth Monday in September; and the Court of
                           Common Pleas at the same place on the Wednesdays first suc-
                           ceeding the Mon-days herein fixed for the holding of the Court
                           of General Sessions at said place.
            Georgetown
          County .
                            3. The Court of General Sessions at Georgetown, for the
                           County of Georgetown, on the fourth Monday after the first




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                   24-5566,
                             To PROHIBIT Use oF FIREARMS.                                   141
                                                                                       CHAP. 129
                'Section 13. Every town shall raise and expend, annually, Towns to
             for the support of common schools therein, exclusive of the ggisneey for
             income of any corporate school fund, or of any grant from the schools.
             revenue or fund from the state, or of any voluntary donation,
             devise or bequest, or of any forfeiture accruing to the use of
             schools, not less than eighty cents for each inhabitant, accord-
             ing to the census by which representatives to the legislature
             were last apportioned, under penalty of forfeiting not .less than
             twice nor more than four times the amount of its deficiency,
             and all moneys provided by towns, or apportioned by the state
             for the support of common schools, shall be expended for the _expendi-
             maintenance of common schools established and controlled by tune.
             the towns by which said moneys are provided, or to which said
             moneys are apportioned, but nothing in this section shall be so
             construed as to annul, or render void, the provisions made in
             section eighteen of this chapter for the establishing and main-
              tenance of union schools by adjoining towns.'
                Section 2. This act shall take effect January one, nineteen
              hundred and ten.            .
                                    Approved March 24, 1909.




                                      Chapter 129.
             An Act to prohibit the use of Firearms fitted with any device to deaden
                                    the sound of explosion.
               Be it enacted by the People of the State of Maine, as follows :
                Section I. It shall be unlawful for any person to sell, offer Usmes°nftt'"deT
             for sale, use or have in his possession, any gun, pistol or other griteh 35-
             firearm, fitted or contrived with any device for deadening the dgaudedn pro-
             sound of explosion. Whoever violates any of the provisions habited.
             of this act shall forfeit such firearm or firearms and the device
             or silencer, and shall further be subject to a fine not exceeding -penalty.
             one hundred dollars, or to imprisonment not exceeding sixty
             days, or to both fine and imprisonment. Any sheriff, deputy       .
             Sheri& constable, inland fish and game warden or deputy 0fs§""
             inland fish and game warden shall have authority to seize any gymghggf
             firearm or firearms and any device or silencer found in pos-
             session of any person in violation of this act, and on convic-
             tion of the party from whom such firearm'or firearms are seized,
             such firearm or firearms shall be sold, the proceeds to be paid
             to the state treasurer, and the device or silencer shall be de-
             stroyed.                                                      .

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    142       ,             BY-LAWS OF BOARDS OF HEALTH.

   CHAP. 130
                 Section 2. This act does not apply to military organizations
   Military
   organiza-
   tions not
               authorized by law to bear arms, or to the national guard in
   affected.   the performance of its duty.
                  Section 3. In all prosecutions arising under this act, muni-
               cipal and police courts and trial justices in their respective
               counties shall have upon complaint original and concurrent
               jurisdiction with the supreme judicial and superior courts, and
               all fines, penalties and forfeitures recovered by any person for
               any violation of this act shall be paid forthwith by the person
               receiving the same to the state treasurer, to be credited to fines
               and license fees for the protection of birds and game.
                                      Approved March 24, 1909.




                                           Chapter 130.
               An Act to amend Paragraph Five, of Section Thirty, of Chapter Eighteen
                of the Revised Statutes, relating to By-laws of Local Boards of Health.
                 Be it enacted by the People of the State of Maine, as follows :
   Paragraph     Paragraph five, of section thirty, of chapter eighteen of the
   5, of sec- revised statutes is hereby amended by inserting after the word
   tion 30,
   chapter 18,
   R. S.,      "county" in the seventh line thereof the words 'or by posting
   amended.
               copies of said by-laws in six conspicuous and public places
               within the town ,' also by inserting after the word "publica-
               tion" in the eighth line thereof the words 'or posting,' so that
               said paragraph, as amended, shall read as follows :
   Board of       'V. Make, alter and amend such orders and by-laws as they
   health may shall think necessary and proper for the preservation of life
   make by-
   laws for     and health and the successful operation of the health laws of
   preserva-
   tion of life the state, subject to the approval of any justice of the supreme
   and health.
     -notice of judicial court. Notice shall be given by the board of health,
   by-laws.    of all by-laws made or amended by them, by publishing the
               same in some newspaper, if there is one published in such.
               town, if there is none, then in the nearest newspaper published
               in the county; or by posting copies of said by-laws in six con-
               spicuous and public places within the town, and a record of
               such publication, or posting, of said orders and by-laws in the
               office of the town clerk, shall be deemed a legal notice to all
               persons.'               .
                                      Approved March 24, 1909,




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                                 CHAPTER 128.
              I
              Supplement to an act entitled "An act for the protec-
                tion of certain kinds of birds, game and fish, and to
                regulate their method of capture and provide open
                and close seasons for such capture and possession
                (Revision of I9o3)," approved April fourteenth,
                one thousand nine hundred and three.
                 BE IT ENACTED by the Senate and General Assembly
              of the State of New Jersey :
                I. It shall be unlawful to use any silencer, when Silencer
              hunting for game or fowl, on any gun, ride or fire §i'd"aei1°"
              arm, under a penalty of twenty dollars for each
              offense.
                 2. This act shall take effect immediately.
                 Approved April 7, 191 I.     .

                                         r




                                 CHAPTER 129.
              An Act to amend an act entitled "An act concerning
                 railroads (Revision of 1903)," approved April
              ' fourteenth, one thousand nine hundred and three.
                 BE IT ENACTED by the Senate and General Assembly
              of the State of New Jersey:            .
                 I. Section forty of the act of which this act is Section 40
              amendatory be and the same is hereby amended to amended.
              read as follows:                        .
                4o. The Governor, Chancellor, Vice-Chancellors, Btate
                                                                    officials en-
              the justices of the Supreme Court and the judges of tltlea
                                                                    passes.
                                                                           to
              the Court of Errors and Appeals, judges of the
             Circuit Court, Attorney-General, Secretary of State,
             State Treasurer, Deputy State Treasurer, State Comp-




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         186        CHAPTER 129, LAWS, SESSION OF 1911.
                  roller, Deputy State Comptroller, Clerk in Chancery,
                 Deputy Clerk in Chancery, Clerk of the Supreme
                 Court, Deputy Clerk of the Supreme Court, Adjutant-
                 General, Quartermaster-General, the Secretary to the
                 Governor, the Executive Clerk, Clerk to the School
                 Fund, State Librarian, Custodian and Assistant Cus-
                 todian of the State Capitol, State Prison Keeper,
                 Supervisor of the State Prison, the Superintendent of
                 the New Jersey Reformatory, State Superintendent
                 of Public Schools, the members of the Board of Fish
                 and Game Commissioners, its secretary and protec-
                 tors, Assistant State Superintendent of Public Schools,
                 Commissioner of Banking and Insurance, Commis-
                 sioner of Charities and Corrections, Parole Agent of
                 New Jersey 'State Prison, Chief Parole OFficer of New
                 Jersey State Home for Boys, Chief Parole Officer of
                 New Jersey Reformatory, Field Parole Officer of
                 New Jersey Reformatory, Parole Officer of New
                 Jersey State Home for Girls, State Prison Inspectors,
                 general agent and agents of the State Board of Chil-
                 dren's Guardians, State Geologist, Commissioner of
                 Public Roads; State Supervisor of Public Roads, Com-
                 missioner of Motor Vehicles, Chief of the-Bureau of
                 Labor and Statistics, Deputy Chief of the Bureau of
                 Labor and Statistics;Commissioner of Labor, Assis-
                 tant Commissioner of Labor, the members and Clerk
                 of the State Board of Equalization of Taxes, the
                 members and secretaries of the State Board of Asses-
                 sors and the Board of Railroad Commissioners, its
                 secretary and inspectors, the members of the State VVa-
                 ter Supply Commission, its secretary and engineer, the
                 members of the Public Utilities Commission, its sec-
                 retary and inspectors, members of the Civil ServiCe
                 Commission, and the secretary and chief examiner
                 thereof, Commissioner of Inland Waterways, Chief
                 of the Bureau of Shell Fisheries, the secretary and
                 members of the State Board of Health, the members
                 of the Riparian Commissions and the secretary and
                 engineer thereof, the members and officers of both
                 Houses of the Legislature of this State and the mem-
                 bers of Congress and United States Senators, during
                 their various respective terms of office shall pass and




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              CHAPTERS 129 & 130, LAWS, SESSION OF 191 I.                   187

              repass free of charge on all railroads now or hereafter
              operated in this State.
                2. This act shall take effect immediately.
                 Approved April 7, 191 I.




                                 CHAPTER I 30.
               A11 Act to provide for the erection of greenhouses and
                 the equipment of the same for fioricultnre for the
                 use of the New Jersey 'State Agricultural Experi-
                 ment Station.
                 BE IT ENACTED by the Senate and General Assembly
              o f the State of New Jersey :
                 1. The board of managers of the New Jersey Green-
              State Agricultural Experiment Station be and they are 2§I'6Z$fm2,Et
              hereby required to erect suitable greenhouses upon land station.
              to be set aside for that purpose by the trustees of the
              State Agricultural College and equip the same for
              investigation in Horiculture, for which purpose said
              board of managers may employ such competent person
              or persons as may be required to carry out the pur-
              poses of this act.
                  2. There shall be appropriated out of the revenues Appropria-
              of the State the sum of twenty thousand dollars to be ton.
              expended in the erection and equipment of said green-
              houses as provided for in section one of this act, and
              .there shall be appropriated the further sum of three
              thousand dollars per annum for the purpose of main-
               taining and carrying on the work hereby provided for,
              said appropriation to go to the State Agricultural
              Experiment Station and to be expended in the same
              manner as other appropriations to said station are -
              expended, lJror/ided, that no payment shall be made Proviso.
              pursuant to this act until the amount thereof shall be
              included in the annual or supplemental appropriation
              bill.
                 3. This act shall take effect immediately.
                 Approved April 7, 1911.




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              310                       PUBLIC ACTS.                           [A. D.
                  Sec. 5904. A person who sells, gives away or furnishes
              to a person under twenty-one years of age, cigarettes,
              cigarette papers or wrappers shall be imprisoned not more than
              two months or fined not more than fifty dollars, or both. A
              plainly printed copy of this 'and the preceding section shall,upon
              application, be furnished by the secretary of state and be posted
              in a conspicuous place in each store, shop, office or place of busi-
              ness where cigarettes are sold or kept for sale. A person who
              fails to so post such copy shall be fined not more than twenty-
              Hve dollars nor less than five dollars.
                   SEC. 2. This act shall take effect March 1, 1913.
                   Approved February 3, 1913.



              No. 236.-AN ACT TO IMPROVE SANITARY CONDITIONS
                  IN THE SALE OF BREAD AND CAKE.
                 It is hereby enacted by the General Assembly of the State of
              Vermont:                           .

                   SECTION l. No person shall carry or cart about with intent
              to sell or offer for sale, or deliver to customers after it has been sold
              for human food, any land or quality of bread or cake in loaf form,
              unless each loaf be wrapped separately in waxed paper, tissue
              paper or some similar wrapper or a sanitary container of sufficient
              thickness and quality to protect the bread and cake from dust
              and dirt.
                  SEC. 2. A person who violates a provision of this act shall
              be Hied five dollars for each offense.
                  Approved December 10, 1912.



              No. 237.-AN ACT TO PREVENT THE MANUFACTURE,
                  SALE OR USE OF GUNSILENCERS.
                    It is hereby enacted by the General Assembly of the State of
              Vermont:

                   SEOT1ON 1. A person who manufactures, sells, or uses, or
              possesses with intent to sell or use, an appliance known as or used
              for a gunsilencer shall be fined twenty-five dollars for each offense.
              This act shall not prevent the use or possession of gunsilencers for
              military purposes when so used or possessed under proper military
              authority and restriction.
                   SEC. 2. This act shall take effect January 1, 1913.
                   Approved November 14, 1912.



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            65]               OF MINNESOTA FOR 1913.                           55

            agree on the verdict the same shall be signed by all the jurors
            who concur therein, and the clerk of said court shall enter on
            his minutes the number of said jurors concurring in said verdict.
                 Sec. 3. Inconsistent acts repealed.--All acts or parts of
            acts inconsistent herewith are hereby repealed.
                 Sec. 4. This act shall take effect and be in force from and
            after July 1st, 1913.
                 Approved March 13, 1913.



                            CHAPTER 64-H. F. No. 80.
                An Act to prevent the sale, offering 07" exposing for sale or
            having in possession for the use or for purpose of sale within
            this state, of a silencer for shot-gun, revolver, ville or other fire-
            arm, defining a silencer and providing penalties for violation.
            Be it enacted by the Legislature of the State of Minnesota :
                Section 1. Use of silencers prohibited.-No person shall
            within the state of Minnesota sell or offer OI' expose for sale,
            or have in possession for use upon or in connection'with any
            rifle, shot-gun, revolver, or other fire-arm or have in possession
            for purposes of sale any silencer for a shot-gun, revolver, ride
            or other Hre-arm.
                 Sec. 2. Possession prima facie evidence.--In any prosecu-
            tion hereunder proof of the having such silencer in possession
            by any person shall constitute prima facie evidence that same
            was had in possession of such person for use contrary to the
            provisions of this act.
                 Sec. 3. Construction of word "silencer."--A silencer with-
            in the meaning of this act is defined as a mechanical device or
            construction or instrument designed or intended to be temporarily
            or permanently attached to or used in connection with any shot-
            gun, revolver, rifle, or other fire-arm for the purpose of lessening
            or reducing the volume of sound caused by the discharge of or
            by the tiring of such gun, rive, revolver or other tire-arm.
                  Sec. 4. Violation a misdemeanor.-Any person 'violating
            any of the provisions of this act shall be guilty of a misdemeanor.
                Approved March 13, 1913.



                              CHAPTER 65__H. F. No. 155.
                An Act to amend Section Four (4) of Chapter Two Hun-
            dred Tlm:rty~0ne (281) of the General Laws of Minnesota for




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      888                            LAws OF NEW York, 1916.                      [Cn as.

     Rclevy
     und col-~
                    § 2. The board of supervisors of the county of Herkimer shall
     Iocllon,    cause to be reassessed and levied upon the lots or parcels of land
                 described in such account the taxes so added by the supervisor of
                 the town of Webb, and shall direct the collection thereof, and any
                 of such taxes which shall not have been paid to the town collector
                 shall be returned by him to the county treasurer and state comp-
                 troller as though they were originally levied as taxes for the years
                 nineteen hundred and' twelve, nineteen hundred and thirteen and
                 nineteen hundred and fourteen against the lands affected.
                    § 3. This act shall take effect immediately.


                                           Chap. 137.
                 AN ACT to amend the penal law, in relation to the selling or
                                 possessing of silencers for fi1°e:I1'ms.
                 Became 0 law April 0, ]9lG, with the npprovnl of the Governor. Passed,
                                         three-fifths being' present.
                   The People of the State of New York, represented in Senate
                 and Assembly, do enact as follows:
     II 18918      Section 1. Chapter eighty-eight of the laws of nineteen hun-
     nddnd to
     L. 1909.    dred and nine, entitled "An uct providing for the punishment of
     oh. 88.
                 crime, constituting chapter forty of the consolidated laws," is
                 hereby amended by adding after section eighteen hundred and
                 ninety-seven, u new section, to be section eighteen hundred and
                 ninety-seven-a, to read as follows:            i
                   § 1897-/1. Selling, carrying and use of ilrearm silencers. A
                 person who sells of' keeps for sale, or offers, 01° gives 01' disposes of 7
                                                                                      _


                 01' who shall have 01' carry concealed upon his person any instru-
                 ment, attaclnnent, weapon 01' appliance for causing the firing of
                 any gun, revolver, pistol, 01' other firearms to be silent or in-
                 tended to lessen or muflie the noise of the firing of any gun, re-
                 volver, pistol, 01' other firearms shall be guilty of a felony, punish-
                 able by imprisonment for not more than .five years.
                   This section shall not apply to the regular and ordinary trans-
                 portation of any instrument, attachment, u eapou 01' appliance for
                 causing the firing of any gun, revolver, pistol, or other firearms
                 to be silent or intended to lessen or muille the noise of the firing
                 of any gun, revolver, pistol, or other firearms, as merchandise,
                 nor to sheriffs, policemen, or to other duly appointed peace
                 oilicers, nor to duly authorized military Of' civil organizations,



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           nor when parading, nor to the members thereof when going to and
           from the place of meeting of their respective organizations, nor
           to duly authorized military or civil organizations in practice.
              § 2. Section eighteen hundred and ninety-eight of such chap-
           ter is hereby amended to read as follows :
              § 1898. Possession, presumptive evidence. The possession, §amcndod. 1898
           by any person other than a public ofiieer, of any of the weapons
           specified in 'section eighteen hundred and ninety-seven or eighteen
           hundred and ninety-seven-a of this chapter," concealed 01' furtively
           carried 011 tile person, is presinntive* evidence of carrying, or
           concealing, Ol' possessing, with intent to use tile same in violation
           of this article."
              § 3. This act shall take effect September first, nineteen hun- Bcpt.
                                                                                 In effect
                                                                                        1.
                                                                                                 \

           dred and sixteen.                                                     1918.


                                                                             4




                                       Chap. 1.38.
           AN ACT to amend chapter one hundred und f'-~rty-three of the
            laws of eighteen hundred and ninety-eight, entitled "An not to
            consolidate and amend the several acts relating to the corpora-
            tion called the ' Baptist Miesionanv Convention of the State of
            New Yo'rk,' being chapter one hundred and twenty-eight of the
            laws of eighteen hundred and seventeen, chapter one hundred
            and seventy of the laws of eighteen lmndl'ed and twenty-five,
            chapter one hundred and thirty-one of the laws of eighteen hun-
            dred and forty-one, chapter forty-one of the laws of eighteen
            hundred and sixty-two, and chapter eighty-one of the laws of
            eighteen hundred and sixty-seven," genel'ally.*
           Became a law April G, 1918, with the approval of the Governor. Passed,
                                 three-fifths being present.
              The People of the Stale of New York, represented in Senate
           and Assembly, do enact as follows:
              Section 1. Chapter one hundred and forty-three of the laws of L.  1898, oh
                                                                            up. as 1-5
           eighteen hundred and ninety-eight, entitled "Au act to consoli-  1lncndcd.


             * So in original.
             1 W ords " the lust " omitted.
              2 Words " eighteen hundred and ninety-seven or eighteen hundred and
            ninety-seven-a of this chapter," new.
              3 lYords " this article " substituted for words " that section."
                4'lhe amendments effected by this net are so numerous and extensive that
            it is imprncticnble to indicate the changes mode.




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            Ch. 145.1               FORTY-SECOND SESSION.                             221

                                       NIAPTER 145.
            An acl relating to and regulating Um carrying, possession, sale
              or other disposition of firearms capable of being concealed
              upon the person; prohibiting the possession, carrying, man-
               ufacturing and sale of certain, other dangerous weapons
              and the giving, transferring and disposition thereof to
              other persons within this state; providing for the registering
               of the sales of firearms; prohibiting the carrying or posses-
               sion of concealed weapons in municipal corporations; pro-
               viding for the destruction of certain dangerous weapons as
               nuisances and making it a felony to use or attempt to use
               certain dangerous weapons against another.
                        I Approved May 4, 1017. In 4-lTuct July "T, 191T.I

            The people of the State of California do enact as follows:

               SECTION l. Every person who manufactures OI' causes to Manufacture.
                                                                                  etc., of
            be manufactured, or lenses, or keeps for sale, or offers, or gives, certain
            or otherwise disposes of any instrument or weapon of the kind dangerous
                                                                                  wcnnons
            commonly known ns a blackjack, slungshot, billy, sandclub, misdemeanor.
           sandbag, bludgeon, or metal knuckles, a dirk or dagger, to
           any person within this state is guilty of a misdemeanor, and
           if he has been previously convicted of a crime made punish-
           able by this section, he is guilty of a felony.
              SEC. 2. Every person who possesses any instrument or Possesslun
                                                                             of certain
            weapon of the kind commonly known as a blackjack, slungshot, 'dangerous
            billy, sandclub, sandbag, bludgeon, metal knuckles, bomb or gggggggunor.
           bombshells, or who carries a dirk or a dagger, is guilty of
           a misdemeanor, and if he has been convicted previously of
           any felony or of a crime made punishable by this act, he is
           guilty of a felony.
             SEC. 3. Every person who carries in any city, city and ('arrylng
                                                                        lh "IIUIIS
           county, town or municipal corporation of this state any without
           pistol, revolver, or other firearm concealed upon his person, Ll§§I}2;M,,0,.
           without having a license to carry such firearm as hereinafter
           provided in section six of this act, shall be guilty of a misde-
           meanor, and if llc has been convicted previously of any felony,
           or of any crime made punishable by this act, he is guilty of a
           felony.                                                      .
             SEG. 4. The unlawful possessing or carrying of any of Unlawful pcssesslun
            the instruments, weapons or firearms enumerated in section dwcapon.
           one to section three inclusive of this act, by any person §,;,,,c,.
           other than those authorized and empowered to carry or possess
           the same as hereinafter provided, is a nuisance, and such
           instruments, weapons Of' firearms are hereby declared to be
           nuisances, and when any of said articles shall be taken from FJrrcl\dcr
                                                                           of wenprms,
           the possession of any person the same shall be surrendered to etc.
           the magistrate before whom said person shall be taken, except
           that in any city, city and county, 'town or other municipal
           corporation the same shall be surrendered to the head of the

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                     police force, Of' police department thereof. The officers to
                     whom the same may be so surrendered, except upon certificate
                     of II judge of 0 court of record, or of the district attorney of
                     any county that the preservation thereof is necessary or proper
                     to the ends of justice, shall proceed at such time or times as
        llcatnlctlnu
        of menpnns,
                     he deems proper, and at least once in each year to destroy or
        etc.         cause to be destroyed such instruments, weapons or other fire-
                     arms in such manner and to such extent that the same shall
                     he and become wholly and entirely ineffective and useless for
                     the purpose for which it was manufactured.
         All cm; M!
        II A' ul
                        Sac. 5. Any person who attempts to use, or who with
        wenlmux      intent to use the same unlawfully against another, carries or
        felony.
                     possesses a dagger, dirk, dangerous knife, razor, stiletto, or
                     any loaded pistol, revolver or other firearm, or any instrument
                     or weapon commonly known as a blackjack, slungshot, billy,
                     sandclub, sandbag, metal knuckles, bomb, or bombshell or any
                     other dangerous or deadly instrument 01° weapon, is guilty of
                     a felony. The carrying 01' possession of any of the weapons
                     specified in this section, by any person while committing, or
                     attempting 01' threatening to commit n felony, 01' breach of the
                     pea( e. or any act of violence against the person or property
                     of another, shall be presumptive evidence of carrying or pos-
                     sessing such weapon with intent to use the same in violation
                     of this section.
        Llrense to
        1'1\lTY
                        Sao. (i. It shall be lawful for the board of police commis-
        eonceuh-1l   sioncrs, chief of police, city marshal, town marshal, or other
         "Will Ill.
                     head of the police department of any city, city and county,
                      town, or other municipal corporation of this state, upon proof
                     before said board, chief, marshal or head, that the person
                     applying therefor is of ,goodgnoral character, and that good
                     cause exists for the issuance thereof, to issue to such person a
                     license to carry concealed a pistol, revolver or other fire-
                     arm; provided, however, that the application to carry
                     concealed such firearm shall be filed in writing and shall state
                     the name and residence of the applicant, the nature of appli-
                     cant's occupation, the business address of applicant, the nature
                     of the weapon sought to be carried and the reason for the filing
                     of the application to carry the same.
        Register        SEC. 7. Every person in the business of selling, leasing or
        of sales of
        firearms.    otherwise transferring a pistol, revolver or other firearm, of a
                     size capable of being concealed upon the person, whether such
                     seller, lessor or transferrer is a retail dealer, pawnbroker or
                     otherwise, except as hereinafter provided, shall keep a register
                     in which shall he entered the time of sale. the date of sale, the
                     name of the salesman making the sale, the place where sold,
                     the make, model, manufacturer's number, caliber or other
                     marks of identification on such pistol, revolver or other firearm.
                     Such register shall be prepared by and obtained from the
                     state printer and shall be furnished by the state printer to said
                     dealers on application at a cost of three dollars per one hun-
                     dred leaves in duplicate and shall be in the form hereinafter
                     provided. The purchaser of any firearm, capable of being

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             concealed upon the person shall sign, and the dealer shall
             require him to sign his name and affix his address to said
             register in duplicate and the salesman shall affix his signature
             in duplicate as a witness to the signatures of the purchaser.
             Any person signing a fictitious name or address is guilty of a
             misdemeanor. The duplicate sheet of such register shall OD Duplicate
             the evening of the day of sale, be placed in the mail, postage sheet
                                                                                mulled to
             prepaid and properly addressed to the board of police com- police.
             nnissioners, chief of police, city marshal, town marshal or other
             head of the police department of the city, city and county,
             town or other municipal corporation wherein the sale was
             made; provided, that where the sale is made in a district where
             there is no municipal police department, said duplicate sheet
             shall be mailed to the county clerk of the county wherein the
             sale is made. A violation of any of the provisions of this sec- Violation
             son by any person engaged in the business of selling, leasing ml5dl-meanor.
             or otherwise transferring such firearms is a misdemeanor.
             This section shall not apply to wholesale dealers in their
             business intercourse with retail dealers, nor to wholesale or
             retail dealers in the regular or ordinary transportation of
             unloaded firearms as merchandise by mail, express or other
             mode of shipment, to points outside of the city, city and
             county, town or municipal corporation wherein they are situ-
             ated. The register provided for in this act shall be substan-
             tially in the following form :
                                                         Series No.        Form Of'
                                                                           register.
                                                         Sheet No.
                                          ORIGINAL.
                      Dealers' Record of Sale of Revolver or Pistol.
                                    State of California. .
                Notice to dealers: This original is for your files. If spoiled
             in making out, do not destroy. Keep in books. Fill out in
             duplicate.
                Carbon duplicate must be mailed OD the evening of the day
             of sale, to head of police commissioners, chief of police, city
             marshal, town marshal or other head of the police department
             of the municipal corporations wherein the sale is made, or to
             the county clerk of your county if the sale is made in a district
             where there is no municipal police department. Violation of
             this law is a misdemeanor. Use carbon paper for duplicate.
             Use indelible pencil.
             Sold by .                           Salesman
             City, town or township .
             Description of arm (state whether revolver or pistol) .
             Maker .                      number .           caliber .
             Name of purchaser _                  '         age .       years.
             Permanent residence (state name of city, town or township,
             street and number of dwelling)
             Height _---_ feet ____ , inches. Occupation -
             Color .           skin .         eyes .           hair .



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                                                                                             r.




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                 If traveling or in locality temporarily, give local address---_-
                 Signature of purchaser .
                 (Signing a fictitious l`l8IIl8 or address is a misdemeanor.) (To
                  be signed in duplicate.)
                 Witness                       ., salesman..
                  (To be signed in duplicate.)         .
                                                                   Series No.
                                                                   Sheet No. _---__
                                             DUPLICATE.
                          Dmllvrs' Record of Snlc of Revolver or Pistol.
                                        Static of Culifornial.
                   Notice to dealers: This carbon duplicate must be mailed
                 on the evening of the day of sale as set forth in the original
                 of this register page. Violation of this law is a misdemeanor.
                 Sold b y .                     __    Salesman .
                 City, town or township .
                 Description of arm (state whether revolver or pistol) .
                 Maker                         number .             caliber .
                 Name of purchaser -                               age            years.
                Permanent address. (state name of city, town or township,
                street and number of dwelling)
                I-ll-€-ght-_ -------   --------------68Cl1P8,t{0I1
                             feet _....__ inches.                  '_"""""""
                Color              skin .        eyes.            hair .
                If traveling or in locality temporarily, give local address----_
                     Signature of purchaser .
                     (Signing a fictitious name or address is a misdemeanor.) (To
                       be signed in duplicate.)
                     Witness                         ., salesman.
                       (To be signed in duplicate,)
        Pxccptlnllx.   SEC. 8. Nothing in this act shall be construed to apply to
                     sheriffs, constables, marshals, policemen or other duly
                appointed peace officers, nor to any person summoned by any
                such officers to assist in making arrest or preserving the peace
                while said person so summoned is actually engaged in assisting
                such officer; nor to duly authorized military or civil organiza-
                tions while parading nor to the members thereof when going
                to and from the places of meeting of their respective organiza-
                tions; nor to the possession or transportation by any merchant
                of unloaded firearms as merchandise; nor to bona Bde members
                of any club or organization now existing or hereinafter organ-
                     ized, for the purpose of practicing shooting at targets upon
                     established target ranges, whether public or private, while
                     such members are using any of the firearms referred to in
                     this act upon or in such target ranges, or while going to and
                     from such ranges.
       Constltntlnn-
       nllty.
                        SEC. 9. If any section, subsection, sentence, clause or
                     phrase of this act is for any reason held to be unconstitutional


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            such decision shall not affect the validity of the remaining
            portions of this act. The legislature hereby declares that it
            would have passed this act and each section, subsection, sen-
            teuee, clause and phrase thereof, irrespective of the fact that
            any one or more other sections, subsections, sentences, clauses
            or phrases be declared unconstitutional.


                                           CHAPTER 146.
             An act amending an act entitled "An act to provide for the
               incorporation and organization and management of county
               water districts and to provide for the acquisition of water
                rights or the construction thereby of water works, and for
               the acquisition of all properly necessary therefor, and also
               to provide for the distribution and sate of water by said
                districts," approved June 10, 1913, by adding thereto o
               new section to be numbered twenty-eight, providing for
                the exclusion from any county water district formed under
               said act of territory not served by such county water
               district.
                            IApprm'F»¢l May 4. NOT.   In vlfvct July "T, 1917.1

            The people of the State of California do enact as follows:

              SECTION 1. An act approved June 10, 1913, and entitled suns. 1013,
            "An act to provide for the incorporation and organization and p. 1040.
            management of county water districts and to provide for the
            acquisition of water rights or the construction thereby of water
             works, and for the acquisition of all property necessary there-
            for, and also to provide for the distribution and sale of water
            by said districts," is hereby amended by adding to said act a
            section numbered twenty-eight, reading as follows :
              See. 28. Any territory, included within any county water Plxcluslnn of
            district formed under the provisions of this act, . and not territory.
            benefited in any manner by s11ch district, or its continued
            inclusion therein, may be excluded therefrom by order of the
            board of directors of such district upon the verified petition of Petition.
            the owner or owners in fee of lands whose assessed value, with
            improvements, is in excess of one-half of the assessed value of
            all the lands, with improvements, held in private ownership in
            such territory. Said petition shall describe the territory CoMeiihi.
            sought to be excluded and shall set forth that such territory is
            not benefited in any manner by said county water district or
            its continued inclusion therein, and shall pray that such terri-
            tory may he excluded and taken from said district. Such
            petition shall be filed with the secretary of the water district
            and shall be accompanied by a deposit with such secretary of
            the sum of one hundred dollars, to meet the expenses of adver-
            tising and other costs incident to the proceedings for the
               15--3057 i


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           256                                ACTS, 1926.      ("HAp. 261.
                             in accordance with the provisions ul' chapter three hundred
                             and ninety-three of the acts of nineteen humlretl and six, as
                             amended by chapter five humlretl and thirty-six of the acts
                             of nineteen hundred and thirteen anal chapters seventy-nine
                             und eighty of the General Laws.
           Expense, puy-
           ment, etc.
                                SECTION o_ The expense of such alteration am l't'C()ll-
                             struction of said bridge and approaches thereto shall be
                             paid in accordance with any existing Ur future decrees re-
                             lating thereto, and all reimhm°sements received by the city         \
                             Oll account of such alteration and reconstruction shall be
                             applied to the payment of inclebtedncss issued umler au-
                             thority of this act.
           City of Boston
           may borrow
                             SEC'1'ION 3. For the purpose of meeting the expense of'
           money, etc.    the work authorized untlcr section one, the city of' Boston
                          may borrow, outside the statutory limit of' imlebtetlness,
                          from time to time within a period of' five years from the ef-
                          fective date of this act, such sums as may be necessary, not
                          exceeding in the aggregate, two huntlretl and fifty thousand
                          dollars, and may issue bonds or notes therefor, which shall
           River Street
           Reconstruction
                          bent OI] their face thel words, River
                                                             . Street
                                                                  '
                                                                  .      liccunstructiun
                                                                                    ,
           };;»g» Act of Loan, Act of 1926. leach authorized Issue shall constitute
              '.          u separate loan, and such loans shall be pall in not more than
                          ten years from their dates, but no loan shall be authorized
                          under this section unless a sum equal to ten per cent of' the
                          loan so authorized is voted for the San..je purpose to be p1'u~
           Any sum to bevided from taxes Of other sources of I'("\'Cl\Lll'. Any Slllll to
           raised by toxa-
           tioxx to be out~ be raised by taxation shall he outside the tax limit as fixed
           sde tax anal.     for the city in the year i n which the loan is authorized. Ex-
                             eept as herein provided, indebtedness incurred under this
                             a c t shall be subject to the laws relative to the incurring of
                             debt by said city.
           S.ubmission to
           ely council,        SECTION 4. This act shall take effect upon its acceptance
           etc.              by vote of the city council of said city, subject to the pro-
           Proviso.          visions of its charter; proviileml, that such acceptance occurs
                             :luring the c\u'1'ent year.       Approval! April IU, 1920.

           (Yhap.261 An ACT I'ROllll3I'l'ING THE sALe AND HSI" OF SILENCERS FOR
                                                         FIIIFARMS.
                          Be it vnaclcfl, cl., asfollows:
           G. L. 209, new    Chapter two hundred und sixty-nine of the General Laws
           section utter
           s 10.          is hereby amended by inserting after section ten the follow-
           Sale and use of mg new scctxon : - Section IOA. Whoever sells or keeps fox'
           silencers for
           tirearlns pro- sale, or others, or gives or disposes of, or uses, any instru-
           hibited.
                             ment, attachment, weapon or appliance for causing the firing
                             of any gun, revolver, pistol or other firearm to be silent Ol'
                             intended to lessen Of' lnuflle the noise of the firing of any
           Penalty.          g u n , revolver, pistol or other firearm shall be punished by it
                             prisomnent for not more than five years in the state prisoN
                             or for not more than two and one half years ill a jail or house
                             of correction.                     Approved April IU, 1920.



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     other purpose. 8uch persons shall hold otilce during the term
     of their employment by the state highway department but
     the authority herein vested shall cease upon the termination
     of such employment. The persons so appointed shall hy
     reason of such appointment he members of the department
     of public safety during tlle terms of such appointment but
     shall serve without pay as members thereof.
       Approved June 2, 1927.




                                [No. 372.]
      AN ACT to regulate and license the selling, purchasing, pos-
       sessing and carrying of certain firearms; to prohibit the
       buying, selling or carrying of certain firearms without a
        license therefor; to prohibit the possession of certain
        weapons and attachments; to prohibit the pawning of cer-
        tain firearms; to prohibit the sale, offering for sale, or
        possession for the purpose of sale of written or printed
        matter containing any offer to sell or deliver certain fire-
        arms or devices within this state; to provide penalties for
        the violations of this act, and to repeal act number two
        hundred seventy-four of the public acts of nineteen hundred
        eleven, being sections fifteen thousand two hundred thirty-
        six, fifteen thousand two hundred thirty-seven, fifteen thou-
        sand two hundred thirty-eight, fifteen thousand two hun-
        dred thirty-nine, fifteen thousand two hundred forty, fif-
        teen thousand two hundred forty-one, fifteen thousand two
        hundred forty-two, fifteen thousand two hundred forty-
        three, fifteen thousand two hundred forty-four, fifteen
        thousand two hundred forty-five and fifteen thousand two
        hundred forty-six of the compiled laws of nineteen hundred
        fifteen; act number three hundred thirteen of the public
        acts of nineteen hundred twenty-five; and section sixteen
        of chapter one hundred sixty-two of the revised statutes of
        eighteen hundred f'orty~six, being section fifteen thousand
        six hundred forty-one of the compiled laws of nineteen hun-
        dred fifteen.
               The People of the State of Michigan enact:
        SECTION 1. The word "pistol" as used in this act shnll Words
      mean any firearm, loaded or unloaded, thirty inches or less in defined.
      length. The.word "purchaser" shall mean any person who
      receives n pistol from another by purchase, gift or loan. The
      word "seller" shall mean any person who sells, furnishes,
      loans or gives a pistol to another.
        Sec. 2. No person shall purchase a pistol as defined in License
      this act without first having obtained a license therefor as ,';$§~%l,°m.
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     888                         PUBLIC ACTS, 1927-No. 372.

                      prescribed herein. The commissioner or chief of police, or
                      his duly authorized deputy, in incorporated cities or in in-
                      corporated villages having an organized department of police,
                      and tlle sheriff, or his authorized deputy, in parts of the re-
                      spective counties not included within incorporated cities 01'
                      villages, ure hereb'y authorized to issue licenses to purchase
                      pistols to applicants residing within the respective territories
      To whom         herein mentioned. No such license shall he granted to any
      granted.
                      person except lie be nineteen years of nge or over, und has
                      resided in this state six months or more, and           i l l no
                      event shall such a license he issued to a person who has been
                      convicted of a felony or adjudged insane in this state or else-
                      where. Applications for such licenses shall be signed b`y the
                      applicant under oath upon forms provided by the commis-
      Executed        signer of public snfetv. Licenses to purcllnsc pistols shall
      in duplicate.   be executed in duplicate upon fornls provided by the com-
                      missioner of public safety and shall be signed by the licensing
                      authority. One copy of such license shall be delivered to the
                      applicant and the duplicate of such license shall .h'e retained
                      by such licensing authority as fl. pernmnent ofllcinl record for
                      n period of six years. Such license shall be void unless used
      Mlsde-          within ten days after the date of its issue. Any person who
      lneanor :
      penalty.        shall sell to mother any pistol us defined in this uct without
                      complying with the requirements of this section shall be
                      guilty of fl. misdemeanor und upon conviction thereof shall
                      be punished by n. fine of not mo1'Ltlmu
                                                       x      one hundred dollars
                       or imprisonment in the county jail not morn than ninety dnvs.
                                                                                 .
                       or both such fine and imprisonment in the discretion of the
                       court.   Such license shall be signed in ink by the holder
                       thereof in the presence of the person selling, louring Ol' giving
                       0 pistol to such licensee and shftll thereupon be taken up b'y
                       such person, signed by him in ink and shnll be delivered or
                       sent by registered Emil withill forty-eight hours to the com-
                       missioner of public safety. The seller' shall certify upon said
                       license iii the space provided therefor the HIIIIIG of the person
                       to whom such pistol was delivered, the make, style, calibre-
                       and number of such pistol, and shall further certify that such
                       purchaser signed his 1131110 011 said license in the presence of
                       the seller. The provisions of this section shall not apply to
                       the purchase of pistols from wholesalers by dealers regulaifly
                       engaged in the business of selling pistols at retail, lOl' to the
                       sale, barter or exchange of pistols kept solely as relics, sou-
                       venirs 01' curios.                                 .
       Unlawful to       Sree. 3. It shall he unlawful within this state to lllflllll°
       manufacture, faetnre, sell, offer for sale, 01' possess any machine gun 01'
       etc.. certain
       firearms, etc. flrearln which can he fired more than sixteen times without
                       reloading, 01° any inuffler, silencer or device for deadening or
                       muffling the sound of so dischm'ged fi1°c1\x'1n, of' any bomb or
                       bombshell, or any blackjack, slung shot, billy, metallic
       Penalty for     knuckles, salmlvlllh, saulldlnalg or bludgeon. Any person con-
       voolutlon.      victed of 21 violation of this section shall be guilty of a felony
                       and shall be punished by a fine not exceeding one thousand

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     dollars or imprisonment in the state prison not more than five
     years, Of' by both such milne and imprisonment in the discre-
     tion of the court..The provisions of this section shall not
      apply, however, to any person, firm 01' corporation manufac-
      turing firearms, explosives or munitions of war by virtue of
      any contracts with any department of the government of the
      United States, or with any foreign government, state, munici-
      pality or any subdivision thereof'.
         SEP. 4. Any person who, with intent to use the sane un- Felony,
     lawfully against the person of another, goes armed with a I§§"$ea.
     pistol or other firearm or dagger, dirk, razor, stiletto, or knife
      having a blade over three inches in length, or any other dan-
      gerous or deadly weapon 01' instrument, shall be guilty of a Penalty.
      felony and Oll conviction thereof shall b'e punished by a fine
     not exceeding one thousand dollars or imprisonment in the
     state prison for not more than live years, or by both such
      fine and imprisonment in the discretion of the court.
         Sac. 5. No person shnll carry . n dagger, dirk, stiletto or Unlawful to
      other dangerous weapon except hunting knives adapted and 3Iii;i$r,ete°ié.
     carried as such, concealed Of] ox' about his person, or whether
      concealed 01' otherwise in any vehicle operated or occupied
     by him, except in his dwelling house or place of business Of'
     Oil othci' land pnssvssed by. him. No )C1'SO]l
                                                I        slnnll cll1'1'v
                                                                     . n
     pistol concealed Oll or about his person, or, whether concealed
      or otherwise, in any vehicle operated or occupied by him,
     except in his dwelling house of' place of business 01° on other
     land possessed h'y him, without a~license therefor as herein
     provided. Any person violating the provisions of this section
     shall be guilty of a felony and upon conviction thereof shall
     he punished bY a fine not exceeding one thousand dollars or
     imprisonment in the state prison for not more than five years,
     or by both such Hue and imprisonment in the discretion of the
     court.
         See. G. The prosecuting attorney, the commissioner or Concealed
     chief of police am the commissioner of public safety    y or their rrsszng
     respective uuthorized deputies ill incorporated cities of' in board.
     incorporated villages having an organized department of
     police, and the prosecuting uttorney, the commissioner of
     public safety or their authorized deputies, and the sheriff'.
     under-sheritl? or chief deputy sheriff in parts of the respective
     counties not included within incorporated cities' or villages
     shall constitute boards exclusively authorized to issue licenses
     to carry pistols concealed on the person 1:0 applicants resid-
     ing within the respective territories herein mentioned. The
     county clerk of cach_couuty shall b'e clerk of such licensing
     boards, which boards shall be known in law as "The Con-
     cealed Weapon Licensing Board." No such license to carry To whom
                                                                         license
     a pistol concealed on the person shall be granted to any per- grunted.
     son except he be nineteen years of age or over and has resided
     ill this slate six months or over, and in no event shall such
     license be issued unless it; appears that the applicant has
     good reason to fear injury to his person or property, or has

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                         256    JANUARY SESSION, 1927-CHAPTER 1052.

                                           CHAPTER 1052.
       H 729 A            AN ACT TO REGULATE THE POSSEBBION OF FIREARMS.
       Approved
       Lril 22, 1927.
                         It is enacted by the General Assembly as follows :
       Certain words
       and phrases,
                          SsoT1on 1. When used in this act the following
       how construed :
                         words and phrases shall be construed as follows :
       "PistoL"            "Pistol" shall include any pistol or revolver, and
                         any shot gun, rifle or similar weapon with overall
                         length less than twenty-Six inches, but shall not include
                         any pistol without a magazine or any pistol Ol' revolver
                         designed for the use of blank cartridges only.
       "Machine
       gun."
                           "Machine gun" shall include any weapon which
                         shoots automatically and any weapon which shoots
                      more than twelve shots semi-automatically without re-
                      loading.                  .
       "Firearm ,"       "Firearm" shall include any machine gun or pistol.          i
       "Person."         "Person" shall include firm, association or corpora-
                      tion.
       "Licensing
       authontiea."
                         "Licensing authorities" shall meantime board of po-
                      lice commissioners of a city or town where such board
                      has been instituted, the chief of police or superintend-
                      ent of police of other cities and towns having a regular
                      organized police force, and in towns where there is no
                      chief of police or superintendent of police it shall mean
                      the town clerk who may issue licenses Upon the recom-
                      mendation of the town sergeant ;
       "Crime of
       violence."
                         "Crime of violence" shell mean and include any of
                       the following crimes or an attempt to commit any of
                      the same, viz.: murder, manslaughter, rape, mayhem,
                       assault or battery involving grave bodily injury, rob-
                      bery, burglary, and breaking and entering.
       up : I            " Sell" shall include let or hire, give, lend and trans-
        "Purchase."    fer, and the word "purchase" shall include hire, accept
        "Purchasing," and borrow, and the expression "purchasing" shall be

                       construed accordingly! '


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               SEC. 2. If any person shall commit O1° attempt to punaahmu..
                                                                      Additional_.
            commit a crime of violence when armed with or having      under this act.

            available any firearm, he may in addition to the pun-
            ishment provided for such crime of violence be pun-
            ished as provided in this act. In the trial of a per- Dl'lmH
                                                                      W .hat to be
                                                                              facie
            son for committing or attempting to commit a crime evidence         of
                                                                      intention to
                                                                      commit crime
            of violence the fact that he was armed with or had of violence.
            uvailablo a pistol without license to carry tlle same, or
            was armed with or had available a machine gun, shall
            be prima facie evidence of his intention to commit sail
            crime of violence.
               SEG. 3. No person who has been convicted in this },§*';d'°,§;;.
            state or elsewhere of a crime of violence shall purchase, arms.
            own, carry or have in his possession or under his con-
            trol any firearm.
              Sac. 4. No person shall, without a license there- <§g;g{;g§.°f
            for, issued as provided in section six hereof, carry a when.
                                                                     Eidden, except

            pistol in any vehicle or concealed on or about his per-
      a
            son, except in his dwelling house or place of business
            or on land possessed by him, and no person shall manu-
            facture, sell, purchase or possess a machine gun except Machine gun.
            as other°se provided in this act.
              SEO. 5. The provisions of section four shall not ap- apply
                                                                     Sec. 4 not to
                                                                           to
            ply to sheriffs, deputy sheriffs, the superintendent and whom.
            members of the state police, prison or jail wardens or
            their deputies, members of the city or town police force
            or other duly appointed law enforcement oiiicers, nor to
            members of the army, navy or marine corps of the
            United States, or of the national guard, when on duty,
            or of organizations by law authorized to purchase or
            receive firearms from the United States or this state,
            nor to officers or employees of the United States
            authorized by law to carry a concealed firearm, nor to
            duly authorized military organizations when on duty,
            nor to the members thereof when at or going to or from



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                       their customary places of assembly, 1101' to the regu-
                       lar and ordinary transportation of pistols as merchan-
                       dise, nor to any person while carrying a pistol unloaded
                 ¢     in a wrapper from the place of purchase to his home
                       or place of business, or to a place of repair or back to
                       his home or place of business, or in moving goods from        I
                       one place or abode or business to another.
      License to
      gan-y cun-
                         SEC. 6. The licensing authorities of any city or
      cealed pistol
      may be issued,    town shall upon application of any person having n
      to whom, when
      and how.          bona ide residence or place of business within such
                        city or town, or of any person having a bona side resi-
                        dence or place of business within the United States
                        and a license to carry a pistol concealed upon his pei'-
                        son issued by the authorities of any other state or sub-
                        division of the United States, issue a license to such
                        person to carry concealed upon his person a pistol               I
                       1 within this state for not more than one year from date
                       of issue, if it appears that the applicant has good
                                                                                         s
                       reason to fear an injury to his person or property or
                       has any other proper reason for carrying a pistol, and
      8:422I
                       that he is a suitable person to be so licensed. The
                        license shall be in triplicate, in form to be prescribed
                       icy the attorney-general and shall bear the fingerprint,
                       name, address, description and signature of the
                       licensee and the reason given for desiring a license.
      Triplicate
      license, haw
                       The original thereof shall be delivered to the licensee,
      disposed of.     the duplicate shall within seven days be sent to the at-
                       torney-general and the triplicate shall be preserved for
                        six years by the licensing authorities issuing sail
      Fee for
      license.
                        license. A fee of two dollars may be charged and shall
                        be paid for each license, to the officer issuing the same.
      Applicant for     Before issuing any such permit the applicant for
      license ¢o
      give bond.        the same shall be required to give bond to the city
                        or town treasurer in the penal sum of three hundred
                        dollars, with surety satisfactory to the authority issu-


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            ing such permit, to keep the peace and be of good
            behavior. Every such permit shall be valid for one
            year from the date when issued unless sooner revoked.
            The fee charged for the issuing of such license or per-
            mit shall be applied in accordance with me provisions
            of section thirty-three of chapter 401 of the general
            laws.
              SEC. 7. The attorney-general may issue a permit xazrsfx.,
            to any banldng institution doing business H1 this state '""°
                                                                     to be.......,.,
                                                                     institutions
            or to any public carrier who is engaged in the business etc
            of transporting mail, money, securities or other valu-
            ables, to possess and use machine guns under such
            regulations as the attorney-general may prescribe.
              Sao. 8. It shall be unlawful within this state to Qggmgggr
            manufacture, sell, purchase or possess except for mill- §§§3§,T'°'
            try or police purposes, any muffler, silencer or device
            for deadening or mulling the sound of a firearm when
            discharged.
              SEG. 9. Any person, except a member of the state P°2;$2,§;}z
            police, the sheriff or his deputies, or a member of the of bam-,
                                                                       exgloxive
            police force of any city or town, or a member of the aurnoxioué
                                                                          stance
                                                                       liquid, in
            army, navy, or marine corps of the United States, or etc.,for
            of the national guard or organized reserves when 0!1
            duty, who possesses, or carries on or about his person
            or in a vehicle, a bomb or bomb shell, except for blast~
            ing or other commercial use, or who, with intent to use
            the same unlawfully against the person or property of
            another, possesses or carries any explosive substance,
            or any noxious liquid, gas or substance, shall be guilty
            of violation of this act and punished as hereinafter
            provided.
              SEG. 10. No property right shall exist in 'any firearm Certain fire
                                                                        arms to be
            unlawfully possessed, carried or used, and all such fire- ?883      and
            arms are hereby declared to be nuisances and forfeited 3'zs2:it23
            to the state. When such forfeited firearms shall be firearms


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          district having legal custody of such money in any State or
          national bank or banks in this State, and such bank or banks
          are authorized to accept such deposits and to give security for
          the same as herein provided, and said district shall receive such
          rate of interest therefor as may be agreed upon by the officer
          making such deposit and said bank or banks. Such treasurer
          or other officer shall require such bank or banks in which such
          money is deposited to furnish as security for such deposits,
          bonds of the United States, or of this State or of any county, Security.
          municipality, school district, metropolitan water district, or
          irrigation district within this State that are legal investments
          for savings banks of this State, the market value of which
          bends shall at all times be at least ten per cent in excess of the
          amount of the deposits secured thereby; or in lieu of such
          bonds such treasurer or said other officers shall be entitled to
           take as security for such fund so deposited, depositary bonds bNcpdosltary
          duly executed and delivered by a surety company duly author- on s.
          ized to do business in the State of California, which depositary
          bonds shall be and remain in an amount not less than the
          amount of the funds so deposited and held in said bank or
          banks. The cost of such depositary bond or bonds may be
          borne by the district. Such treasurer or said other oiiicers
          shall not be responsible for any loss of public moneys resulting
          from the deposit thereof in banks when made in accordance
          with the provisions of this section but such treasurer shall be
          chargeable with the sate-keeping, management and disburse-
           ment of the bonds deposited with him as security for the
          deposits of such moneys, and the respective irrigation district
          shall be responsible for the custody and safe return of any
          bonds so deposited.                                                       4




                                     CHAPTER 39.
          An act to prohibit the possession of all devices or attachments
             of any kind designed, used or intended for use in silencing
              the report of a forearm, and providing a penalty for vio-
              lation thereof.
            [Approved by the Governor March 27, 1933. In effect August 21, 1833.1

          The people of the Stats of Galifornia do enact as follows:

            Ssc'rlon 1. On and after the date upon which this act takes Sllencera
          edit every person, firm or corporation, who within the State "$'m"'§m-
          of California possesses any device of the kind commonly known hlblted.
          as a silencer for firearms is guilty of a felony and upon con-
          viction thereof shall be punished by imprisonment in the State
          Prison not to exceed three years or by a fine not to exceed five
          thousand dollars or by both such Hue and imprisonment.
                                                                                              I



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            Ewrpl inn .       SEG. 2. Nothing in this act shall prohibit any city, city and
                           county, county, State or federal officer, or the military or naval
                           forces of this State or of the United States from possessing sucli
                           silencers for official use in the discharge of their duties.
            Deilnlilou.       See. 3. The term "silencer" as used in this act shall be
                           construed to apply to and include all devices or attachments of
                           any kind designed, used or intended.for use in silencing the
                           report of a firearm.


                                                      CHAPTER 40.
            Stats. 1019 An act to amenfl section 2 of on act entitled
            p. sum,
                                                                                    "An act pro-
            amended.          *viding for the establishment and maintenance of a State
                              Nursery under the jnrisdictNen and management of the
                              State Forester for the growing of stock for reforestation
                              and the planting of trees along the highways and in pub-
                              lic places, and making an appropriation therefor,"
                              approved May 15, 1917, relating to the sate of nursery
                              stock.
                            [Approved by the Governor 1\I:u'ch 27, 1933. In effect August. 21, 1933.1

                           The people of ile Stale of Cfzlifovwia do enact as follows:
            Stats. 1917.
            p. 503.
                              Snorion 1. Section 2 of the act cited in the title hereof
                           is hereby amended to read as follows :
            Duties nr         Sec. 2. The State Forester shall construct and maintain
            Brute
            Truster.       such buildings, improvements and equipment, and shall employ
                           and fix the compensation of such elnployees as may be necessary
                           to carry out the provisions of this act. He may also purchase
                           nursery stock and seed and distribute the same at cost for
                           public planting or reforestation. All trees, plants, nursery
                           stock or seeds sold under the provisions of this act must be
                           sold at a price not less than the actual cost of production.


                                                       CHAPTER 41.
            Stats. wav ,   /in act to amend section 15 of an act entitled "An act defin-
            p. 51,
            amended.           ing credit unions, providing for their incorporation, powers,
                               management and supervision," approved MaroN 81, 1927.
                            [Approved by the Governor Murclx 27, was. In effect August 21, 1933.]

                           The people of aha Siatc of California do enact as follows:
            Stats. 1929,
            p. 51.
                             SEo'r1on 1. Section 15 of' the act cited in the title hereof i8
                           hereby amended to read~as follows :
            (lush of
            credit
                             Sec. 15. Each director, oNcer and member of committee,
            union          when appointed or elected, shall take an oath that he will, so
            umclals.
                           far as the duty devolves upon him, diligently and honestly

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                                                                                                        1
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